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CASE CAPTION: U.S. v. Jayson Penn et al.

CASE NO.: 1:20-cr-00152-PAB

EXHIBIT LIST OF: The United States



  Trial
 Exhibit         Witness                   Brief Description         Stipulation   Offered   Admitted   Refused   For Court Use Only
 Number
                                 Email between Dean Bradley and
           Special Agent         Scott Brady on or about
     100   LaNard Taylor         11/08/2012 (CLA_0191682).
                                 Adobe PDF titled Mutual
           Special Agent         Confidentiality Agreement undated
     101   LaNard Taylor         (CLA_0191683).
                                 Email chain between Bill Kantola,
                                 Cindy Hendren, Lee Pate, and
                                 David Hopkins on or about
           Special Agent         05/31/2013 (KOCHFOODS-
     102   LaNard Taylor         0000216752).
                                 Email from Bill Kantola to Dean
           Special Agent         Bradley on or about 06/24/2013
     103   LaNard Taylor         (KOCHFOODS-0000219678).
                                 Agreement between Koch Foods
                                 and Church's Chicken dated
                                 06/11/2013 and signed by Bill
           Special Agent         Kantola (KOCHFOODS-
     104   LaNard Taylor         0000219679).
                                 Email chain between Jimmie
                                 Little, Jayson Penn, and Dean
           Special Agent         Bradley on or about 10/17/2013
     105   LaNard Taylor         (PILGRIMS-0002698301).
                                 Church's agreement signed by
                                 Jayson Penn on or about
           Special Agent         10/03/2013 (PILGRIMS-
     106   LaNard Taylor         0002698302).
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 Trial
Exhibit        Witness             Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Email chain between Jimmie
                           Little, Matthew Herman, Jason
                           McGuire, Tim Stiller, and Thomas
                           Lane, among others, on or about
          Special Agent    9/10/2012 attaching Adobe PDF
    107   LaNard Taylor    (PILGRIMS-0006896632).
                           Email chain between Jimmie
                           Little, Dean Bradley, Sarah Knust,
                           and Grace Pope on or about
          Special Agent    05/31/2013 (PILGRIMS-DOJ-
    108   LaNard Taylor    0000174707).
                           Email chain between Jimmie
                           Little, Thomas Lane, Dean
                           Bradley, Sarah Knust, and Grace
          Special Agent    Pope on or about 05/31/2013
    109   LaNard Taylor    (PILGRIMS-DOJ-0000174709).
                           Email chain between Jimmie Little
                           and Amber Cecil on or about
          Special Agent    09/06/2013 (PILGRIMS-DOJ-
    110   LaNard Taylor    0001774466).
                           Mutual Nondisclosure Agreement
                           between Church's Chicken and
                           Pilgrim's Pride signed by Jimmie
          Special Agent    Little on or about 09/06/2013
    111   LaNard Taylor    (PILGRIMS-DOJ-0001774467).
                           Email chain between Carl Pepper
          Special Agent    and Dean Bradley on or about
    112   LaNard Taylor    5/9/2013 (TY-000061906).
                           Email chain between Carl Pepper
          Special Agent    and Dean Bradley on or about
    113   LaNard Taylor    05/31/2013 (TY-000062843).
                           Email chain between Brian
                           Roberts, Carl Pepper, Tim
          Special Agent    Scheiderer, Tim Mulrenin, and
    114   LaNard Taylor    Dean Bradley, among others, on or
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 Trial
Exhibit        Witness             Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           about 06/03/2013 (TY-
                           000063844).



                           Email chain between Tim
                           Mulrenin, Brian Roberts, Carl
                           Pepper, Tim Scheiderer, and Dean
          Special Agent    Bradley, among others, on or about
    115   LaNard Taylor    06/03/2013 (TY-000063846).
                           Email chain between Carl Pepper,
                           Brian Roberts, Tim Mulrenin, and
          Special Agent    Dean Bradley on or about
    116   LaNard Taylor    06/03/2013 (TY-000063862).
                           Email from Carl Pepper to Tim
          Special Agent    Mulrenin on or about 06/03/2013
    117   LaNard Taylor    (TY-000063997).
                           Email chain between Tim
                           Mulrenin, Brian Roberts, Carl
                           Pepper, Dean Bradley, and Sarah
          Special Agent    Knust, among others, on or about
    118   LaNard Taylor    06/03/2013 (TY-000064024).
                           Email between Carl Pepper. Dean
                           Bradley and Tim Mulrenin on or
          Special Agent    about 06/04/2013 (TY-
    119   LaNard Taylor    000064146).
                           Email chain between Carl Pepper,
                           Tim Scheiderer, Tim Mulrenin,
                           Brian Roberts, and Dean Bradley,
          Special Agent    among others, on or about
    120   LaNard Taylor    05/31/2013 (TY-000243934).
                           Email between Dean Bradley and
          Special Agent    Carl Pepper on or about
    121   LaNard Taylor    05/09/2013 (TY-000591490).
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 Trial
Exhibit        Witness             Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Email between Carl Pepper, Clint
                           Little, Grace Pope, Dean Bradley,
                           and Tim Scheiderer, among others,
          Special Agent    on or about 05/10/2013 (TY-
    122   LaNard Taylor    000591677).
                           Email chain between Darrell
                           Bowlin, Carl Pepper, Brad Smith,
                           Debbie Baker, and Dean Bradley
                           among others, on or about
          Special Agent    10/2/2013 attaching various
    123   LaNard Taylor    documents (TY-000606524).
                           Email chain between Carl Pepper,
                           Jeremy Davidson, Clint Little,
                           Dean Bradley, and Sarah Knust
          Special Agent    and others on or about 05/09/2013
    124   LaNard Taylor    (TY-000606527).
                           Church's Chicken Specifications
          Special Agent    with Revision Date 12/05/2012
    125   LaNard Taylor    (TY-000606530).
                           Church's Chicken Specifications
          Special Agent    with Revision Date 12/05/2012
    126   LaNard Taylor    (TY-000606535).
                           Email between Rollin Barnes and
          Special Agent    others at Tyson on or about
    127   LaNard Taylor    12/06/2012 (TY-000606539).
                           Church's Chicken Specifications
          Special Agent    with Revision Date 12/05/2012
    128   LaNard Taylor    (TY-000606542).
                           Church's Chicken Specifications
          Special Agent    with Revision Date 12/05/2012
    129   LaNard Taylor    (TY-000606547).
                           Email between Carl Pepper, Clint
                           Little, and Mike Hannigan on or
          Special Agent    about 06/11/2013 (TY-
    130   LaNard Taylor    000606551).
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 Trial
Exhibit        Witness             Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Email chain between Brian
                           Roberts, Tim Mulrenin, Carl
                           Pepper, Dean Bradley, and Sarah
          Special Agent    Knust, among others, on or about
    131   LaNard Taylor    06/03/2013 (TY-001004291).
                           Email between Dean Bradley and
          Special Agent    Brian Roberts on or about
    132   LaNard Taylor    10/17/2013 (TY-00258352).
                           Adobe PDF untitled dated on or
          Special Agent    about 10/17/2013 (TY-
    133   LaNard Taylor    002583583).
                           File of and handwritten notes
          Special Agent    written by Ric Blake
    134   LaNard Taylor    (GEODOJ_0582919).
                           Email chain between Bill Kantola
                           and Peter Wong on or about
          Special Agent    12/05/2013 (KOCHFOODS-
    135   LaNard Taylor    0000208963).
                           Email between Lyman Campbell,
                           Dean Bradley, Lane Bucker, and
                           Bill Kantola, among others, on or
          Special Agent    about 08/19/2013 (KOCHFOODS-
    136   LaNard Taylor    0000214830).
                           Email chain between Dean
                           Bradley, Jimmie Little, and David
          Special Agent    Andrus on or about 06/24/2013
    137   LaNard Taylor    (PILGRIMS-DOJ-0000175057).
                           Email chain between Jimmie
                           Little, Thomas Lane, and Dean
          Special Agent    Bradley on or about 06/03/2013
    138   LaNard Taylor    (PILGRIMS-DOJ-0001773977).
                           Email chain between Katherine
          Special Agent    Hale and Carl Pepper on or about
    139   LaNard Taylor    03/14/2013 (TY-000055488).
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Exhibit        Witness             Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Email chain between Carl Pepper
          Special Agent    and Jenna Johnson on or about
    140   LaNard Taylor    01/25/2013 (TY-001573196).
                           Adobe PDF titled Cajun Operating
                           Company dba Churchs Chicken-
                           Product Development-2016-
          Special Agent    004101 dated on or about
    141   LaNard Taylor    10/1/2012 (TY-004262002).
                           Interview of Christopher Ward
                           Investigative Record Form with
          Special Agent    date of activity of 07/31/2020
    142   LaNard Taylor    (WARD-IRF-ATR001-00000001).
                           Excerpt of Carl Pepper (479) 879-
          Special Agent    2092 toll records (ATT-ATR001-
    143   LaNard Taylor    00000001).
                           Email chain between Barry
                           Barnett, Jim Hyatt, and Dean
          Special Agent    Bradley on or about 9/3/2014
    200   LaNard Taylor    (CHURCHS0009531).
                           Email chain between Barry
                           Barnett, Dean Bradley, Chris
                           Ward, and Tim Mulrenin on or
          Special Agent    about 9/2/2014
    201   LaNard Taylor    (CHURCHS0009554).
                           Email between Barry Barnett and
          Special Agent    Jimmie Little on or about
    202   LaNard Taylor    8/21/2014 (CHURCHS0009795).
                           Email chain between Barry Barnett
          Special Agent    and Brian Roberts on or about
    203   LaNard Taylor    8/21/2014 (CHURCHS0009828).
                           Email between Barry Barnett and
          Special Agent    Brian Roberts on or about
    204   LaNard Taylor    8/20/2014 (CHURCHS0009904).
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 Trial
Exhibit        Witness             Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Email between Bill Kantola and
                           Lance Buckert on or about
          Special Agent    12/24/2013 (KOCHFOODS-
    205   LaNard Taylor    0000055258).
                           Email from Dean Bradley to Bill
                           Kantola dated on or about
          Special Agent    12/15/2014 attaching Adobe PDF
    206   LaNard Taylor    (KOCHFOODS-0000143973).
                           Email between Dean Bradley and
          Special Agent    Bill Kantola on or about 5/26/2015
    207   LaNard Taylor    (KOCHFOODS-0000195321).
                           Email between Sarah Knust, Bill
                           Kantola, Dean Bradley on or about
          Special Agent    12/23/2013 (KOCHFOODS-
    208   LaNard Taylor    0000246838).
                           Email between Sarah Knust, Bill
                           Kantola, and Dean Bradley on or
          Special Agent    about 12/23/2013 (KOCHFOODS-
    209   LaNard Taylor    0000246839).
                           Email between Sarah Knust,
                           Matthew Heggie, Grace Pope, and
                           Dean Bradley on or about
          Special Agent    12/20/2013 (KOCHFOODS-
    210   LaNard Taylor    0000246840).
                           Adobe PDF titled Church's
                           Chicken Supplier Quality Program
                           - Bone In Chicken dated on or
          Special Agent    about 12/20/2013 (KOCHFOODS-
    211   LaNard Taylor    0000246841).
                           Email between Sarah Knust, Ben
                           Pollard, Grace Pope, and Dean
          Special Agent    Bradley on or about 12/20/2013
    212   LaNard Taylor    (KOCHFOODS-0000246842).
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 Trial
Exhibit        Witness             Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Adobe PDF titled Church's
                           Chicken Supplier Quality Program
                           - Bone In Chicken dated on or
          Special Agent    about 12/20/2013 (KOCHFOODS-
    213   LaNard Taylor    0000246843).
                           Email between Sarah Knust,
                           Rebecca Cline, Grace Pope, and
                           Dean Bradley on or about
          Special Agent    12/20/2013 (KOCHFOODS-
    214   LaNard Taylor    0000246844).
                           Adobe PDF titled Church's
                           Chicken Supplier Quality Program
                           - Bone In Chicken dated on or
          Special Agent    about 12/20/2013 (KOCHFOODS-
    215   LaNard Taylor    0000246845).
                           Email between Sarah Knust, Grace
                           Pope, and Dean Bradley on or
                           about 12/20/2013 attaching Adobe
          Special Agent    PDF (KOCHFOODS-
    216   LaNard Taylor    0000246846).
                           Adobe PDF titled Church's
                           Chicken Supplier Quality Program
                           - Bone In Chicken dated on or
          Special Agent    about 12/20/2013 (KOCHFOODS-
    217   LaNard Taylor    0000246847).
                           Adobe PDF titled 2013 Church's
                           Fresh Chicken Contract Process on
          Special Agent    or about 09/05/2012 (PILGRIMS-
    218   LaNard Taylor    0006896633).
                           Email between Jimmie Little,
                           Robbie Bryant, Jason McGuire,
                           and Dean Bradley on or about
          Special Agent    12/24/2013 (PILGRIMS-DOJ-
    219   LaNard Taylor    0000177839).
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 Trial
Exhibit        Witness             Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Email chain between Carl Pepper,
                           Brian Roberts, Jared Mitchell, Tim
                           Mulrenin, and Tim Scheiderer,
          Special Agent    among others, on or about
    221   LaNard Taylor    12/26/2013 (TY-000000101).
                           Email chain between Carl Pepper,
                           Mike Hannigan, Tim Mulrenin,
                           Sarah Knust, and Grace Pope,
          Special Agent    among others, on or about
    222   LaNard Taylor    12/21/2013 (TY-000088542).
                           Email chain between Carl Pepper,
                           Mike Hannigan, Tim Mulrenin,
                           Sarah Knust, and Grace Pope,
          Special Agent    among others, on or about
    223   LaNard Taylor    12/21/2013 (TY-000088544).
                           Email chain between Carl Pepper,
                           Mike Hannigan, Tim Mulrenin,
                           Sarah Knust, and Grace Pope,
          Special Agent    among others, on or about
    224   LaNard Taylor    12/21/2013 (TY-000088547).
                           Email chain between Tim
                           Mulrenin and Carl Pepper on or
          Special Agent    about 12/26/2013 (TY-
    225   LaNard Taylor    000088920).
                           Email chain between Darrell
                           Bowlin, Brandon Campbell, Tim
                           Mulrenin, Carl Pepper, and Cody
          Special Agent    Tooley, among others, on or about
    226   LaNard Taylor    01/29/2014 (TY-000096120).
                           Email chain between Mike
                           Hannigan, Carl Pepper, Jared
                           Mitchell, Tim Scheiderer, and Tim
                           Mulrenin, among others, on or
          Special Agent    about 12/21/2013 (TY-
    227   LaNard Taylor    000613967).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Adobe PDF titled Church's
                          Chicken Supplier Quaility Program
                          - Bone in Chicken dated on or
          Special Agent   about 12/20/2013 (TY-
    228   LaNard Taylor   000613969).
                          Adobe PDF titled Church's
                          Chicken Supplier Quality Program
          Special Agent   - Strips dated on or about
    229   LaNard Taylor   12/20/2013 (TY-000613971).
                          Email between Carl Pepper and
                          Dean Bradley attaching
          Special Agent   spreadsheets on or about 1/26/2014
    230   LaNard Taylor   (TY-000616147).
                          Excel spreadsheet titled Church's
          Special Agent   February 2014 undated (TY-
    231   LaNard Taylor   000616149).
                          Excel spreadsheet titled Church's
                          Chicken-Tyson Formula Based
          Special Agent   Cost Model undated (TY-
    232   LaNard Taylor   000616151).
                          Excel spreadsheet titled Church's
          Special Agent   February 2014 undated (TY-
    233   LaNard Taylor   000616153).
                          Email chain between Dean
                          Bradley, Carl Pepper, and Janie
          Special Agent   Tucker on or about 1/27/2014 (TY-
    234   LaNard Taylor   000616249).
                          Excel spreadsheet titled Church's
                          Chicken-Tyson Formula Based
          Special Agent   Cost Model Time Period: February
    235   LaNard Taylor   2014 undated (TY-000616251).
                          Email chain between Carl Pepper
          Special Agent   and Tim Mulrenin on or about
    236   LaNard Taylor   1/23/2014 (TY-000618361).
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Exhibit        Witness              Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            Excel spreadsheet titled Church's
          Special Agent     February 2014 undated (TY-
    237   LaNard Taylor     000618363).
                            Excel spreadsheet titled Church's
                            Chicken-Tyson Formula Based
          Special Agent     Cost Model Time Period: February
    238   LaNard Taylor     2014 undated (TY-000618365).
                            Excel spreadsheet titled Church's
          Special Agent     February 2014 undated (TY-
    239   LaNard Taylor     000618367).
                            Email between Carl Pepper, and
                            Dean Bradley attaching
          Special Agent     spreadsheets on or about 2/21/2014
    240   LaNard Taylor     (TY-000689697).
                            Excel spreadsheet titled Church's
          Special Agent     March 2014 undated (TY-
    241   LaNard Taylor     000689698).
                            Excel spreadsheet titled Church's
                            Chicken-Tyson Formula Based
          Special Agent     Cost Model undated (TY-
    242   LaNard Taylor     000689699).
                            Email chain between Cody Tooley,
                            Brandon Campbell, Darrell
                            Bowlin, Stephan Barnes, and Andy
          Special Agent     Lubert, among others, on or about
    244   LaNard Taylor     1/21/2014 (TY-004529768).
                            Excerpts of Jimmie Little ((214)
          Special Agent     755-6081) toll records (ATT-
    245   LaNard Taylor     ATR001-00000001).
                            Excerpt of Jimmie Little ((214)
          Special Agent     755-6081) toll records (ATT-
    246   LaNard Taylor     ATR001-00000001).
                            Email between Justin Gay and
                            David Rothmeier on or about
    300   David Rothmeier   1/22/2014 (CFA_0007869).
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 Trial
Exhibit         Witness             Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            Email between Tim Mulrenin,
                            Dawn Parker, and David
                            Rothmeier on or about 06/27/2014
                            attaching presentation
    301   David Rothmeier   (CFA_0008444).
                            PowerPoint presentation titled
                            Protein Vision 6-4-14 (2) dated on
                            or about 6/27/2014
    302   David Rothmeier   (CFA_0008445).
                            Email between David Rothmeier
                            and Mike Ledford on or about
                            06/05/2014 attaching spreadsheets
    303   David Rothmeier   and presentation (CFA_0016437).
                            Excel spreadsheet titled 2014
                            Ledford basic info dated on or
    304   Michael Ledford   about 06/04/2014 (CFA_0016438).
                            Excel spreadsheet titled 2014
                            Poultry Final dated on or about
    305   Michael Ledford   12/17/2013 (CFA_0016439).
                            PowerPoint presentation titled
                            2013 Poultry update - Rothmeier
                            dated on or about 10/18/2013
    306   David Rothmeier   (CFA_0016440).
                            Calendar invitation regarding NAE
                            Supplier Communication Specifics
                            including Meyer Skalak, David
                            Rothmeier, and Mike Walpole on
                            or about 1/3/2014 attaching
    307   David Rothmeier   presentaton (CFA_0017844).
                            PowerPoint presentation titled
                            NAE EC Supply Chain
                            Presentation dated on or about
    308   David Rothmeier   12/18/2013 (CFA_0017845).
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 Trial
Exhibit        Witness              Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            Email between Scott Brady, Steve
                            Hester, and David Rothmeier on or
    309   David Rothmeier   about 4/23/2014 (CFA_0017995).
                            Email chain between Searcy
                            Wildes, Steve Hester, Kevin Ilardi,
                            and David Rothmeier on or about
    310   David Rothmeier   4/18/2014 (CFA_0018063).
                            Email between Steve Hester and
                            David Rothmeier on or about
    311   David Rothmeier   03/10/2014 (CFA_0018072).
                            Email between Justin Gay and
                            David Rothmeier on or about
    312   David Rothmeier   1/22/2014 (CFA_0018155).
                            Email between Justin Gay, Steve
                            Hester, David Rothmeier on or
    313   David Rothmeier   about 03/28/2014 (CFA_0018168).
                            Email chain between Brian
                            Roberts, David Rothmeier, Bernie
                            Adock, Andy Lubert, and Doug
                            Ramsey, among others, on or about
                            1/28/2014 attaching spreadsheet
    314   David Rothmeier   (CFA_0018197).
                            Excel spreadsheet titled CFA NAE
                            on or about 01/17/2014
    315   David Rothmeier   (CFA_0018198).
                            Calendar invitation regarding
                            Meeting on ABF chicken including
                            Steve Hester, Scott Brady, and
                            David Rothmeier on or about
    316   David Rothmeier   03/21/2014 (CLA_0193638).
                            Calendar invitation regarding
                            Meeting on ABF chicken including
                            Steve Hester, Scott Brady, and
                            David Rothmeier on or about
    317   David Rothmeier   03/21/2014 (CLA_0193640).
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 Trial
Exhibit        Witness              Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            Email chain between Steve Hester,
                            Scott Brady, and David Rothmeier
                            on or about 4/23/2014
    318   David Rothmeier   (CLA_0193715).
                            Adobe PDF titled CFA - Supply
                            Chain Supplier Business Review
                            2014 Claxton Poultry dated on or
                            about 6/9/14
    319   David Rothmeier   (CLAXTON_0178609).
                            Email chain between Tommy
                            Francis John Davies, Scott Brady,
                            and David Rothmeier on or about
                            8/19/2016 attaching Excel
    320   David Rothmeier   spreadsheet (MJP-008065).
                            Excel spreadsheet titled Claxton
          Special Agent     second half 2016 dated on or about
    321   LaNard Taylor     7/29/2016 (MJP-008067).
                            Email chain between Scott Brady,
                            Tommy Francis, and David
                            Rothmeier on or about 8/19/2016
    322   David Rothmeier   (MJP-010406).
                            Email chain between Scott Brady,
                            Tommy Francis, and David
                            Rothmeier on or about 8/19/2016
                            attaching Excel spreadsheet
    323   David Rothmeier   (MJPoultry-0000075544).
                            Excel spreadsheet titled Claxton
          Special Agent     second half 2016 undated
    324   LaNard Taylor     (MJPoultry-0000075545).
                            Email between David Rothmeier,
                            Joe Forsthoffer, Cameron Bruett,
                            Sara Lilygreen, and Alan Sterling,
                            among others, on or about
                            02/11/2014 attaching PDFs (PER-
    325   David Rothmeier   000003707).
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 Trial
Exhibit         Witness                Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                               Adobe PDF titled Chick-fil-A to
                               Serve Antibiotic-Free Chicken on
          Special Agent        or about 2/11/2014 (PER-
    326   LaNard Taylor        000003708).
                               Adobe PDF titled CFA_Internal
          Special Agent        FAQsFINAL dated on or about
    327   LaNard Taylor        02/11/2014 (PER-000003709).
                               Email between Searcy Wildes and
                               Kevin Ilardi on or about 6/9/2014
          Special Agent        attaching presentation (PER-
    328   LaNard Taylor        000152837).
          David Rothmeier or   PowerPoint presentation titled
          Meyek Skalak or      CFA Business Review 6-2-14 (2)
          Special Agent        dated on or about 6/5/2014 (PER-
    329   LaNard Taylor        000152838).
                               Email chain between Kevin Ilardi
          Special Agent        and Searcy Wildes on or about
    330   LaNard Taylor        4/1/2014 (PER-000152926).
                               Email chain between Kevin Ilardi,
                               Randy Day, Steve Hester, and
          Special Agent        Searcy Wildes on or about
    331   LaNard Taylor        4/25/2014 (PERDUE0000035417).
                               Email chain between Steve Hester,
                               Searcy Wildes, Bruce Stewart-
                               Brown, and Steven Lyon on or
          Special Agent        about 4/21/2014 attaching Word
    332   LaNard Taylor        document (PERDUE0001619817).
                               Email chain between Justin Gay,
                               Jayson Penn, and Bill Lovette on
          Special Agent        or about 02/04/2014 (PILGRIMS-
    333   LaNard Taylor        0005852816).
                               Email chain between Jayson Penn
                               and Roger Austin on or about
          Special Agent        02/12/2014 (PILGRIMS-
    334   LaNard Taylor        0006936701).
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 Trial
Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Roger Austin
                          and Jayson Penn on or about
          Special Agent   02/12/2014 (PILGRIMS-
    335   LaNard Taylor   0006936703).
                          Email chain between Justin Gay,
                          Jayson Penn, and Bill Lovette on
          Special Agent   or about 2/4/2014 (PILGRIMS-
    336   LaNard Taylor   DOJ-0000391174).
                          Email chain between Brian
                          Roberts, Tim Mulrenin, Andy
                          Lubert, Charlie Solomon, and
                          Steve Hester, on or about
          Special Agent   4/27/2014 attaching spreadsheet
    337   LaNard Taylor   (TF-0003603309).
                          Email chain between Charlie
                          Solomon, Steven Cullen, Belinda
                          Mayo, Brian Roberts, and Andy
                          Lubert, among others, on or about
          Special Agent   4/30/2014 attaching spreadsheet
    338   LaNard Taylor   (TF-0003603321).
          Special Agent   Excel spreadsheet titled Costing
    339   LaNard Taylor   Quote undated (TF-0003603323).
                          Email chain between Tim
                          Mulrenin, Phillip Sprouse, Joey
                          White, Brian Roberts, and Andy
                          Lubert, among others, on
          Special Agent   6/30/2014 attaching spreadsheet
    340   LaNard Taylor   (TF-0007446974).
          Special Agent   Excel spreadsheet titled Costing
    341   LaNard Taylor   Quote undated (TF-0007446976).
                          Email chain between Devin Cole
          Special Agent   and Brian Roberts on or about
    342   LaNard Taylor   12/20/2013 (TY-000928682).
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 Trial
Exhibit        Witness              Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            Email chain between Andy Lubert,
                            Donnie King, Brian Roberts,
                            Devin Cole, and Realene Atwoord,
          Special Agent     among others, on or about
    343   LaNard Taylor     02/12/2014 (TY-000930986).
                            Email between Brian Roberts,
                            David Rothmeier, and Steve Hester
                            on or about 4/27/2014 attaching
    344   David Rothmeier   spreadsheet (TY-000972187).
                            Excel spreadsheet titled Costing
          Special Agent     Quote dated on or about 4/27/2014
    345   LaNard Taylor     (TY-000972188).
                            Email between Tim Mulrenin,
                            Melissa Sunseri, and Brian Roberts
          Special Agent     on or about 6/10/2014 attaching
    346   LaNard Taylor     presentation (TY-001527759).
                            PowerPoint presentation titled
                            CFA Business Review 6 - 9 v2
          Special Agent     dated on or about 6/10/2014 (TY-
    347   LaNard Taylor     001527760).
                            Interview of David Lynn
                            Rothmeier Jr. FD-302 with
                            investigation on date of
                            03/09/2021 (Rothmeier-ATR001-
    348   David Rothmeier   00000001).
                            Email chain between David
                            Rothmeier, Mikell Fries, Scott
                            Brady, Kevin Ilardi, and Tim
                            Mulrenin, among others on or
    349   David Rothmeier   about 2/11/2014 (TY-001343570).
                            Adobe PDF titled Antibiotic-Free
          Special Agent     Chicken Internal Q&A dated
    350   LaNard Taylor     2/11/2014 (TY-001343571).
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Exhibit         Witness             Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            Adobe PDF titled Chick-fil-A to
                            Serve Antibiotic-Free Chicken
    351   David Rothmeier   dated 2/11/2014 (TY-001343573).
                            Excerpt of Justin Gay (770-363-
          Special Agent     7129) toll records (VZW-ATR001-
    352   LaNard Taylor     00004200).
                            Excerpt of Scott Brady ((256) 536-
          Special Agent     6120) toll records (ATT-ATR005-
    353   LaNard Taylor     00000235).
                            Excerpt of Scott Brady ((256) 536-
          Special Agent     6120) toll records (ATT-ATR005-
    354   LaNard Taylor     00000235).
                            Excerpt of Mikell Fries iPhone
          Special Agent     Report Instant Message #423‐425
    355   LaNard Taylor     (CLAXTON_0181706).
                            Adobe PDF untitled undated (GC-
    400   Telly Smith       0000360047).
                            Adobe PDF untitled undated (GC-
    401   Telly Smith       0000360060).
                            Document titled 2013 Mar-Jac
                            Contract dated on or about
    402   Telly Smith       11/19/2012 (GC-0000001392).
                            Email chain between Joe Grendys,
                            Mark Kaminsky, and Bill Kantola
          Special Agent     on or about 11/3/2015
    403   LaNard Taylor     (KOCH_0001260075).
                            Document titled 2013 Pilgrim's
                            Contract dated on or about
    404   Telly Smith       11/19/2012 (GC-0000001394).
                            Email chain between Kevin
                            Grindle, Lee Moriggia, Tommy
                            Francis, and Greg Tench on or
                            about 9/30/2014 attaching Excel
          Special Agent     spreadsheet (MJPoultry-
    405   LaNard Taylor     0000008030).
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Exhibit         Witness           Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Excel spreadsheet titled Golden
                          Corral Bid 2015 dated on or about
          Special Agent   9/30/2014 (MJPoultry-
    406   LaNard Taylor   0000008032).
                          Email chain between Kevin
                          Grindle, Lee Moriggia, Tommy
                          Francis, Greg Tench, and Telly
                          Smith on or about 11/3/2014
                          attaching Excel spreadsheet
    407   Telly Smith     (MJPoultry-0000061204).
                          Excel spreadsheet titled Pricing
                          Proposal - Golden Corral dated on
          Special Agent   or about 11/3/2014 (MJPoultry-
    408   LaNard Taylor   0000061206).
                          Email chain between Kevin
                          Grindle, Tommy Francis, Greg
                          Tench, and Dale Kelly on or about
          Special Agent   11/03/2014 (MJPoultry-
    409   LaNard Taylor   0000061207).
                          Email chain between Kevin
                          Grindle, Lee Moriggia, Tommy
                          Francis, and Greg Tench on or
          Special Agent   about 9/30/2014 (MJPoultry-
    410   LaNard Taylor   0000081260).
                          Email between Dale Kelly, Kevin
                          Grindle, Tommy Francis, and Greg
          Special Agent   Tench on or about 10/20/2014
    411   LaNard Taylor   (MJPoultry-0000169073).
                          Email from Lee Moriggia on or
                          about 9/12/2014 attaching Adobe
          Special Agent   PDF and spreadsheet (MJPoultry-
    412   LaNard Taylor   0000196844).
                          Adobe PDF titled Fresh Chicken
          Special Agent   Bid dated on or about 9/12/2014
    413   LaNard Taylor   (MJPoultry-0000196845).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Word document titled Fresh
                          Chicken Usage (Estimated and
                          Approximate) dated on or about
          Special Agent   9/12/2014 (MJPoultry-
    414   LaNard Taylor   0000196848).
                          Excel spreadsheet titled Pricing
                          Proposal - Golden Corral dated on
          Special Agent   or about 9/12/2014 (MJPoultry-
    415   LaNard Taylor   0000196851).
                          Email chain between Roger Austin
                          and Jayson Penn on or about
          Special Agent   11/7/2014 (PILGRIMS-
    416   LaNard Taylor   0005857352).
                          Email chain between Robbie
                          Bryant and Tim Stiller on or about
          Special Agent   9/29/2014 (PILGRIMS-
    417   LaNard Taylor   0005934799).
                          Email between Thomas Lane and
                          Tim Stiller on or about 9/30/2014
          Special Agent   attaching Excel spreadsheet
    418   LaNard Taylor   (PILGRIMS-0005934809).
                          Excel spreadsheet titled Pilgrim's
                          Pride Corporation Golden Corral
                          2015 Pricing Model dated on or
          Special Agent   about 9/30/2014 (PILGRIMS-
    419   LaNard Taylor   0005934810).
                          Email between Tim Stiller and
                          Thomas Lane on or about
                          11/10/2014 attaching Excel
          Special Agent   spreadsheet (PILGRIMS-
    420   LaNard Taylor   0005935844).
                          Excel spreadsheet titled Pilgrim's
                          Pride Corporation Golden Corral
                          2015 Pricing Model dated on or
          Special Agent   about 11/10/2014 (PILGRIMS-
    421   LaNard Taylor   0005935845).
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Exhibit         Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Scott Tucker,
                          Tim Stiller, and Lee Moriggia on
                          or about 11/10/2014 attaching
          Special Agent   Excel spreadsheet (PILGRIMS-
    422   LaNard Taylor   0005935850).
                          Excel spreadsheet titled Pricing
          Special Agent   Proposal - Golden Corral undated
    423   LaNard Taylor   (PILGRIMS-0005935851).
                          Email chain between Scott Tucker,
                          Tim Stiller, Robbie Bryant, Telly
                          Smith, and Roger Austin on or
                          about 11/10/2014 (PILGRIMS-
    424   Telly Smith     0005935852).
                          Email chain between Tim Stiller,
                          Scott Tucker, Robbie Bryant, Telly
                          Smith and Roger Austin on or
                          about 11/10/2014 (PILGRIMS-
    425   Telly Smith     0005935868).
                          Email chain between Tim Stiller
                          and Craig Kasmier on or about
          Special Agent   11/12/2014 (PILGRIMS-
    426   LaNard Taylor   0005935933).
                          Email chain between Tim Stiller,
                          Scott Tucker, Roger Austin, and
                          Lee Moriggia on or about
          Special Agent   9/29/2015 (PILGRIMS-
    427   LaNard Taylor   0005942801).
                          Email chain between Roger
                          Austin, Tim Stiller, Scott Tucker,
                          and Lee Moriggia on or about
          Special Agent   10/29/2015 (PILGRIMS-
    428   LaNard Taylor   0005943548).
                          Email between Telly Smith, Scott
                          Tucker, and Roger Austin dated on
                          or about 11/12/2014 (PILGRIMS-
    429   Telly Smith     0006001212).
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Exhibit         Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Roger
                          Austin, Tim Stiller, Scott Tucker,
                          and Robbie Bryant on or about
          Special Agent   9/30/2014 (PILGRIMS-
    430   LaNard Taylor   0007076729).
                          Email chain between Scott Tucker,
                          Roger Austin, Tim Stiller, and
                          Robbie Bryant on or about
          Special Agent   11/11/2014 (PILGRIMS-
    431   LaNard Taylor   0007077452).
                          Email chain between Tim Stiller,
                          Scott Tucker, Roger Austin, and
                          Telly Smith on or about
                          11/16/2015 (PILGRIMS-
    432   Telly Smith     0009186608).
                          Text message from Tim Stiller to
                          Jayson Penn on or about
          Special Agent   10/17/2014 (PILGRIMS-DOJ-
    433   LaNard Taylor   0000484696).
                          Text message from Jayson Penn to
          Special Agent   Tim Stiller on or about 10/17/2014
    434   LaNard Taylor   (PILGRIMS-DOJ-0000484697).
                          Text message from Tim Stiller to
                          Jayson Penn on or about
          Special Agent   10/17/2014 (PILGRIMS-DOJ-
    435   LaNard Taylor   0000484698).
                          Text message from Jayson Penn to
          Special Agent   Tim Stiller on or about 10/17/2014
    436   LaNard Taylor   (PILGRIMS-DOJ-0000484699).
                          Text message from Tim Stiller to
                          Jayson Penn on or about
          Special Agent   10/17/2014 (PILGRIMS-DOJ-
    437   LaNard Taylor   0000484700).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Text message from Jayson Penn to
          Special Agent   Tim Stiller on or about 10/17/2014
    438   LaNard Taylor   (PILGRIMS-DOJ-0000484701).
                          Text message from Tim Stiller to
                          Jayson Penn on or about
          Special Agent   10/17/2014 (PILGRIMS-DOJ-
    439   LaNard Taylor   0000484702).
                          Text message from Jayson Penn to
          Special Agent   Tim Stiller on or about 10/17/2014
    440   LaNard Taylor   (PILGRIMS-DOJ-0000484703).
                          Text message from Jayson Penn to
          Special Agent   Tim Stiller on or about 10/17/2014
    441   LaNard Taylor   (PILGRIMS-DOJ-0000484704).
                          Text message from Tim Stiller to
                          Jayson Penn on or about
          Special Agent   10/17/2014 (PILGRIMS-DOJ-
    442   LaNard Taylor   0000484705).
                          Text message from Jayson Penn to
          Special Agent   Tim Stiller on or about 10/17/2014
    443   LaNard Taylor   (PILGRIMS-DOJ-0000484706).
                          Text message from Tim Stiller to
                          Jayson Penn on or about
          Special Agent   10/17/2014 (PILGRIMS-DOJ-
    444   LaNard Taylor   0000484707).
                          Text message from Jayson Penn to
          Special Agent   Tim Stiller on or about 10/17/2014
    445   LaNard Taylor   (PILGRIMS-DOJ-0000484708).
                          Text message from Tim Stiller to
                          Jayson Penn on or about
          Special Agent   10/17/2014 (PILGRIMS-DOJ-
    446   LaNard Taylor   0000484709).
                          Text message from Jayson Penn to
          Special Agent   Tim Stiller on or about 10/17/2014
    447   LaNard Taylor   (PILGRIMS-DOJ-0000484710).
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Exhibit        Witness            Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Text message from Tim Stiller to
          Special Agent   Jayson Penn on or about 11/7/2014
    448   LaNard Taylor   (PILGRIMS-DOJ-0000484944).
                          Text message from Jayson Penn to
                          Bill Lovette and and Fabio Sandri
          Special Agent   on or about 11/9/2014
    449   LaNard Taylor   (PILGRIMS-DOJ-0000484962).
                          Text message from Bill Lovette to
                          Jayson Penn and Fabio Sandri on
          Special Agent   or about 11/9/2014 (PILGRIMS-
    450   LaNard Taylor   DOJ-0000484963).
                          Text message from Jayson Penn to
          Special Agent   Bill Lovette on or about 11/9/2014
    451   LaNard Taylor   (PILGRIMS-DOJ-0000484964).
                          Email chain between Jason
                          McGuire, Brenda Ray, Jimmie
                          Little, and Tim Stiller on or about
          Special Agent   9/19/2014 (PILGRIMS-DOJ-
    452   LaNard Taylor   0000509300).
                          Email between Roger Austin and
          Special Agent   Tim Stiller on or about 10/17/2014
    453   LaNard Taylor   (PILGRIMS-DOJ-0000509302).
                          Email chain between Scott Tucker,
                          Justin Gay, and Lee Moriggia on
          Special Agent   or about 9/12/2014 (PILGRIMS-
    454   LaNard Taylor   DOJ-0000509344).
                          Email chain between Jason
                          McGuire and Jayson Penn on or
          Special Agent   about 8/7/2014 (PILGRIMS-DOJ-
    455   LaNard Taylor   0000513457).
                          Email chain between Scott Tucker
                          and Tim Stiller on or about
          Special Agent   9/30/2014 (PILGRIMS-DOJ-
    456   LaNard Taylor   0000513705).
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 Trial
Exhibit         Witness           Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Scott Tucker,
                          Roger Austin, and Lee Moriggia
          Special Agent   on or about 9/12/2014
    457   LaNard Taylor   (PILGRIMS-DOJ-0000513759).
                          Adobe PDF titled Fresh Chicken
          Special Agent   Bid dated on or around 9/12/2014
    458   LaNard Taylor   (PILGRIMS-DOJ-0000513760).
                          Word document titled Fresh
                          Chicken Usage (Estimated and
                          Approximate) dated on or about
          Special Agent   9/12/2014 (PILGRIMS-DOJ-
    459   LaNard Taylor   0000513763).
                          Excel spreadsheet titled Pricing
                          Proposal - Golden Corral dated on
          Special Agent   or about 9/12/2014 (PILGRIMS-
    460   LaNard Taylor   DOJ-0000513764).
                          Email between Scott Tucker, Telly
                          Smith, and Roger Austin or about
                          11/12/2014 (PILGRIMS-DOJ-
    461   Telly Smith     0000513765).
                          Excel spreadsheet titled Pricing
          Special Agent   Proposal - Golden Corral undated
    462   LaNard Taylor   (PILGRIMS-DOJ-0000513766).
                          Email chain between Jason Slider
                          and Scott Tucker on or about
          Special Agent   11/3/2014 (PILGRIMS-DOJ-
    463   LaNard Taylor   0000513844).
                          Email chain between Tim Stiller,
                          Brenda Ray, and Jason McGuire
          Special Agent   on or about 9/19/2014 attaching
    464   LaNard Taylor   (PILGRIMS-DOJ-0001362237).
                          Email chain between Scott Tucker,
                          Justin Gay, and Lee Moriggia on
                          or about 9/12/2014 attaching PDF,
          Special Agent   word document, and spreadsheet
    465   LaNard Taylor   (PILGRIMS-DOJ-0002270213).
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Exhibit         Witness           Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Adobe PDF titled Fresh Chicken
          Special Agent   dated on or around 9/12/2014
    466   LaNard Taylor   (PILGRIMS-DOJ-0002270214).
                          Document titled 2013 Tyson
          Special Agent   Contract dated on or about
    467   LaNard Taylor   11/19/2012 (GC-0000001389).
                          Document titled 2014 Mar-Jac
          Special Agent   Contract dated on or about
    468   LaNard Taylor   12/13/2013 (GC-0000337800).
                          Email chain between Tim Stiller,
                          Robbie Bryant, Scott Tucker, and
                          Lee Moriggia on or about
                          9/19/2014 attaching PDF, Word
          Special Agent   document, and Excel spreadsheet
    469   LaNard Taylor   (PILGRIMS-DOJ-0002525329).
                          Adobe PDF titled Fresh Chicken
          Special Agent   Bid dated on or about 9/12/2014
    470   LaNard Taylor   (PILGRIMS-DOJ-0002525330).
                          Document titled "Fresh Chicken
                          Usage (Estimated and
          Special Agent   Approximate)" undated
    471   LaNard Taylor   (PILGRIMS-DOJ-0002525333).
                          Document titled 2014 Pilgrim's
          Special Agent   Contract dated on or about
    472   LaNard Taylor   12/13/2013 (GC-0000000016).
          Special Agent   Excel spreadsheet titled 2014
    473   LaNard Taylor   Tyson contract (GC-0000336516).
                          Email between Telly Smith, Kevin
                          Grindle, Lee Moriggia, Tommy
                          Francis, and Greg Tench on or
                          about 11/4/2014 (GC-
    474   Telly Smith     0000111255).
                          Excel spreadsheet titled 2015 Mar
          Special Agent   Jac Pricing Worksheet (GC-
    475   LaNard Taylor   0000001689).
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 Trial
Exhibit         Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Document titled 2015 Pilgrims
          Special Agent   Contract dated on or about
    476   LaNard Taylor   11/24/2014 (GC-0000084471).
                          Email chain between Tim Stiller,
                          Darren Lamb, Craig Kasmier, and
                          Robbie Bryant on or about
          Special Agent   11/7/2014 (PILGRIMS-DOJ-
    477   LaNard Taylor   0002740310).
                          Email chain between Tim Stiller,
                          Sheri Garland, and Thomas Lane
          Special Agent   on or about 11/7/2014
    478   LaNard Taylor   (PILGRIMS-DOJ-0002740312).
                          Email chain between Telly Smith,
                          Lee Moriggia, and Scott Tucker on
                          or about 11/24/2014 attaching
    479   Telly Smith     spreadsheet (GC-0000279304).
                          Excel spreadsheet titled 2015
          Special Agent   Supplier compilation chart
    480   LaNard Taylor   (SMITH_000155269).
                          Excel spreadsheet titled GC
                          Chicken History 2011 - 2020 dated
          Special Agent   on or about 6/4/2020 (GC-
    481   LaNard Taylor   ATR001-00000001).
                          Document titled 2015 Tyson
          Special Agent   Contract dated on or about
    482   LaNard Taylor   11/13/2014 (GC-0000070794).
                          Email chain between Kevin
                          Grindle and Lee Moriggia on or
          Special Agent   about 12/2/2015 (GC-
    483   LaNard Taylor   0000002064).
                          Email chain between Kevin
                          Grindle and Lee Moriggia on or
          Special Agent   about 11/4/2015 (GC-
    484   LaNard Taylor   0000012773).
          Special Agent   Excel spreadsheet titled 2016 Mar-
    485   LaNard Taylor   Jac Pricing (GC-0000012774).
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 Trial
Exhibit         Witness           Brief Description          Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Lee
                          Moriggia, Telly Smith, and Scott
                          Tucker on or about 11/17/2015
                          attaching memorandum (GC-
    486   Telly Smith     0000291467; GC-0000290536)
                          Excel spreadsheet titled 2016
          Special Agent   Supplier compilation chart (GC-
    487   LaNard Taylor   0000291861).
                          Document titled 2016 Tyson
          Special Agent   Contract dated on or about
    488   LaNard Taylor   11/11/2015 (GC-0000043478).
                          Document titled 2017 Mar-Jac
                          contract dated on or about
                          11/28/2016 (MAR-
    489   Telly Smith     JAC_0000624092).
                          Document titled 2017 Pilgrim's
                          Contract dated on or about
    490   Telly Smith     6/6/2017 (GC-0000134932).
                          Document titled 2017 Tyson
                          Contract dated on or about
    491   Telly Smith     9/15/2016 (GC-0000043480).
                          Document titled 2018 Mar-Jac
                          contract dated on or about
    492   Telly Smith     9/26/2017 (GC-0000013492).
                          Email chain between Melissa Bell
                          and Lee Moriggia on or about
                          9/25/2017 attaching Customer
          Special Agent   Contract Pricing Agreement (GC-
    493   LaNard Taylor   0000043809; GC-0000043810).
                          Excerpt of Roger Austin ((502)
          Special Agent   245-1681) toll records (ATT-
    494   LaNard Taylor   ATR009-00006664).
                          Excerpt of Kevin Grindle (678-
          Special Agent   943-0763) toll records (VZW-
    495   LaNard Taylor   ATR001-00005553).
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 Trial
Exhibit         Witness           Brief Description          Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Excerpt of Greg Tench (770-654-
          Special Agent   7200) toll records (VZW-ATR001-
    496   LaNard Taylor   00008252).
                          Email chain between Walter
                          Cooper, Mikell Fries, and Joe
                          Brink on or about 10/14/2014
    500   Joe Brink       (CLAXTON_0014869).
                          Email chain between Mikell Fries
          Special Agent   and Chris Sharp on or about
    501   LaNard Taylor   8/27/2015 (CLAXTON_0022760).
                          Email chain between Chris Sharp
          Special Agent   and Mikell Fries on or about
    502   LaNard Taylor   8/27/2015 (CLAXTON_0022761).
                          Adobe PDF titled Contract No.
                          2141889 dated on or about
                          12/17/2014
    503   Joe Brink       (CLAXTON_0089312).
                          Email chain between Joe Brink,
                          Walter Cooper, and Greg Finch on
                          or about 12/22/2014
    504   Joe Brink       (CLAXTON_0089372).
                          Adobe PDF titled Contract No.
                          214169P ("Contract") dated on or
                          about 1/11/2011
    505   Joe Brink       (CLAXTON_0089378).
                          Email chain between Greg Finch,
                          William Lawson, and Walter
                          Cooper on or about 12/22/2014
          Special Agent   attaching Excel spreadsheet
    506   LaNard Taylor   (CLAXTON_0173792).
                          Adobe PDF titled Contract No.
                          214169P ("Contract") dated on or
                          about 11/18/2013
    507   Joe Brink       (CLAXTON_0173798).
                          Letter from Walter Cooper to Joe
    508   Joe Brink       Brink (CLAXTON_0178815).
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 Trial
Exhibit         Witness          Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Chat conversations with Joe
          Special Agent   Grendys, dated between 2013-2016
    509   LaNard Taylor   (KOCHFOODS-0000485244).
                          Email between Greg Tench, Dale
                          Kelly, and Tommy Francis on or
          Special Agent   about 10/16/2014 (MAR-
    510   LaNard Taylor   JAC_0000576786).
                          Handwritten notes written by Pete
                          Martin dated on or about
          Special Agent   10/27/2014 (MAR-
    511   LaNard Taylor   JAC_0000850235).
                          Email between Greg Tench, Chris
                          Sharp, and Tommy Francis on or
          Special Agent   about 10/27/2014 (MJPoultry-
    512   LaNard Taylor   0000458169).
                          Email chain between Greg Tench,
                          Chris Sharp, and Joe Brink on or
                          about 4/24/2015 attaching Adobe
    513   Joe Brink       PDF (MJPoultry-0000458932).
                          Adobe PDF titled Contract No.
                          214192P ("Contract") dated on or
                          about 4/24/2015 (MJPoultry-
    514   Joe Brink       0000458933).
                          Email chain between Greg Tench
                          and Chris Sharp on or about
          Special Agent   10/27/2014 (MJPoultry-
    515   LaNard Taylor   0000459942).
                          Adobe PDF titled Contract No.
                          214192P dated on or about
                          12/17/2014 (MJPoultry-
    516   Joe Brink       0000459976).
                          Email between Greg Tench and
          Special Agent   Dan Kelly on or about 10/20/2014
    517   LaNard Taylor   (MJPoultry-0000545876).
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Exhibit         Witness           Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Larry Pate,
                          Jason McGuire, and Leslie
          Special Agent   Antoinette on or about 11/7/2012
    518   LaNard Taylor   (PILGRIMS-0000021364).
                          Email chain between Randy Long
                          and Tim Stiller on or about
          Special Agent   10/9/2014 (PILGRIMS-
    519   LaNard Taylor   0003618962).
                          Email chain between Larry Pate,
                          Jason McGuire, and Joe Brink on
                          or about 10/30/2012 PILGRIMS-
    520   Joe Brink       0005796830).
                          Email between Larry Pate and
                          Jason McGuire on or about
          Special Agent   11/08/2012 (PILGRIMS-
    521   LaNard Taylor   0005796999).
                          Email chain between Jimmie Little
                          and Jason McGuire on or about
          Special Agent   8/29/2014 (PILGRIMS-
    522   LaNard Taylor   0005804279).
                          Email chain between Jimmie
                          Little, Jason McGuire, and Jason
          Special Agent   Slider on or about 8/29/2014
    523   LaNard Taylor   (PILGRIMS-0005804283).
                          Email chain between Bill Lovette
                          and Jayson Penn on or about
          Special Agent   8/22/2011 (PILGRIMS-
    524   LaNard Taylor   0005822161).
                          Email chain between Tim Stiller,
                          Eric Oare, Jimmie Little, and
                          Thomas Lane on or about
          Special Agent   9/30/2014 (PILGRIMS-
    525   LaNard Taylor   0005934807).
                          Email chain between Jimmie
                          Little, Tim Stiller, Thomas Lane,
    526   Joe Brink       and Joe Brink on or about
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Exhibit         Witness           Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          10/2/2014 (PILGRIMS-
                          0005934829).

                          Email chain between Jimmie
                          Little, Tim Stiller, Thomas Lane,
                          Eric Oare, Roger Austin, and Joe
                          Brink dated on or about
                          10/03/2014 (PILGRIMS-
    527   Joe Brink       0005934839).
                          Email chain between Jimmie
                          Little, Joe Brink, and Roger Austin
                          on or about 10/3/2014
    528   Joe Brink       (PILGRIMS-0005934843).
                          Email chain between Paul
                          Bracewell, Tim Stiller, Jimmie
                          Little, and Craig Kasmier on or
          Special Agent   about 12/30/2014 (PILGRIMS-
    529   LaNard Taylor   0005937042).
                          Email chain between Jimmie
                          Little, Tim Stiller, Eric Oare, and
                          Thomas Lane on or about
          Special Agent   9/19/2014 attaching logo
    530   LaNard Taylor   (PILGRIMS-0007076680).
                          Email chain between Jimmie Little
                          and Tim Stiller on or about
          Special Agent   9/24/2015 (PILGRIMS-
    531   LaNard Taylor   0007084069).
                          Email between Jason McGuire and
          Special Agent   Larry Pate on or about 11/08/2012
    532   LaNard Taylor   (PILGRIMS-0008977454).
                          Calendar invitation regarding
                          Pilgrim's Pride Corporation
                          Exchange Administrative Group
                          including Eric Oare and Tim Stiller
          Special Agent   on or about 9/23/2014
    533   LaNard Taylor   (PILGRIMS-0009353169).
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Exhibit         Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Calendar invitation regarding "PT"
                          including Tim Stiller, Jimmie
                          Little, Thomas Lane, and Eric Oare
          Special Agent   on or about 9/23/2014
    534   LaNard Taylor   (PILGRIMS-0009353170).
                          Calendar invitation regarding "PT"
                          including Tim Stiller, Jimmie
                          Little, Thomas Lane, and Eric Oare
          Special Agent   on or about 9/23/2014
    535   LaNard Taylor   (PILGRIMS-0009395429).
                          Calendar invitation regarding
                          "Accepted: PT" including Jimmie
                          Little and Tim Stiller on or about
          Special Agent   9/23/2014 (PILGRIMS-
    536   LaNard Taylor   0009395430).
                          Calendar invitation regarding
                          "Accepted: PT" including Thomas
                          Lane and Tim Stiller on or about
          Special Agent   9/23/2014 (PILGRIMS-
    537   LaNard Taylor   0009395431).
                          Email chain between Larry Pate,
                          Jason McGuire, Joe Brink, and
                          Matthew Boarman on or about
                          11/8/2012 (PILGRIMS-DOJ-
    538   Joe Brink       0000105031).
                          Email between Larry Pate and
                          Jason McGuire on or about
                          10/29/2012 attaching pricing
          Special Agent   spreadsheet (PILGRIMS-DOJ-
    539   LaNard Taylor   0000183546).
                          Pollo Tropical contract signed by
                          Jayson Penn on or about
                          11/12/2012 (PILGRIMS-DOJ-
    540   Joe Brink       0000502303).
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Exhibit         Witness           Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Tim Stiller,
                          Jason McGuire, Jayson Penn,
                          Matthew Herman, and Andrea
                          Lawson, among others, on or about
          Special Agent   9/23/2014 (PILGRIMS-DOJ-
    541   LaNard Taylor   0001362261).
                          Email chain between Tim Stiller,
                          Jason McGuire, Jayson Penn,
                          Matthew Herman, and Tim Stiller,
                          among others, on or about
          Special Agent   9/23/2014 (PILGRIMS-DOJ-
    542   LaNard Taylor   0001362265).
                          Email chain between Tim Stiller,
                          Jason McGuire, Jayson Penn,
                          Matthew Herman, and Tim Stiller,
                          among others, on or about
          Special Agent   9/23/2014 (PILGRIMS-DOJ-
    543   LaNard Taylor   0001362267).
                          Calendar invitation regarding PT
                          including Tim Stiller, Eric Oare,
                          Jimmie Little, and Thomas Lane
          Special Agent   on or about 9/23/2014
    544   LaNard Taylor   (PILGRIMS-DOJ-0002195623).
                          Email chain between Matthew
                          Boarman and Jimmie Little on or
          Special Agent   about 8/13/2014 (PILGRIMS-
    545   LaNard Taylor   DOJ-0002269318).
                          Email between Jimmie Little and
                          Matthew Boarman on or about
          Special Agent   8/29/2014 (PILGRIMS-DOJ-
    546   LaNard Taylor   0002269652).
                          Email chain between Jimmie Little
                          and Joe Brink on or about
                          9/16/2014 (PILGRIMS-DOJ-
    547   Joe Brink       0002270246).
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Exhibit         Witness          Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Joe Brink and
                          Jimmie Little on or about
                          9/16/2014 (PILGRIMS-DOJ-
    548   Joe Brink       0002270267).
                          Email chain between Jimmie Little
                          and Joe Brink on or about
                          10/2/2014 (PILGRIMS-DOJ-
    549   Joe Brink       0002270788).
                          Email chain between Joe Brink and
                          Jimmie Little on or about
                          10/2/2014 (PILGRIMS-DOJ-
    550   Joe Brink       0002270795).
                          Email chain between Jimmie Little
                          and Joe Brink on or about
                          10/2/2014 (PILGRIMS-DOJ-
    551   Joe Brink       0002270816).
                          Email chain between Jimmie
                          Little, Matthew Boarman, Tim
                          Stiller, Thomas Lane, and Joe
                          Brink on or about 10/2/2014
    552   Joe Brink       (PILGRIMS-DOJ-0002270824).
                          Email chain between Jimmie
                          Little, Matthew Boarman, Joe
                          Brink, and Roger Austin on or
                          about 10/3/2014 (PILGRIMS-
    553   Joe Brink       DOJ-0002270899).
                          Email chain between Jimmie Little
                          and Joe Brink on or about
                          10/3/2014 (PILGRIMS-DOJ-
    554   Joe Brink       0002270912).
                          Email chain between Joe Brink,
                          Jimmie Little, and Matthew
                          Boarman on or about 10/8/2014
    555   Joe Brink       (PILGRIMS-DOJ-0002271079).
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Exhibit         Witness          Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Roger Austin
                          and Jimmie Little on or about
          Special Agent   10/3/2014 (PILGRIMS-DOJ-
    556   LaNard Taylor   0002525979).
                          Email between Larry Pate and
                          Jayson Penn on or about
                          11/09/2012 (PILGRIMS-DOJ-
    557   Joe Brink       0002822850).
                          Contract between Pollo Tropical
                          and Pilgrim's Pride dated
                          11/09/2012 (PILGRIMS-DOJ-
    558   Joe Brink       0002822851).
                          Email chain between Jimmie
                          Little, Roger Austin, and Matthew
          Special Agent   Boarman on or about 8/14/2014
    559   LaNard Taylor   (PILGRIMS-DOJ-0002950645).
                          Email chain between Jimmie
                          Little, Matthew Boarman, and Joe
                          Brink on or about 8/14/2014
    560   Joe Brink       (PILGRIMS-DOJ-0003384947).
                          Email chain between Joe Brink and
                          Jimmie Little on or about
                          08/14/2014 (PILGRIMS-DOJ-
    561   Joe Brink       0003384952).
                          Email between Joe Brink and
                          Jimmie Little on or about
                          9/22/2014 (PILGRIMS-DOJ-
    562   Joe Brink       0003385150).
                          Email between Jimmie Little,
                          Thomas Lane, Eric Oare, and Tim
          Special Agent   Stiller on or about 9/22/2014
    563   LaNard Taylor   (PILGRIMS-DOJ-0003385154).
                          Email chain between Jimmie Little
                          and Matthew Boarman on or about
          Special Agent   9/23/2014 (PILGRIMS-DOJ-
    564   LaNard Taylor   0003385175).
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Exhibit         Witness           Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email between Jimmie Little and
                          Joe Brink on or about 9/23/2014
    565   Joe Brink       (PILGRIMS-DOJ-0003385203).
                          Email chain between Jimmie Little
                          and Joe Brink on or about
                          10/3/2014 (PILGRIMS-DOJ-
    566   Joe Brink       0003385310).
                          Email between Jimmie Little, Joe
                          Brink, and Roger Austin on or
                          about 10/3/2014 (PILGRIMS-
    567   Joe Brink       DOJ-0003385325).
                          Email chain between Jimmie
                          Little, Lance Goeddel, Kim Pryor
                          and Joseph Brink on or about
                          12/31/2014 attaching a word
          Special Agent   document (PILGRIMS-DOJ-
    568   LaNard Taylor   0003386580).
                          Adobe PDF titled Contract No.
                          214189P dated on or about
                          12/17/2014 (PILGRIMS-DOJ-
    569   Joe Brink       0003386581).
                          Calendar invitation regarding Pollo
                          Tropical including Tim Stiller,
                          Jimmie Little, Robbie Bryant, and
                          Roger Austin on or about
          Special Agent   9/15/2015 attaching Adobe PDF
    570   LaNard Taylor   (PILGRIMS-DOJ-0003975687).
                          Email chain between Jimmie
                          Little, Tim Stiller, and Kim Pryor
                          on or about 9/11/2015 attaching
          Special Agent   Adobe PDF (PILGRIMS-DOJ-
    571   LaNard Taylor   0003975688).
                          Adobe PDF titled Contract No.
                          214189P ("Contract") dated on or
                          about 2/11/2015 (PILGRIMS-
    572   Joe Brink       DOJ-0003975692).
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Exhibit         Witness           Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Rachelle
                          Durham, Craig Raysor, Larry Pate,
                          and Jayson Penn on or about
          Special Agent   03/02/2012 (PILGRIMS-DOJ-
    573   LaNard Taylor   0004194516).
                          Adobe PDF titled Contract No.
                          214409P dated 12/14/2011
    574   Joe Brink       (PILGRIMS-DOJ-0004194518).
                          Adobe PDF titled Contract No.
                          214189P ("Contract") dated on or
                          about 2/11/2015 (PILGRIMS-
    575   Joe Brink       DOJ-0004857788).
          Special Agent   File of and handwritten notes
    576   LaNard Taylor   (GEODOJ_0584692).
                          Email chain between Jason
                          McGuire and Larry Pate on or
          Special Agent   about 11/7/2012 (PILGRIMS-
    577   LaNard Taylor   0000021353).
                          Email chain between Walter
                          Cooper, Jeramie Martin, and Joe
                          Brink on or about 3/18/2019
                          attaching contract
    578   Joe Brink       (CLA_0293131).
                          Email chain between Walter
                          Cooper, Joe Brink, and Greg Finch
                          on or about 12/18/2014 attaching
                          Adobe PDF
    579   Joe Brink       (CLAXTON_0089306).
                          Email chain between Greg Tench,
                          Micah Hendry, Chris Sharp, Dale
                          Kelly, and Joe Brink, among
                          others, dated on or about
                          12/18/2014 attaching Adobe PDF
    580   Joe Brink       (MJPoultry-0000459969).
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 Trial
Exhibit         Witness          Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Matthew
                          Boarman and Joe Brink on or
                          about 11/18/2013 (PILGRIMS-
    581   Joe Brink       0003457752).
                          Email between Walter Cooper and
                          Joe Brink on or about 10/29/2012
                          attaching Word document
    582   Joe Brink       (POLCHKED0000032291).
                          Word document untitled dated on
          Special Agent   or about 10/29/2012
    583   LaNard Taylor   (POLCHKED0000032292).
                          Excerpt of Jimmie Little ((214)
          Special Agent   755-6081) toll records (ATT-
    584   LaNard Taylor   ATR001-00000001).
                          Excerpt of Jimmie Little ((214)
          Special Agent   755-6081) toll records (ATT-
    585   LaNard Taylor   ATR001-00000001).
                          Excerpt of Jimmie Little ((214)
          Special Agent   755-6081) toll records (ATT-
    586   LaNard Taylor   ATR001-00000001).
                          Excerpt of Jimmie Little ((214)
          Special Agent   755-6081) toll records (ATT-
    587   LaNard Taylor   ATR001-00000001).
                          Excerpt of Jimmie Little ((214)
          Special Agent   755-6081) toll records (ATT-
    588   LaNard Taylor   ATR001-00000001).
                          Excerpt of Jimmie Little ((214)
          Special Agent   755-6081) toll records (ATT-
    589   LaNard Taylor   ATR001-00000001).
                          Except of Greg Tench (770-854-
          Special Agent   7200) toll records (VZW-ATR-
    590   LaNard Taylor   004-00008252).
                          Email chain between Scott Brady,
                          Mikell Fries, and Kent Kronauge
          Special Agent   on or about 3/26/2015
    600   LaNard Taylor   (CLA_0133081).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Ric Blake,
                          Darrel Keck, Charles George, and
          Special Agent   Kent Kronauge on or about
    601   LaNard Taylor   4/22/2015 (GEO_0000337169).
                          Email chain between Charles
                          George, Ric Blake, Greg Nelson,
                          Darrel Keck, and Kent Kronauge
          Special Agent   dated on or about 03/27/2015
    602   LaNard Taylor   (GEO_0000338128).
                          Email chain between Dean
                          Bradley, Kent Kronauge, Ric
          Special Agent   Blake, and Brian Coan on or about
    603   LaNard Taylor   9/13/2017 (GEODOJ_0000741).
                          Email chain between Ric Blake,
                          Dean Bradley, and Kent Kronauge
          Special Agent   on or about 9/13/2017
    604   LaNard Taylor   (GEODOJ_0001696).
                          Email chain between Ric Blake,
                          Dean Bradley, and Kent Kronauge
          Special Agent   on or about 9/13/2017
    605   LaNard Taylor   (GEODOJ_0004950).
                          Email from Kevin Grindle to Tim
          Special Agent   Jordan on or about 3/20/2015
    606   LaNard Taylor   (MJPoultry-0000057664).
                          Email chain between Tim Stiller
                          and Jayson Penn on or about
          Special Agent   4/1/2015 (PILGRIMS-
    607   LaNard Taylor   0005861272).
                          Email chain between Justin Gay,
                          Tim Stiller, and Jayson Penn on or
          Special Agent   about 4/1/2015 (PILGRIMS-
    608   LaNard Taylor   0005938980).
                          Email chain between Tim Stiller,
                          Justin Gay, and Kent Kronauge on
          Special Agent   or about 3/31/2015 (PILGRIMS-
    609   LaNard Taylor   0009182647).
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Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Justin Gay,
                          Tim Stiller, and Kent Kronauge on
          Special Agent   or about 3/31/2015 (PILGRIMS-
    610   LaNard Taylor   DOJ-0001530604).
                          Email chain between Bill Kantola
          Special Agent   and Kent Kronauge on or about
    611   LaNard Taylor   4/1/2015 (SMS-00012408).
                          Email chain between Carl Pepper,
                          Tim Scheiderer, Tim Mulrenin,
          Special Agent   and Kent Kronauge on or about
    612   LaNard Taylor   3/27/2015 (TY-000159934).
                          Email chain between Carl Pepper,
                          Steven Cullen, Tim Mulrenin, and
          Special Agent   Kent Kronauge on or about
    613   LaNard Taylor   3/27/2015 (TY-000159936).
                          Email chain between Steven
                          Cullen, Carl Pepper, Tim
                          Mulrenin, Darrel Bowlin, and
                          Ritchey Collyar among others, on
          Special Agent   or about 3/27/2015 (TY-
    614   LaNard Taylor   000159946).
                          Email chain between Carl Pepper
                          and Tim Scheiderer, Steven
                          Cullen, Tim Mulrenin, Darrell
                          Bowlin, and Ritchey Collyar,
          Special Agent   among others, on or about
    615   LaNard Taylor   3/31/2015 (TY-000163911).
                          Calendar invitation regarding
                          Popeyes .02 Discount including
          Special Agent   Carl Pepper on or about 8/24/2015
    616   LaNard Taylor   (TY-000322035).
                          Email chain between Tim
                          Mulrenin, Steven Cullen, Carl
                          Pepper, Tim Scheiderer, and Kent
          Special Agent   Kronauge on or about 3/27/2015
    617   LaNard Taylor   (TY-001066336).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Tim
                          Mulrenin, Steven Cullen, Carl
          Special Agent   Pepper, and Kent Kronauge on or
    618   LaNard Taylor   about 3/27/2015 (TY-001066359).
                          Email chain between Kent
                          Kronauge, Carl Pepper, Tim
                          Scheiderer, Charlie Solomon, and
                          Steven Cullen, among others, on or
          Special Agent   about 03/27/2015 (TY-
    619   LaNard Taylor   007000841).
                          Email chain between Kent
                          Kronauge, Carl Pepper, Tim
                          Scheiderer, Steven Cullen, and
                          Charlie Solomon, among others,
          Special Agent   on or about 03/27/2015 attaching
    620   LaNard Taylor   (TY-007000843).
                          Automatic email reply between
                          Tim Scheiderer and Carl Pepper on
          Special Agent   or about 3/27/2015 (TY-
    621   LaNard Taylor   000159935).
                          Excerpt of Carl Pepper ((479) 879-
          Special Agent   2092) toll records (ATT-ATR001-
    622   LaNard Taylor   00000001).
                          Excerpt of Ric Blake ((479) 927-
          Special Agent   7270) toll records (ATT-ATR004-
    623   LaNard Taylor   00000010).
                          Excerpt of Carl Pepper ((479) 879-
          Special Agent   2092) toll records (ATT-ATR001-
    624   LaNard Taylor   00000001).
                          Excerpt of Scott Brady (678-640-
          Special Agent   1622) toll records (VZW-ATR004-
    625   LaNard Taylor   00001257).
                          Email between Kent Kronauge and
                          All Suppliers on or about
          Special Agent   8/16/2017 (CASEDOJ-AT-
    700   LaNard Taylor   0000031883).
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Exhibit        Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Kent
          Special Agent   Kronauge on or about 8/16/2017
    701   LaNard Taylor   (CLA_0076034).
                          Email between Scott Brady and
          Special Agent   Kent Kronauge on or about
    702   LaNard Taylor   9/5/2017 (CLA_0076096).
                          Excel spreadsheet titled
                          CLAXTON POULTRY
                          POPEYES COST PLUS
          Special Agent   MONTHLY PRICING January
    703   LaNard Taylor   2018 undated (CLA_0076099).
                          Excel spreadsheet titled
                          CLAXTON POULTRY
                          POPEYES COST PLUS
          Special Agent   MONTHLY PRICING January
    704   LaNard Taylor   2018 undated (CLA_0076100).
                          Email between Scott Brady and
          Special Agent   Kent Kronauge on or about
    705   LaNard Taylor   11/8/2017 (CLA_0076258).
                          Document titled "Supplier
          Special Agent   Agreement" dated on or about
    706   LaNard Taylor   11/08/2017 (CLA_0076259).
                          Calendar invitation regarding
                          Popeye's 2018 Bone In RFP
                          including Dean Bradley, Brian
                          Coan, Ric Blake, and Jason
          Special Agent   McGuire on or about 9/1/2017
    707   LaNard Taylor   (GEODOJ_0001607).
                          Email between Dean Bradley, Kent
                          Kronauge, Brian Coan, and Ric
          Special Agent   Blake on or about 9/13/2017
    708   LaNard Taylor   (GEODOJ_0001713).
                          Excel spreadsheet titled George's
                          INC. Popeyes Cost Plus Monthly
          Special Agent   Pricing, undated
    709   LaNard Taylor   (GEODOJ_0001714).
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Number
                          Email between Dean Bradley, Kent
                          Kronauge, Brian Coan, and Ric
                          Blake on or about 9/5/2017
                          attaching excel spreadsheet titled
          Special Agent   Popeye's 2018 COB RFP
    710   LaNard Taylor   (GEODOJ_0005007).
                          Excel spreadsheet titled George's
                          INC. Popeyes Cost Plus Monthly
          Special Agent   Pricing, undated
    711   LaNard Taylor   (GEODOJ_0005008).
                          Email between Dean Bradley and
                          Brian Coan on or about 11/27/2017
                          attaching Adobe PDF documents
                          titled SMS (Popeye's) 2018 Bone
                          In Contract and SMS (Popyeye's)
          Special Agent   2018 Strip Contract
    712   LaNard Taylor   (GEODOJ_0110083).
                          Email chain between Dean
                          Bradley, Kent Kronauge, Ric
          Special Agent   Blake, and Brian Coan on or about
    713   LaNard Taylor   9/13/2017 (GEODOJ_0164394).
                          Email between Dean Bradley, Kent
                          Kronauge, Brian Coan, and Ric
                          Blake on or about 9/5/2017
                          attaching excel spreadsheet titled
          Special Agent   Popeye's 2018 COB RFP
    714   LaNard Taylor   (GEODOJ_0165128).
                          Excel spreadsheet titled George's
                          INC. Popeyes Cost Plus Monthly
          Special Agent   Pricing, undated
    715   LaNard Taylor   (GEODOJ_0165129).
                          Email between Dean Bradley, Kent
                          Kronauge, Brian Coan, and Ric
          Special Agent   Blake on or about 9/13/2017
    716   LaNard Taylor   (GEODOJ_0166818).
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 Trial
Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Excel spreadsheet titled George's
                          INC. Popeyes Cost Plus Monthly
          Special Agent   Pricing, undated
    717   LaNard Taylor   (GEODOJ_0166819).
                          Email between Kent Kronauge and
          Special Agent   All Suppliers on or about
    718   LaNard Taylor   8/16/2017 (GEODOJ_0167950).
                          Email between Stephen
                          Campisano, Ric Blake, and Rich
                          Eddington on or about 9/15/2017
          Special Agent   attaching document
    719   LaNard Taylor   (GEODOJ_0174491).
                          Word document titled Supplier
          Special Agent   Feedback: George's, undated
    720   LaNard Taylor   (GEODOJ_0174492).
                          Email chain between Pete Winters,
                          Dean Bradley, Brian Coan, Jason
                          McGuire, and Ric Blake on or
                          about 9/1/2017 attaching excel
          Special Agent   spreadsheets titled
    721   LaNard Taylor   (GEODOJ_0198417).
                          Excel spreadsheet titled George's
                          INC. Popeyes Cost Plus Monthly
          Special Agent   Pricing, undated
    722   LaNard Taylor   (GEODOJ_0198419).
                          Excel spreadsheet titled George's
                          INC. Popeyes Cost Plus Monthly
          Special Agent   Pricing, undated
    723   LaNard Taylor   (GEODOJ_0198420).
                          Excel spreadsheet titled George's
                          INC. Popeyes Cost Plus Monthly
          Special Agent   Pricing, undated
    724   LaNard Taylor   (GEODOJ_0198421).

          Special Agent   Email chain between Bill Kantola
    725   LaNard Taylor   and Kent Kronauge on or about
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          9/26/2017 (KOCHFOODS-
                          0000013551).

                          Email chain between Kent
                          Kronauge and Tommy Francis on
                          or about 9/26/2017 attaching Excel
          Special Agent   Spreadsheet titled 2018 proposed
    726   LaNard Taylor   model (MJPoultry-0000214804).
                          Excel spreadsheet titled Popeye's
                          CostPlus Supplier - Mar-Jac
                          Poultry 2018 Model Proposed
          Special Agent   Model, undated (MJPoultry-
    727   LaNard Taylor   0000214806).
                          Email chain between Tommy
                          Francis and Kent Kronauge on or
                          about 9/6/2017 attaching
          Special Agent   spreadsheet (MJPoultry-
    728   LaNard Taylor   0000215700).
                          Excel spreadsheet titled 2018
          Special Agent   proposed model undated
    729   LaNard Taylor   (MJPoultry-0000215702).
                          Email between Thomas Lane and
                          Robbie Bryant on or about
          Special Agent   9/5/2017 (PILGRIMS-DOJ-
    730   LaNard Taylor   0000412075).
                          Email between Justin Gay and
                          Kent Kronauge on or about
          Special Agent   9/5/2017 (PILGRIMS-DOJ-
    731   LaNard Taylor   0000412081).
                          Excel spreadsheet titled
                          PILGRIM'S PRIDE
                          CORPORATION POPEYES
                          COST PLUS MONTHLY
                          PRICING 2018/2019 Pricing
          Special Agent   Proposal undated (PILGRIMS-
    732   LaNard Taylor   DOJ-0000412082).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Robbie
                          Bryant, Justin Gay, and Kent
          Special Agent   Kronauge on or about 9/26/2017
    733   LaNard Taylor   (PILGRIMS-DOJ-0000412521).
                          Email chain between Kent
                          Kronauge and Justin Gay on or
          Special Agent   about 9/26/2017 (PILGRIMS-
    734   LaNard Taylor   DOJ-0000412525).
                          Email chain between Robbie
                          Bryant and Tim Stiller on or about
          Special Agent   9/5/2017 (PILGRIMS-DOJ-
    735   LaNard Taylor   0001403683).
                          Email chain between Robbie
                          Bryant, Justin Gay, Tim Stiller,
                          Thomas Lance, and Kent Kroauge
          Special Agent   on or about 8/18/2017
    736   LaNard Taylor   (PILGRIMS-DOJ-0002309626).
                          Email between Thomas Lane and
                          Robbie Bryant on or about
                          9/5/2017 attaching Excel
          Special Agent   Spreadsheet (PILGRIMS-DOJ-
    737   LaNard Taylor   0002310041).
                          Excel Spreadsheet titled
                          PILGRIM'S PRIDE
                          CORPORATION POPEYE'S
                          COST PLUS MONTHLY
                          PRICING 2018 PRICING
          Special Agent   PROPOSAL undated (PILGRIMS-
    738   LaNard Taylor   DOJ-0002310042).
                          Email chain between Robbie
                          Bryant, Justin Gay, Time Stiller,
                          Thomas Lane, and Kent Kronauge
          Special Agent   on or about 8/18/2017
    739   LaNard Taylor   (PILGRIMS-DOJ-0002715088).
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 Trial
Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Justin Gay,
                          Robbie Bryant, and Kent
                          Kronauge, among others on or
          Special Agent   about 7/6/2017 (PILGRIMS-DOJ-
    740   LaNard Taylor   0003985562).
          Special Agent   Adobe PDF untitled dated on or
    741   LaNard Taylor   about 11/9/2017 (SMS-0461).
                          Calendar invitation regarding
                          POPEYES 2018 bone-in RFP
                          including Tim Mulrenin, Carl
                          Pepper, Tim Scheiderer, Steven
                          Cullen, and Darrell Bowlin on or
          Special Agent   about 08/25/2017 (TY-
    742   LaNard Taylor   000198999).
                          Email between Kent Kronauge and
          Special Agent   others on or about 8/16/2017 (TY-
    743   LaNard Taylor   000204036).
                          Email chain between Tim
          Special Agent   Mulrenin and Carl Pepper on or
    744   LaNard Taylor   about 8/16/2017 (TY-000204047).
                          Email chain between Tim
          Special Agent   Mulrenin and Carl Pepper on or
    745   LaNard Taylor   about 8/18/2017 (TY-000204268).
                          Email chain between Kent
          Special Agent   Kronauge and others on or about
    746   LaNard Taylor   9/6/2017 (TY-000206379).
                          Email chain between Carl Pepper,
                          Tim Scheiderer, Tim Mulrenin,and
          Special Agent   Carl Pepper on or about 8/24/2017
    747   LaNard Taylor   (TY-000269226).
                          Email between Carl Pepper, Kent
          Special Agent   Kronauge, and Tim Mulrenin on or
    748   LaNard Taylor   about 9/7/2017 (TY-000722084).
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Exhibit        Witness            Brief Description          Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Excel spreadsheet titled Tyson
                          Foods, INC. Popeyes Cost Plus
                          Monthly Pricing 2018 Proposed
                          Model using Kent's Grain
          Special Agent   Assumptions, undated (TY-
    749   LaNard Taylor   000722085).
                          Excel spreadsheet titled Tyson
                          Foods, INC. Popeyes Cost Plus
                          Monthly Pricing 2017 Proposed
                          Model using Kent's Grain
          Special Agent   Assumptions, undated (TY-
    750   LaNard Taylor   000722086).
                          Text message from Carl Pepper to
          Special Agent   Tim Mulrenin on or about
    751   LaNard Taylor   09/06/2017 (TY-001632749).
                          Text message from Carl Pepper to
          Special Agent   Tim Mulrenin on or about
    752   LaNard Taylor   9/6/2017 (TY-001642732).
                          Text message from Tim Mulrenin
          Special Agent   to Carl Pepper on or about
    753   LaNard Taylor   9/6/2017 (TY-001642733).
                          Text message from Carl Pepper to
          Special Agent   Tim Mulrenin on or about
    754   LaNard Taylor   09/06/2017 (TY-001642734).
                          Text message from Carl Pepper to
          Special Agent   Tim Mulrenin on or about
    755   LaNard Taylor   9/6/2017 (TY-001642735).
                          Text message from Tim Mulrenin
          Special Agent   to Carl Pepper on or about
    756   LaNard Taylor   9/6/2017 (TY-001642736).
                          Text message from Carl Pepper to
          Special Agent   Tim Mulrenin on or about
    757   LaNard Taylor   9/6/2017 (TY-001642737).
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Exhibit         Witness             Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            Text message from Tim Mulrenin
          Special Agent     to Carl Pepper on or about
    758   LaNard Taylor     9/6/2017 (TY-001642738).
                            Text message from Tim Mulrenin
          Special Agent     to Carl Pepper on or about
    759   LaNard Taylor     07/03/2018 (TY-001643172).
                            Email chain between Tim
                            Scheiderer, Darrell Bowlin, Steven
                            Cullen, Shane Free, and Melvin
          Special Agent     Fulson on or about 8/23/2017 (TY-
    760   LaNard Taylor     003142027).
                            File of and handwritten notes
          Special Agent     written by Ric Blake
    761   LaNard Taylor     (GEODOJ_0584721).
                            Email chain between Scott Brady,
                            Walter Cooper, and others on or
          Special Agent     about 08/02/2018 attaching excel
    762   LaNard Taylor     spreadsheet (CLA_0228956).
                            Excel spreadsheet titled Claxton
                            Poultry Popeyes Cost Plus
                            Monthly Pricing 8/6 to 9/2 dated
          Special Agent     on or around 8/2/2018
    763   LaNard Taylor     (CLA_0228957).
                            Excerpt of Justin Gay (770-363-
          Special Agent     7129) toll records (VZW-ATR001-
    764   LaNard Taylor     00004200).
                            Excerpt of Carl Pepper ((479) 879-
          Special Agent     2092) toll records (ATT-ATR001-
    765   LaNard Taylor     00000001).
                            Excerpt of Carl Pepper ((479) 879-
          Special Agent     2092) toll records (ATT-ATR001-
    766   LaNard Taylor     00000001).
                            Email chain between Joe Grendys,
                            Lance Buckert, and Michael
          Melissa Hoyt or   Chalmers dated on or about
    800   LaNard Taylor     05/04/2016 (KOCH_0000111644).
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Exhibit         Witness             Brief Description          Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            Email between Brandon Gould and
          Melissa Hoyt or   Hans Schmidt on or about
    801   LaNard Taylor     5/11/2016 (KOCH_0000473001).
                            Adobe PDF titled Bid Award
                            Purchase Agreement-Exhibit A-1st
          Melissa Hoyt or   PO dated on or about 5/11/2016
    802   LaNard Taylor     (KOCH_0000473002).
                            Email chain between Joe Grendys
          Melissa Hoyt or   and Bill Lovette on or about
    803   LaNard Taylor     5/1/2016 (KOCH_0001174605).
                            Email chain between Joe Grendys,
                            Michael Chalmers, Ellie Kim, and
          Melissa Hoyt or   Cherrie Carram on or about
    804   LaNard Taylor     5/4/2016 (KOCH_0001174791).
                            Email between Mark Liszt and Joe
          Melissa Hoyt or   Grendys dated on or about
    805   LaNard Taylor     05/04/2016 (KOCH_0001174793).
                            Email chain between Joe Grendys,
                            John Marler, Mark Kaminsky, and
          Melissa Hoyt or   Melissa Swain dated on or about
    806   LaNard Taylor     04/27/2016 (KOCH_0001176263).
                            Email chain between Bill Lovette
          Melissa Hoyt or   and Joe Grendys on or about
    807   LaNard Taylor     5/1/2016 (KOCH_0001176462).
                            Email chain between Bill Lovette
          Melissa Hoyt or   and Joe Grendys on or about
    808   LaNard Taylor     5/1/2016 (KOCH_0001176463).
                            Email chain between Mark
                            Kaminsky, John Marler, Joe
                            Grendys, and Lance Buckert on or
          Melissa Hoyt or   about 4/28/2016
    809   LaNard Taylor     (KOCH_0001257085).
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Exhibit         Witness             Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            Email chain between Brandon
                            Gould and Hans Schmidt on or
          Melissa Hoyt or   about 8/1/2016
    810   LaNard Taylor     (KOCH_0001697070).
                            Adobe PDF titled Bid Award
                            Purchase Agreement-Exhibit A-1st
          Melissa Hoyt or   PO dated on or about 8/1/2016
    811   LaNard Taylor     (KOCH_0001697071).
                            Email chain between John Marler
          Melissa Hoyt or   and Melissa Swain on or about
    812   LaNard Taylor     5/9/2016 (KOCH_0002115941).
                            Email chain between John Marler,
                            Lance Buckert, Joe Grendys, and
                            Jeff Pierce on or about 8/25/2016
          Melissa Hoyt or   attaching Word Document
    813   LaNard Taylor     (KOCH_0002181461).
                            Document titled "Sysco
                            Corporation Antitrust Compliance
                            Guidelines for Category
          Melissa Hoyt or   Management Group Meetings
    814   LaNard Taylor     (KOCH_0002181463).
                            Email chain between Joe Grendys
          Melissa Hoyt or   and Bill Lovette on or about
    815   LaNard Taylor     5/1/2016 (KOCH_0002193748).
                            Email chain between Bill Lovette,
                            Mark Kaminsky, and Fabio Sandri
          Melissa Hoyt or   on or about 3/13/2015
    816   LaNard Taylor     (KOCH_0002257011).
                            Email chain between Karen
                            Schroeder, Fabio Sandri, Gustavo
                            Biscardi, and Melissa Swain on or
          Melissa Hoyt or   about 5/13/2016 (PILGRIMS-
    817   LaNard Taylor     0007065422).
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 Trial
Exhibit         Witness             Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            Letter from Fabio Sandri to Office
                            of Supplier Administration dated
          Melissa Hoyt or   on or about 5/13/2016
    818   LaNard Taylor     (PILGRIMS-0007065424).
                            Text from Tim Stiller to Scott
          Melissa Hoyt or   Tucker on or about 5/12/2016
    819   LaNard Taylor     (PILGRIMS-DOJ-0000911951).
                            Text message from Scott Tucker to
          Melissa Hoyt or   Tim Stiller on or about 5/12/2016
    820   LaNard Taylor     (PILGRIMS-DOJ-0000911952).
                            Text message from Tim Stiller to
                            Scott Tucker on or about
          Melissa Hoyt or   5/12/2016 (PILGRIMS-DOJ-
    821   LaNard Taylor     0000911953).
                            Text message from Scott Tucker to
          Melissa Hoyt or   Tim Stiller on or about 5/12/2016
    822   LaNard Taylor     (PILGRIMS-DOJ-0000911954).
                            Text message from Scott Tucker to
          Melissa Hoyt or   Tim Stiller on or about 5/12/2016
    823   LaNard Taylor     (PILGRIMS-DOJ-0000911955).
                            Text message from Scott Tucker to
          Melissa Hoyt or   Tim Stiller on or about 5/12/2016
    824   LaNard Taylor     (PILGRIMS-DOJ-0000911960).
                            Text message from Tim Stiller to
                            Scott Tucker on or about
          Melissa Hoyt or   5/12/2016 (PILGRIMS-DOJ-
    825   LaNard Taylor     0000911961).
                            Text message from Tim Stiller to
                            Scott Tucker on or about
          Melissa Hoyt or   5/12/2016 (PILGRIMS-DOJ-
    826   LaNard Taylor     0000911962).
                            Text message from Scott Tucker to
          Melissa Hoyt or   Tim Stiller on or about 5/12/2016
    827   LaNard Taylor     (PILGRIMS-DOJ-0000911963).
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Exhibit         Witness             Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            Text message from Tim Stiller to
                            Scott Tucker on or about
          Melissa Hoyt or   5/12/2016 (PILGRIMS-DOJ-
    828   LaNard Taylor     0000911964).
                            Text message from Scott Tucker to
          Melissa Hoyt or   Tim Stiller on or about 5/12/2016
    829   LaNard Taylor     (PILGRIMS-DOJ-0000911965).
                            Email chain between Janine
                            Nollkamper, Brenda Ray, Melissa
                            Swain, and Jayson Penn on or
          Melissa Hoyt or   about 4/25/2016 (PILGRIMS-
    830   LaNard Taylor     DOJ-0001918262).
                            Adobe PDF titled SUPPLIER
                            PAYMENT TERMS CHANGE
          Melissa Hoyt or   FORM dated on or about 6/1/2016
    831   LaNard Taylor     (PILGRIMS-DOJ-0001918263).
                            Email chain between Janine
                            Nollkamper, Melissa Swain,
                            Brandon Gould, and Brenda Ray
          Melissa Hoyt or   on or about 6/14/2016
    832   LaNard Taylor     (PILGRIMS-DOJ-0002424620).
                            Adobe PDF titled Supplier
                            Payment Terms Change Form
          Melissa Hoyt or   dated on or about 6/1/2016
    833   LaNard Taylor     (PILGRIMS-DOJ-0002424621).
                            Adobe PDF untitled dated on or
          Melissa Hoyt or   about 6/1/2016 (PILGRIMS-DOJ-
    834   LaNard Taylor     0002424623).
                            Email between Janine Nollkamper,
                            Melissa Swain, Brandon Gould,
                            and Brenda Ray on or about
          Melissa Hoyt or   6/3/2016 (PILGRIMS-DOJ-
    835   LaNard Taylor     0004485037).

          Melissa Hoyt or   Adobe PDF titled Supplier
    836   LaNard Taylor     Payment Terms Change Form
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Exhibit         Witness             Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            dated on or about 6/1/2016
                            (PILGRIMS-DOJ-0004485038).

                            Letter from Fabio Sandri to Office
                            of Supplier Administration dated
          Melissa Hoyt or   on or about 6/1/2016 (PILGRIMS-
    837   LaNard Taylor     DOJ-0004485040).
                            Email chain between Jana Oris,
                            John Marler, and Brandon Gould
          Melissa Hoyt or   on or about 9/1/2016 (SYSCO-
    838   LaNard Taylor     00000008).
                            Adobe PDF titled Bid Award
                            Purchase Agreement dated on or
          Melissa Hoyt or   about 8/23/2013 (SYSCO-
    839   LaNard Taylor     00000010).
                            Adobe PDF titled Supplier
          Melissa Hoyt or   Payment Terms Change Form
    840   LaNard Taylor     undated (SYSCO-00000296).
                            Email between Melissa Swain and
          Melissa Hoyt or   Baine Smith on or about 4/25/2016
    841   LaNard Taylor     (SYSCO-00000304).
                            Adobe PDF titled Supplier
                            Payment Terms Change Form
          Melissa Hoyt or   dated on or about 4/22/2016
    842   LaNard Taylor     (SYSCO-00000305).
                            Email between Jayson Penn,
                            Brenda Ray, and Melissa Swain on
          Melissa Hoyt or   or about 4/25/2016 attaching word
    843   LaNard Taylor     document (SYSCO-00000306).
                            Adobe PDF titled Supplier
                            Payment Terms Change Form
          Melissa Hoyt or   dated on or about 6/1/2016
    844   LaNard Taylor     (SYSCO-00000307).
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Exhibit         Witness             Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            Email from Brandon Gould to
          Melissa Hoyt or   Michael Teachey on or about
    845   LaNard Taylor     4/22/2016 (SYSCO-00001594).
                            Adobe PDF titled Supplier
                            Payment Terms Change Form
          Melissa Hoyt or   dated on or about 4/22/2016
    846   LaNard Taylor     (SYSCO-00001595).
                            PowerPoint presentation titled
                            Payment Terms Follow-up
          Melissa Hoyt or   Training dated on or about
    847   LaNard Taylor     4/13/2016 (SYSCO-00001607).
                            Email chain between Melissa
          Melissa Hoyt or   Swain and Joe Gilmore on or about
    848   LaNard Taylor     5/24/2016 (SYSCO-00001753).
                            Email chain between Janine
                            Nollkamper, Melissa Swain,
                            Brandon Gould, and Karen
          Melissa Hoyt or   Schroeder on or about 5/17/2016
    849   LaNard Taylor     (SYSCO-00001767).
                            Email between Melissa Swain,
                            Brandon Gould, Brenda Ray, Judi
                            Major, and Christy Maltby, among
                            others on or about 7/5/2016
          Melissa Hoyt or   attaching Adobe PDF (SYSCO-
    850   LaNard Taylor     00001817).
                            Adobe PDF titled Supplier
                            Payment Terms Change Form
          Melissa Hoyt or   dated on or about 7/5/2016
    851   LaNard Taylor     (SYSCO-00001818).
                            Email between Janine Nollkamper
                            and Melissa Swain on or about
          Melissa Hoyt or   6/15/2016 attaching Adobe PDF
    852   LaNard Taylor     (SYSCO-00001822).
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Exhibit         Witness             Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            Adobe PDF titled Supplier
                            Payment Terms Change Form
          Melissa Hoyt or   dated on or about 6/1/2016
    853   LaNard Taylor     (SYSCO-00001823).
                            Email between John Marler and
                            Melissa Swain on or about
          Melissa Hoyt or   4/27/2016 attaching Word
    854   LaNard Taylor     document (SYSCO-00001933).
                            Adobe PDF titled Supplier
                            Payment Terms Change Form
          Melissa Hoyt or   dated on or about 4/27/2016
    855   LaNard Taylor     (SYSCO-00001934).
                            Email between Melissa Swain and
          Melissa Hoyt or   Brenda Ray on or about 4/25/2016
    856   LaNard Taylor     (SYSCO-00001943).
                            Adobe PDF titled Supplier
                            Payment Terms Change Form
          Melissa Hoyt or   dated on or about 4/25/2016
    857   LaNard Taylor     (SYSCO-00001944).
                            Interview of Melissa Hoyt
                            Investigative Record Form with
          Melissa Hoyt or   date of activity of 08/24/2021
    858   LaNard Taylor     (Hoyt-IRF-ATR001-00000001).
                            Email chain between Melissa
                            Swain Hoyt, Jeff Pierce, John
                            Marler, and Charlene Moncrief on
          Melissa Hoyt or   or about 02/13/2009 attaching PDF
    859   LaNard Taylor     (SYSCO-00002035).
                            Adobe PDF titled Sysco Supplier
                            Confidentiality and Non-
                            Disclosure Agreement dated on or
          Melissa Hoyt or   about 02/11/2019 (SYSCO-
    860   LaNard Taylor     00002036).
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Exhibit         Witness             Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            Email between Melissa Swain
                            Hoyt, Kristin Caffey, Tom Bell,
                            Rachel Hatch, and Shane
                            Zinmesiter on or about 02/05/2009
          Melissa Hoyt or   attaching PDF (SYSCO-
    861   LaNard Taylor     00002038).
                            Adobe PDF titled Sysco Supplier
                            Confidentiality and Non-
                            Disclosure Agreement dated on or
          Melissa Hoyt or   about 02/05/2009 (SYSCO-
    862   LaNard Taylor     00002039).
                            Email chain between Reid Henry,
                            Jana Ortis, Carol Claverie, Chris
                            Crumpton, and Darren Darilek,
          Melissa Hoyt or   among others on or about
    863   LaNard Taylor     4/14/2016 (SYSCO-00002045).
                            Adobe PDF titled Payment Terms
                            Follow Up Training dated on or
          Melissa Hoyt or   about 04/13/2016 (SYSCO-
    864   LaNard Taylor     00002046).
          Special Agent     Document titled Board Meeting
          Matthew           dated on or about 8/28/2014
    900   Koppenhaver       (CLA_0072794).
                            Email between Bill Kantola and
          Special Agent     Joe Grendys on or about
          Matthew           12/22/2014 (KOCHFOODS-
    901   Koppenhaver       0000006822).
                            Adobe PDF titled Fast Food
          Special Agent     Summary dated on or about
          Matthew           9/16/2014 (MAR-
    902   Koppenhaver       JAC_0000557950).
                            Email between Tommy Lane, Tim
                            Stiller, and Jason McGuire on or
                            about 9/19/2014 attaching Cost
          Special Agent     Models for EPL, Pollo Tropical,
          Matthew           Bojangle's, and Sonny's
    903   Koppenhaver       (PILGRIMS-0002618412).
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Exhibit         Witness           Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Excel spreadsheet titled EPL 2015
                          Pricing Model Pilgrim's Pride
          Special Agent   Corporation dated on or about
          Matthew         9/19/2014 (PILGRIMS-
    904   Koppenhaver     0002618413).
                          Excel spreadsheet titled Pilgrim's
                          Pride Corporation Pollo Tropical
          Special Agent   2015 Pricing Model dated on or
          Matthew         about 9/19/2014 (PILGRIMS-
    905   Koppenhaver     0002618414).
                          Email chain between Jayson Penn
          Special Agent   and Bill Lovette on or about
          Matthew         2/24/2014 (PILGRIMS-
    906   Koppenhaver     0002712599).
                          Email between Jayson Penn and
                          Bill Lovette on or about
          Special Agent   10/17/2014 attaching PowerPoint
          Matthew         presentation (PILGRIMS-
    907   Koppenhaver     0002740841).
                          PowerPoint presentation titled Big
          Special Agent   Bird Deboning Overview dated on
          Matthew         or about 10/17/2014 (PILGRIMS-
    908   Koppenhaver     0002740842).
                          Email chain between Jayson Penn
                          and Bill Lovette on or about
          Special Agent   10/17/2014 attaching Word
          Matthew         document (PILGRIMS-
    909   Koppenhaver     0002740846).
                          Word document titled PPC Fresh
          Special Agent   BU 2015 Strategic Initiatives dated
          Matthew         on or about 10/14/2014
    910   Koppenhaver     (PILGRIMS-0002740847).
                          Email chain between Bill Lovette,
          Special Agent   Matthew Herman, Fabio Sandri,
          Matthew         Jayson Penn, and Mike Pierce,
    911   Koppenhaver     among others, on or about
               Case 1:20-cr-00152-PAB Document 593 Filed 10/06/21 USDC Colorado Page 60 of 240

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Exhibit         Witness           Brief Description              Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          4/4/2014 (PILGRIMS-
                          0003525239).



                          Email chain between Bill Lovette
          Special Agent   and Jayson Penn on or about
          Matthew         12/7/2014 (PILGRIMS-
    912   Koppenhaver     0003535978).
                          Email chain between Jayson Penn,
                          Sheri Garland, Jason McGuire,
          Special Agent   Tim Stiller, and others, on or about
          Matthew         9/24/2014 (PILGRIMS-
    913   Koppenhaver     0005288246).
                          Email chain between Jason
                          McGuire, Thomas Lane, Sheri
                          Garland, Bill Lovette, and Jayson
                          Penn, among others, on or about
          Special Agent   8/18/2014 attaching calendar
          Matthew         invitation (PILGRIMS-
    914   Koppenhaver     0005804080).
                          Excel spreadsheet titled SBD 2015
          Special Agent   Price Increase List dated on or
          Matthew         about 12/15/2014 (PILGRIMS-
    915   Koppenhaver     0005813126).
                          Email chain between John Curran,
          Special Agent   Jayson Penn, and Bill Lovette on
          Matthew         or about 02/24/2014 (PILGRIMS-
    916   Koppenhaver     0005853375).
                          Email chain between Bill Lovette,
                          Jayson Penn, Chad Baker, and
          Special Agent   Fabio Sandri on or about
          Matthew         03/04/2014 (PILGRIMS-
    917   Koppenhaver     0005853723).
          Special Agent
          Matthew         Email chain between Jayson Penn,
    918   Koppenhaver     Eric Oare, and Thomas Lane on or
               Case 1:20-cr-00152-PAB Document 593 Filed 10/06/21 USDC Colorado Page 61 of 240

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Exhibit         Witness            Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           about 11/28/2014 (PILGRIMS-
                           0005857917).

                           Email chain between Terri
                           Ferguson, Brent Glasgow, David
                           Blackmon, Colton T. Cuny, and
          Special Agent    Shane Likes, among others, on or
          Matthew          about 8/26/2014 (PILGRIMS-
    919   Koppenhaver      0006110030).
                           Email chain between Justin Gay,
          Special Agent    Bill Lovette, Jayson Penn, Meyer
          Matthew          Skalak, and Searcy Wildes on or
          Koppenhaver or   about 5/9/2014 (PILGRIMS-
    920   Meyer Skalak     0006742191).
                           Email chain between Jimmie Little
          Special Agent    and Jayson Penn on or about
          Matthew          8/23/2014 (PILGRIMS-
    921   Koppenhaver      0006951827).
                           Email chain between Jayson Penn,
                           Brad Sievers, and Eduardo
          Special Agent    Noronha on or about 9/3/2014
          Matthew          attaching Excel Spreadsheet
    922   Koppenhaver      (PILGRIMS-0006952107).
          Special Agent    Excel spreadsheet untitled dated on
          Matthew          or about 3/24/2014 (PILGRIMS-
    923   Koppenhaver      0006952108).
                           Email between Eric Oare, Jayson
                           Penn, and Thomas Lane on or
          Special Agent    about 11/28/2014 (PILGRIMS-
          Matthew          0006956395) attaching Excel
    924   Koppenhaver      Spreadsheet.
                           Excel spreadsheet titled 2015 Price
          Special Agent    Increase List (annualized) dated on
          Matthew          or about 11/28/2014 (PILGRIMS-
    925   Koppenhaver      0006956396).
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Exhibit         Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Email chain between Tim Stiller,
                           Robbie Bryant, Jimmie Little,
          Special Agent    Thomas Lane, and Matthew
          Matthew          Herman, among others, on or about
          Koppenhaver or   9/19/2014 (PILGRIMS-
    926   Robert Bryant    0007076668).
                           Email chain between Jimmie Little
          Special Agent    and Tim Stiller on or about
          Matthew          10/21/2015 (PILGRIMS-
    927   Koppenhaver      0007084321).
                           Email chain between Bill Lovette,
          Special Agent    Chad Baker, Tom Bell, and Keith
          Matthew          Arnold on or about 04/14/2014
    928   Koppenhaver      (PILGRIMS-0008937148).
                           Email chain between Robbie
          Special Agent    Bryant, Jason McGuire, Scott
          Matthew          Wilkins, and Sandra Taylor on or
          Koppenhaver or   about 8/28/2014 (PILGRIMS-
    929   Robert Bryant    0008990402).
                           Email between Jayson Penn and
          Special Agent    Bill Lovette on or about
          Matthew          01/18/2014 (PILGRIMS-
    930   Koppenhaver      0009064614).
                           Email chain between Kyle Bolin,
                           Jayson Penn, Bill Lovette, John
          Special Agent    Curran, and Randy Meyers, among
          Matthew          others, on or about 01/24/2014
    931   Koppenhaver      (PILGRIMS-0009064697).
                           Email chain between Bill Lovette,
          Special Agent    Fabio Sandri, and Jayson Penn on
          Matthew          or about 12/22/2014 (PILGRIMS-
    932   Koppenhaver      0009085674).
                           Email chain between Jimmie
          Special Agent    Little, Jason McGuire, Sheri
          Matthew          Garland, Jayson Penn, and Bill
    933   Koppenhaver      Lovette, among others, on or about
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Exhibit         Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          7/17/2014 (PILGRIMS-
                          0009347177).



                          Calendar invitation regarding CFA
                          and Zaxby's including Justin Gay,
                          Eric Oare, Tim Stiller, Thomas
          Special Agent   Lane, and Jason McGuire on or
          Matthew         about 6/27/2014 (PILGRIMS-
    934   Koppenhaver     0009352832).
          Special Agent   Handwritten notes written by Bill
          Matthew         Lovette (PILGRIMS-
    935   Koppenhaver     0009770456).
          Special Agent   Handwritten notes written by Bill
          Matthew         Lovette dated on or about 1/4/2013
    936   Koppenhaver     (PILGRIMS-0009770567).
                          Email chain between Tim Stiller,
                          Jimmie Little, Roger Austin, Scott
          Special Agent   Tucker, Justin Gay, and others on
          Matthew         or about 12/30/2014 (PILGRIMS-
    937   Koppenhaver     DOJ-0000395757).
                          Email between Eric Oare and
          Special Agent   Justin Gay on or about 2/6/2015
          Matthew         attaching Excel spreadsheet
    938   Koppenhaver     (PILGRIMS-DOJ-0000396719).
                          Excel spreadsheet titled SBD 2015
          Special Agent   Price Increase List (annualized)
          Matthew         undated (PILGRIMS-DOJ-
    939   Koppenhaver     0000396720).
                          Text message from Jayson Penn to
          Special Agent   Jason McGuire on or about
          Matthew         10/29/2014 (PILGRIMS-DOJ-
    940   Koppenhaver     0000484811).
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Exhibit         Witness           Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Text message from Jayson Penn to
          Special Agent   Jason McGuire on or about
          Matthew         2/12/2015 (PILGRIMS-DOJ-
    941   Koppenhaver     0000486328).
          Special Agent   Text message from Jayson Penn to
          Matthew         Bill Lovette on or about 3/4/2015
    942   Koppenhaver     (PILGRIMS-DOJ-0000486728).
                          Email chain between Jason
          Special Agent   McGuire and Thomas Lane on or
          Matthew         about 8/15/2014 (PILGRIMS-
    943   Koppenhaver     DOJ-0000513455).
                          Email chain between Jayson Penn,
          Special Agent   Brenda Ray, and Doug Schult on
          Matthew         or about 12/5/2014 (PILGRIMS-
    944   Koppenhaver     DOJ-0000513502).
                          Email between Bill Lovette, Fabio
          Special Agent   Sandri and Jayson Penn on or
          Matthew         about 12/29/2013 (PILGRIMS-
    945   Koppenhaver     DOJ-0000874812).
          Special Agent   Word document titled
          Matthew         EndOfYearStory.docx
    946   Koppenhaver     (PILGRIMS-DOJ-0000874813).
                          Email chain between Tim Stiller
          Special Agent   and Jason McGuire on or about
          Matthew         9/23/2014 (PILGRIMS-DOJ-
    947   Koppenhaver     0001362281).
                          Email chain between Jason
                          McGuire, Christi Proctor, Darren
                          Lamb, Michael Chalmers, and
          Special Agent   Nicole Bean, among others, on or
          Matthew         about 8/12/2014 (PILGRIMS-
    948   Koppenhaver     DOJ-0001532669).
                          Email chain between Paul
          Special Agent   Bracewell and Jason McGuire on
          Matthew         or about 9/5/2014 (PILGRIMS-
    949   Koppenhaver     DOJ-0001533247).
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Exhibit         Witness            Brief Description              Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Email chain between Jason
          Special Agent    McGuire and Jimmie Little on or
          Matthew          about 8/22/2014 (PILGRIMS-
    950   Koppenhaver      DOJ-0001536323).
          Special Agent    Email chain between Robbie
          Matthew          Bryant and Justin Gay on or about
          Koppenhaver or   11/19/2014 (PILGRIMS-DOJ-
    952   Robert Bryant    0001676380).
                           Email chain between Scott Tucker
          Special Agent    and Jason Slider on or about
          Matthew          8/28/2014 (PILGRIMS-DOJ-
    953   Koppenhaver      0002023481).
                           Email chain between Brenda Ray,
                           Rob Alsberg, Jayson Penn, Eric
          Special Agent    Oare, and others on or about
          Matthew          10/9/2014 (PILGRIMS-DOJ-
    954   Koppenhaver      0002415816).
                           Email chain between Lonnie
                           Justice, Tim Stiller, Jimmie Little,
          Special Agent    and Thomas Lane on or about
          Matthew          9/19/2014 (PILGRIMS-DOJ-
    955   Koppenhaver      0002525317).
                           Email chain between Jayson Penn
          Special Agent    and Eric Oare on or about
          Matthew          11/28/2014 (PILGRIMS-DOJ-
    956   Koppenhaver      0002528406).
                           Email chain between Christi
          Special Agent    Proctor and Matthew Boarman on
          Matthew          or about 10/2/2014 (PILGRIMS-
    957   Koppenhaver      DOJ-0002623632).
                           Email chain between Bill Lovette,
                           Fabio Sandri, Jayson Penn, and
          Special Agent    Sandra Taylor on or about
          Matthew          02/27/2014 (PILGRIMS-DOJ-
    958   Koppenhaver      0002730948).
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Exhibit         Witness           Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email between Brian Roberts,
                          Charlie Solomon, Steven Cullen,
                          Brandon Campbell, and Tim
          Special Agent   Mulrenin, among others, on or
          Matthew         about 9/5/2014 attaching pricing
    959   Koppenhaver     spreadsheet (TF-0003607786).
                          Excel spreadsheet titled Tyson
          Special Agent   Foods, Inc. Popeyes Cost Plus
          Matthew         Monthly Pricing dated on or about
    960   Koppenhaver     09/05/2014 (TF-0003607787).
          Special Agent   Email chain between Joey White
          Matthew         and Brad Holcomb on or about
    961   Koppenhaver     04/15/2014 (TF-0007445802).
                          Email chain between Tim
                          Mulrenin, Joey White, Amy
          Special Agent   Anschutz, and Brian Roberts on or
          Matthew         about 8/1/2014 attaching email
    962   Koppenhaver     (TF-0007447245).
                          Email chain between Carl Pepper,
          Special Agent   Tim Mulrenin, and Dean Bradley
          Matthew         on or about 10/22/2014 (TY-
    963   Koppenhaver     000140482).
                          Email chain between Tim
                          Mulrenin, Ritchey Collyar, Carl
                          Pepper, and Kent Kronauge on or
          Special Agent   about 1/14/2015 attaching Excel
          Matthew         spreadsheet and Adobe PDF (TY-
    964   Koppenhaver     000651762).
                          Email between Brian Roberts,
                          Charlie Solomon, Steven Cullen,
                          Brandon Campbell, and Tim
          Special Agent   Mulrenin, among others on or
          Matthew         about 9/5/2014 attaching Excel
    965   Koppenhaver     spreadsheet (TY-000651765).
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Exhibit         Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Excel spreadsheet titled Tyson
          Special Agent   Foods, Inc. Popeyes Cost Plus
          Matthew         Monthly Pricing 2015 Pricing
    966   Koppenhaver     Model (TY-000651766).
                          Email chain between Brian
          Special Agent   Roberts, Andy Lubert, and Nick
          Matthew         Tyler on or about 9/5/2014 (TY-
    967   Koppenhaver     000939917).
                          Email chain between Barry Barnett
          Special Agent   and Brian Roberts on or about
          Matthew         11/12/2014 attaching images (TY-
    968   Koppenhaver     000976841).
                          Email chain between Tim
                          Mulrenin, Tim Scheiderer,
          Special Agent   Brandon Campbell, and Brian
          Matthew         Roberts on or about 5/23/2014
    969   Koppenhaver     (TY-001025372).
          Special Agent   Email chain between Tim
          Matthew         Mulrenin and Tim Scheiderer on or
    970   Koppenhaver     about 5/23/2014 (TY-001025374).
                          Email chain between Tim
          Special Agent   Mulrenin, Brian Roberts, Dean
          Matthew         Bradley, and Carl Pepper on or
    971   Koppenhaver     about 7/7/2014 (TY-001457389).
          Special Agent   Email chain between Barry Barnett
          Matthew         and Brian Roberts on or about
    972   Koppenhaver     9/19/2014 (TY-001607775).
          Special Agent   Email chain between Barry Barnett
          Matthew         and Brian Roberts on or about
    973   Koppenhaver     9/20/2014 (TY-001607781).


                          Calendar invitation regarding 2015
          Special Agent   contract/volume discussions
          Matthew         including Barry Barnett, Brian
    974   Koppenhaver     Roberts, Chris Ward, Dean
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Exhibit         Witness           Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Bradley, and Kirk Waisner on or
                          about 10/8/2014 (TY-001607824).




                          Email chain between Andy Lubert,
          Special Agent   Charlie Solomon, and Brian
          Matthew         Roberts on or about 8/8/2014 (TY-
    975   Koppenhaver     005356271).
                          Calendar invitation regarding CFA
                          pricing discussion including
                          Steven Cullen, Brian Roberts, Tim
                          Mulrenin, Andy Lubert, and
          Special Agent   Charlie Solomon, among others on
          Matthew         or about 7/2/2014 (TY-
    976   Koppenhaver     005605340).
                          Email between Adriana Caviedes,
                          Greg Nelson, Bob Lewis, and
          Special Agent   Stephen Campisano, among others
          Matthew         on or about 12/9/2014
    977   Koppenhaver     (GEODOJ_0002077).
                          Email between Jessica Altman and
          Special Agent   Tim Stiller on or about 5/6/2019
          Matthew         attaching PowerPoint presentation
    978   Koppenhaver     (PILGRIMS-DOJ-0001511747).
                          PowerPoint presentation titled
          Special Agent   Price Increases dated on or about
          Matthew         5/6/2019 (PILGRIMS-DOJ-
    979   Koppenhaver     0001511748).
          Special Agent   Excerpt of Justin Gay (770-363-
          Matthew         7129) toll records (VZW-ATR001-
    980   Koppenhaver     00004200).
          Special Agent   Excerpt of Scott Brady (678-640-
          Matthew         1622) toll records (VZW-ATR004-
    981   Koppenhaver     00001257).
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Exhibit         Witness                Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
          Special Agent        Excerpt of Mikell Fries iPhone
          Matthew              Report Instant Message # 508‐511
    982   Koppenhaver          (CLAXTON_0181706).
                               Email between Robert Lewis,
          Special Agent        Mikell Fries, Scott Brady, Pete
          Matthew              Suerken, and Rich Eddington,
          Koppenhaver or Bob   among others, on or about
   1000   Lewis                08/07/2014 (CLA_0078160).
                               Email chain between Scott Brady,
          Special Agent        Mikell Fries, and Ken Hutcheson
          Matthew              on or about 8/18/2014 attaching
   1001   Koppenhaver          spreadsheet (CLA_0078169).
          Special Agent        Excel spreadsheet titled KFC Cost
          Matthew              2015 proposal with corrected sbm
   1002   Koppenhaver          (CLA_0078170).
                               Email chain between Scott Brady,
                               Robert Lewis, Mikell Fries, Pete
          Special Agent        Suerken, and Rich Eddington,
          Matthew              among others, on or about
          Koppenhaver or Bob   9/9/2014 attaching cost model
   1003   Lewis                (CLA_0078182).
          Special Agent
          Matthew              Excel spreadsheet titled KFC Cost
   1004   Koppenhaver          2015 proposal (CLA_0078184).
          Special Agent
          Matthew              Email chain between Robert Lewis
          Koppenhaver or Bob   and Scott Brady on or about
   1005   Lewis                9/4/2014 (CLA_0194351).
                               Email chain between Ric Blake,
                               Charles George, Greg Nelson,
          Special Agent        Darrel Keck, and Robert Lewis on
          Matthew              or about 7/16/2014
   1006   Koppenhaver          (GEO_0000714573).
                               Email between Robert Lewis and
          Special Agent        Darrel Keck on or about 8/19/2014
          Matthew              attaching presentation
   1007   Koppenhaver          (GEO_0000716604).
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Exhibit         Witness               Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                               PowerPoint presentation titled
          Special Agent        2015 KFC COB Strategy
          Matthew              Discussion dated on or about
   1008   Koppenhaver          8/12/2014 (GEO_0000716605).
                               Email chain between Ric Blake,
          Special Agent        Charles George, Greg Nelson,
          Matthew              Darrel Keck, and Robert Lewis on
          Koppenhaver or Bob   or about 7/17/2014
   1009   Lewis                (GEO_0000733853).
                               Email chain between Ric Blake,
          Special Agent        Charles George, Greg Nelson,
          Matthew              Darrel Keck, and Robert Lewis on
          Koppenhaver or Bob   or about 7/17/2014
   1010   Lewis                (GEO_0000733855).
                               Calendar invitation regarding KFC
                               Louisville MTG including Ric
                               Blake, Greg Nelson, Charles
          Special Agent        George, and Darrel Keck on or
          Matthew              about 8/12/2014
   1011   Koppenhaver          (GEO_0000737587).
                               Calendar invitation regarding KFC
                               Cost Plus Model & Presentation
                               Review including Darrel Keck,
          Special Agent        Charles George, Ric Blake, and
          Matthew              Judy Hall on or about 8/11/2014
   1012   Koppenhaver          (GEO_0000737732).
                               Email chain between Darrel Keck,
                               Charles George, Greg Nelson, Judy
                               Hall, and Jessica Macre on or
          Special Agent        about 8/11/2014 attaching
          Matthew              presentation and Adobe PDF
   1013   Koppenhaver          (GEO_0000737745).
                               PowerPoint presentation titled
          Special Agent        2015 KFC COB Strategy
          Matthew              Discussion dated on or about
   1014   Koppenhaver          8/12/2014 (GEO_0000737746).
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Exhibit         Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           PowerPoint presentation titled
          Special Agent    2015 KFC COB Strategy
          Matthew          Discussion dated on or about
   1015   Koppenhaver      8/12/2014 (GEO_0000737762).
                           Email chain between Greg Nelson,
                           Ric Blake, Judy Hall, Charles
          Special Agent    George, and Darrel Keck on or
          Matthew          about 10/03/2013 attaching Adobe
   1016   Koppenhaver      PDF (GEO_0000808574).
          Special Agent    Email to Ric Blake on or about
          Matthew          10/2/2014 attaching Adobe PDF
   1017   Koppenhaver      (GEODOJ_0005961).
          Special Agent    Adobe PDF untitled dated on or
          Matthew          around 9/30/2014
   1018   Koppenhaver      (GEODOJ_0005962).
          Special Agent
          Matthew          Email between Robert Lewis and
          Koppenhaver or   Bill Kantola on or about 8/7/2014
   1019   Robert Lewis     (KOCHFOODS-0000138643).
                           Email chain between Bob Lewis,
          Special Agent    Bill Kantola, Pete Suerken, Rich
          Matthew          Eddington, and Mary Hester on or
          Koppenhaver or   about 08/18/2014 (KOCHFOODS-
   1020   Robert Lewis     0000138867).
                           Email chain between Bob Lewis,
          Special Agent    Bill Kantola, Pete Suerken, Rich
          Matthew          Eddington, and Mary Hester on or
          Koppenhaver or   about 08/13/2014 (KOCHFOODS-
   1021   Robert Lewis     0000139105).
          Special Agent    Email chain between Bill Kantola
          Matthew          and Robert Lewis on or about
          Koppenhaver or   8/13/2014 (KOCHFOODS-
   1022   Robert Lewis     0000139106).
          Special Agent    Email between Bill Kantola and
          Matthew          Robert Lewis on or about
          Koppenhaver or   8/19/2014 attaching emails
   1023   Robert Lewis     (KOCHFOODS-0000227518).
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Exhibit         Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Email between Matthew Heggie
          Special Agent    and Bill Kantola on or about
          Matthew          8/15/2014 (KOCHFOODS-
   1024   Koppenhaver      0000227520).
                           Email between
                           ecopy@kochfoods.com and Bill
          Special Agent    Kantola on or about 8/19/2014
          Matthew          attaching Adobe PDF
   1025   Koppenhaver      (KOCHFOODS-0000227521).
                           Adobe PDF titled Koch Foods inc.
          Special Agent    UFPC Margin-Over-Feed
          Matthew          Calculation Worksheet RFP
   1026   Koppenhaver      (KOCHFOODS-0000227522).
                           Letter from Greg Tench to Rich
          Special Agent    Eddington on or about 8/19/2014
          Matthew          attaching cost model (MAR-
   1027   Koppenhaver      JAC_0000576757).
                           Email between Greg Tench, Rich
          Special Agent    Eddington and Bob Lewis on or
          Matthew          about 08/25/2014 attaching Excel
          Koppenhaver or   spreadsheet (MAR-
   1028   Robert Lewis     JAC_0000596412).
                           Excel spreadsheet titled UFPC
                           Cost Plus Pricing Model Supplier -
          Special Agent    Mar-Jac Poultry dated on or about
          Matthew          8/25/2014 (MAR-
   1029   Koppenhaver      JAC_0000596413).
                           Handwritten notes written by Pete
          Special Agent    Martin dated on or about
          Matthew          8/29/2014 (MAR-
   1030   Koppenhaver      JAC_0000865503).
                           Email chain between Tommy
                           Francis, Rich Eddington, Stephen
          Special Agent    Campisano, Carol Knight, and
          Matthew          Greg Tench on or about 1/16/2015
   1031   Koppenhaver      (MJPoultry-0000363288).
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Exhibit         Witness          Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email between Roger Austin,
                          Justin Gay, Jason McGuire, and
          Special Agent   Thomas Lane on or about
          Matthew         08/18/2014 (PILGRIMS-
   1032   Koppenhaver     0002616901).
                          Excel spreadsheet titled KFC
                          Pricing Model Pilgrim's Pride
          Special Agent   Corporation Current vs Actual
          Matthew         Cost dated on or about 08/18/2014
   1034   Koppenhaver     (PILGRIMS-0002616913).
                          Email between Jason McGuire and
          Special Agent   Jayson Penn on or about 8/18/2014
          Matthew         attaching spreadsheet (PILGRIMS-
   1035   Koppenhaver     0002616918).
                          Excel spreadsheet titled KFC
          Special Agent   Pricing Model Pilgrim's Pride
          Matthew         Corporation Current vs Actual
   1036   Koppenhaver     Cost (PILGRIMS-0002616919).
                          Email chain between Jason
                          McGuire, omabball@aol.com, and
          Special Agent   Jayson Penn on or about 8/19/2014
          Matthew         attaching spreadsheet (PILGRIMS-
   1037   Koppenhaver     0002616952).
                          Excel spreadsheet titled KFC
                          Pricing Model Pilgrim's Pride
          Special Agent   Corporation Current vs Actual
          Matthew         Cost undated (PILGRIMS-
   1038   Koppenhaver     0002616953).
                          Email between Roger Austin,
                          Jason McGuire, and Justin Gay on
          Special Agent   or about 8/20/2014 attaching
          Matthew         spreadsheet (PILGRIMS-
   1039   Koppenhaver     0002616954).
                          Excel spreadsheet titled KFC
          Special Agent   Pricing Model Pilgrim's Pride
          Matthew         Corporation Current vs Actual
   1040   Koppenhaver     Cost (PILGRIMS-0002616955).
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Exhibit         Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Email between Roger Austin,
                           Jason McGuire, Thomas Lane, and
          Special Agent    Justin Gay on or about 8/20/2014
          Matthew          attaching spreadsheet (PILGRIMS-
   1041   Koppenhaver      0002616956).
                           Excel spreadsheet titled KFC
                           Pricing Model Pilgrim's Pride
          Special Agent    Corporation Current vs Actual
          Matthew          Cost dated on or about 8/20/2014
   1042   Koppenhaver      (PILGRIMS-0002616957).
                           Email chain between Jason
                           McGuire, Tim Stiller, Roger
                           Austin, Robbie Bryant, and Justin
          Special Agent    Gay, among others, on or about
          Matthew          8/20/2014 attaching spreadsheet
          Koppenhaver or   and presentation (PILGRIMS-
   1043   Robert Bryant    0002616970).
                           Excel spreadsheet titled KFC
                           Pricing Model Pilgrim's Pride
          Special Agent    Corporation Current vs Actual
          Matthew          Cost dated on or about 8/20/2014
   1044   Koppenhaver      (PILGRIMS-0002616971).
          Special Agent    PowerPoint presentation untitled
          Matthew          dated on or about 8/22/2014
   1045   Koppenhaver      (PILGRIMS-0002616972).
                           Email chain between Thomas Lane
          Special Agent    and Jason McGuire on or about
          Matthew          8/15/2014 attaching spreadsheet
   1046   Koppenhaver      (PILGRIMS-0005804068).
                           Excel spreadsheet titled KFC Price
          Special Agent    Increase 14-08-15 dated on or
          Matthew          about 8/15/2014 (PILGRIMS-
   1047   Koppenhaver      0005804069).
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Exhibit         Witness           Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email between Jason McGuire and
          Special Agent   omabball@aol.com on or about
          Matthew         8/19/2014 attaching spreadsheet
   1048   Koppenhaver     (PILGRIMS-0005804106).
          Special Agent   Excel spreadsheet untitled and
          Matthew         undated (PILGRIMS-
   1049   Koppenhaver     0005804107).
                          Email chain between Jason
                          McGuire, Tim Stiller, Roger
          Special Agent   Austin, and Jayson Penn on or
          Matthew         about 8/27/2014 (PILGRIMS-
   1050   Koppenhaver     0005804256).
                          Email chain between Jayson Penn,
          Special Agent   Bill Lovette, and Roger Austin on
          Matthew         or about 8/26/2014 (PILGRIMS-
   1051   Koppenhaver     0005856142).
                          Email chain between Roger Austin
          Special Agent   and Jayson Penn on or about
          Matthew         8/26/2014 (PILGRIMS-
   1052   Koppenhaver     0005856144).
                          Excel spreadsheet titled KFC
          Special Agent   Period 13 dated on or about
          Matthew         1/4/2016 (PILGRIMS-
   1053   Koppenhaver     0006003496).
                          Email between Jason McGuire and
                          Roger Austin on or about
          Special Agent   07/31/2014 attaching PowerPoint
          Matthew         presentation (PILGRIMS-
   1054   Koppenhaver     0006847841).
          Special Agent   PowerPoint presentation untitled
          Matthew         dated on or about 07/31/2014
   1055   Koppenhaver     (PILGRIMS-0006847842).
                          Email chain between Jason
          Special Agent   McGuire and Jayson Penn on or
          Matthew         about 8/7/2014 (PILGRIMS-
   1056   Koppenhaver     0006847974).
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Exhibit         Witness              Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Email chain between Roger
                             Austin, Jason McGuire, Robbie
          Special Agent      Bryant, Scott Tucker, and Justin
          Matthew            Gay, among others on or about
          Koppenhaver or     7/11/2014 (PILGRIMS-
   1057   Robert Bryant      0006949886).
                             Email chain between Jayson Penn
          Special Agent      and Jason McGuire on or about
          Matthew            8/19/2014 (PILGRIMS-
   1058   Koppenhaver        0006951503).
                             Email chain between Jayson Penn,
                             Patrick Johnson, Chad Teer, Debra
          Special Agent      Gardner, and Neil Morris, among
          Matthew            others, on or about 10/9/2014
   1059   Koppenhaver        (PILGRIMS-0006954493).
                             Calendar invitation regarding
          Special Agent      Pilgrim's Pride Meeting including
          Matthew            Pete Suerken, Rich Eddington,
          Koppenhaver or     Robert Lewis, Robbie Bryant, and
          Robert Bryant or   others on or about 08/22/2014
   1060   Robert Lewis       (PILGRIMS-0009253407).
                             Calendar invitation regarding KFC
                             Discussion 1:15pmMDT including
                             Jayson Penn, Jason McGuire,
          Special Agent      Roger Austin, and Sheri Garland
          Matthew            on or about 8/25/2014
   1061   Koppenhaver        (PILGRIMS-0009347449).
                             Calendar invitation regarding KFC
                             pricing models including Jason
                             McGuire, Jayson Penn, Thomas
          Special Agent      Lane, Roger Austin, and Sheri
          Matthew            Garland on or about 8/15/2014
   1062   Koppenhaver        (PILGRIMS-0009357789).
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Exhibit         Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Calendar invitation regarding KFC
                           including Jayson Penn, Roger
          Special Agent    Austin, and Jason McGuire on or
          Matthew          about 8/19/2014 (PILGRIMS-
   1063   Koppenhaver      0009357820).
          Special Agent    Excel spreadsheet titled UFPC
          Matthew          Cost Plus Pricing (PILGRIMS-
   1064   Koppenhaver      DOJ-0000340587).
          Special Agent    Email between Jason McGuire and
          Matthew          Robbie Bryant on or about
          Koppenhaver or   8/21/2014 attaching email
   1065   Robert Bryant    (PILGRIMS-DOJ-0000509291).
                           Email chain between Jason
          Special Agent    McGuire, Robbie Bryant, and
          Matthew          Roger Austin on or about
          Koppenhaver or   8/21/2014 (PILGRIMS-DOJ-
   1066   Robert Bryant    0000509292).
          Special Agent    Email chain between Jason
          Matthew          McGuire and Roger Austin on or
          Koppenhaver or   about 8/20/2014 (PILGRIMS-
   1067   Robert Bryant    DOJ-0000513459).
          Special Agent    Email between Jason McGuire and
          Matthew          Jayson Penn on or about 8/18/2014
   1068   Koppenhaver      (PILGRIMS-DOJ-0000513461).
                           Email chain between Jason
                           McGuire, Roger Austin, and
          Special Agent    Thomas Lane on or about
          Matthew          8/18/2014 (PILGRIMS-DOJ-
   1069   Koppenhaver      0000513463).
                           Email chain between Thomas
                           Lane, Jason McGuire, Roger
          Special Agent    Austin, and Justin Gay on or about
          Matthew          8/18/2014 (PILGRIMS-DOJ-
   1070   Koppenhaver      0000513465).
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Exhibit         Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Email chain between Jason
                           McGuire, Thomas Lane, Sheri
          Special Agent    Garland, Jayson Penn, and Roger
          Matthew          Austin on or about 8/25/2014
   1071   Koppenhaver      (PILGRIMS-DOJ-0000513469).
                           Email between Pete Suerken,
                           Roger Austin, Todd Imhoff, and
          Special Agent    Jayson Penn on or about
          Matthew          08/04/2014 (PILGRIMS-DOJ-
   1072   Koppenhaver      0000513472).
                           Email between Pete Suerken, Todd
          Special Agent    Imhoff, Jayson Penn, and Roger
          Matthew          Austin on or about 8/2/2014
   1073   Koppenhaver      (PILGRIMS-DOJ-0000513473).
                           Email chain between Jayson Penn
          Special Agent    and Jason McGuire on or about
          Matthew          8/19/2014 (PILGRIMS-DOJ-
   1074   Koppenhaver      0000513484).
                           Email chain between Jayson Penn
          Special Agent    and Jason McGuire on or about
          Matthew          8/19/2014 (PILGRIMS-DOJ-
   1075   Koppenhaver      0000513486).
                           Email chain between Jayson Penn
          Special Agent    and Jason McGuire on or about
          Matthew          8/14/2014 (PILGRIMS-DOJ-
   1076   Koppenhaver      0000513488).
                           Email between Roger Austin,
          Special Agent    Jason McGuire, Robbie Bryant,
          Matthew          Scott Tucker, and Justin Gay on or
          Koppenhaver or   about 7/21/2014 (PILGRIMS-
   1077   Robert Bryant    DOJ-0000513541).
                           Email chain between Jason
                           McGuire, Thomas Lane, Roger
          Special Agent    Austin, and Justin Gay on or about
          Matthew          8/19/2014 (PILGRIMS-DOJ-
   1078   Koppenhaver      0000513553).
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Exhibit         Witness            Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Email from Roger Austin to
                           Robbie Bryant, Jason McGuire,
                           Thomas Lane, and Justin Gay on
          Special Agent    or about 08/20/2014 attaching
          Matthew          Excel spreadsheet and Powerpoint
          Koppenhaver or   presentation (PILGRIMS-DOJ-
   1079   Robert Bryant    0000513556).
                           Excel spreadsheet titled UFPC
          Special Agent    Cost Plus Pricing dated on or about
          Matthew          08/20/2014 (PILGRIMS-DOJ-
   1080   Koppenhaver      0000513557).
          Special Agent    PowerPoint presentation untitled
          Matthew          dated on or about 08/22/2014
   1081   Koppenhaver      (PILGRIMS-DOJ-0000513558).
                           Email chain between Roger Austin
          Special Agent    and Justin Gay on or about
          Matthew          9/2/2014 (PILGRIMS-DOJ-
   1082   Koppenhaver      0000513857).
                           Email chain between Jason
                           McGuire, Roger Austin, Thomas
          Special Agent    Lane, and Jayson Penn on or about
          Matthew          8/18/2014 (PILGRIMS-DOJ-
   1083   Koppenhaver      0001536461).
                           Email chain between Jason
          Special Agent    McGuire, Sheri Garland, and
          Matthew          Jayson Penn on or about 8/14/2015
   1084   Koppenhaver      (PILGRIMS-DOJ-0001537599).
                           Email from Roger Austin to
                           Robbie Bryant to Jason McGuire,
                           Tommy Lane, and Justin Gay on or
          Special Agent    about 08/20/2014 attaching Excel
          Matthew          spreadsheet and PowerPoint
          Koppenhaver or   presentation (PILGRIMS-DOJ-
   1085   Robert Bryant    0001537963).
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Exhibit         Witness            Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Excel spreadsheet titled UFPC
          Special Agent    Cost Plus Pricing dated on or about
          Matthew          08/20/2014 (PILGRIMS-DOJ-
   1086   Koppenhaver      0001537964).
          Special Agent    PowerPoint presentation untitled
          Matthew          dated on or about 08/22/2014
   1087   Koppenhaver      (PILGRIMS-DOJ-0001537965).
                           Email chain between Jason
          Special Agent    McGuire and Jayson Penn on or
          Matthew          about 8/19/2014 (PILGRIMS-
   1088   Koppenhaver      DOJ-0001538665).
                           Email between Roger Austin,
          Special Agent    Jason McGuire, Robbie Bryant,
          Matthew          and Justin Gay on or about
          Koppenhaver or   8/20/2014 attaching presentation
   1089   Robert Bryant    (PILGRIMS-DOJ-0001538915).
          Special Agent    Powerpoint presentation untitled
          Matthew          dated on or about 08/22/2014
   1090   Koppenhaver      (PILGRIMS-DOJ-0001538916).
          Special Agent    Email chain between Robbie
          Matthew          Bryant and Tim Stiller on or about
          Koppenhaver or   2/20/2017 (PILGRIMS-DOJ-
   1091   Robert Bryant    0002106370).
          Special Agent    Calendar invitation regarding KFC
          Matthew          Conversation Robbie including
          Koppenhaver or   Tim Stiller on or about 2/21/2017
   1092   Robert Bryant    (PILGRIMS-DOJ-0002106371).
                           Email chain between Scott Brady
          Special Agent    and Justin Gay on or about
          Matthew          8/28/2014 (PILGRIMS-DOJ-
   1093   Koppenhaver      0002131412).
          Special Agent    Calendar invitation regarding KFC
          Matthew          including Roger Austin, Thomas
          Koppenhaver or   Lane, Justin Gay, Robbie Bryan,
   1094   Robert Bryant    and Jason McGuire on or about
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Exhibit         Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           8/20/2014 (PILGRIMS-DOJ-
                           0002195583).



          Special Agent    Email from Robbie Bryant to Tim
          Matthew          Stiller on or about 6/23/2015
          Koppenhaver or   attaching a PowerPoint
   1095   Robert Bryant    (PILGRIMS-DOJ-0002541821).
                           PowerPoint presentation titled Pre
          Special Agent    Bid meeting 8 22 2014 dated on or
          Matthew          about 8/22/2014 (PILGRIMS-
   1096   Koppenhaver      DOJ-0002541822).
          Special Agent    Email chain between Roger
          Matthew          Austin, Robbie Bryant, and Jason
          Koppenhaver or   McGuire on or about 07/18/2014
   1097   Robert Bryant    (PILGRIMS-DOJ-0002728595).
                           Email between Roger Austin, Sheri
                           Garland, and Jayson Penn on or
          Special Agent    about 7/2/2014 attaching email
          Matthew          chain (PILGRIMS-DOJ-
   1098   Koppenhaver      0002731018).
                           Email chain between Roger
          Special Agent    Austin, Sheri Garland, and Jayson
          Matthew          Penn on or about 7/2/2014
   1099   Koppenhaver      (PILGRIMS-DOJ-0002731019).
                           Email chain between Jayson Penn
          Special Agent    and Bill Lovette on or about
          Matthew          4/22/2015 (PILGRIMS-DOJ-
   1100   Koppenhaver      0002732009).
                           Calendar invitation regarding KFC
                           including Roger Austin, Jason
          Special Agent    McGuire, Scott Tucker, and
          Matthew          Robbie Bryant on or about
          Koppenhaver or   5/12/2014 (PILGRIMS-DOJ-
   1101   Robert Bryant    0003914529).
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Exhibit         Witness            Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Calendar invitation regarding
          Special Agent    Follow-up KFC Discussion on or
          Matthew          about 5/14/2014 (PILGRIMS-
   1102   Koppenhaver      DOJ-0003914533).
          Special Agent    Adobe PDF untitled dated on or
          Matthew          about 08/04/2014 (PILGRIMS-
   1103   Koppenhaver      DOJ-0003961779).
                           Email chain between Roger
                           Austin, Rich Eddington, and
          Special Agent    Robert Lewis on or about
          Matthew          8/20/2014 attaching spreadsheet
          Koppenhaver or   and presentation (PILGRIMS-
   1104   Robert Lewis     DOJ-0004223342).
                           Excel spreadsheet titled UFPC
          Special Agent    Cost Plus Pricing dated on or about
          Matthew          08/20/2014 (PILGRIMS-DOJ-
   1105   Koppenhaver      0004223343).
          Special Agent    PowerPoint presentation untitled
          Matthew          dated on or about 08/22/2014
   1106   Koppenhaver      (PILGRIMS-DOJ-0004223344).
                           Email chain between Roger
                           Austin, Scott Tucker, Thomas
                           Lane, Jason McGuire, and Jason
          Special Agent    McGuire on or about 7/29/2014
          Matthew          attaching cost model (PILGRIMS-
   1107   Koppenhaver      DOJ-0004402764).
                           Excel spreadsheet titled UFPC
          Special Agent    Cost Plus Pricing Period 8 dated
          Matthew          on or about 07/29/2014
   1108   Koppenhaver      (PILGRIMS-DOJ-0004402765).
          Special Agent
          Matthew          Adobe PDF titled Expense Report
          Koppenhaver or   Info dated on or about 6/24/2021
   1109   Robert Bryant    (PILGRIMS-DOJ-0005102057).
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Exhibit         Witness             Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
          Special Agent
          Matthew           Hilton Garden Inn Louisville
          Koppenhaver or    Invoice dated on or about 8/1/2014
   1110   Robert Bryant     (PILGRIMS-DOJ-0005102059).
          Special Agent
          Matthew           Adobe PDF titled Rental Detail
          Koppenhaver or    dated on or about 8/4/2014
   1111   Robert Bryant     (PILGRIMS-DOJ-0005102062).
          Special Agent
          Matthew           Adobe PDF titled Expense Report
          Koppenhaver or    Info dated on or about 6/24/2021
   1112   Robert Bryant     (PILGRIMS-DOJ-0005102063).
          Special Agent     Hilton Garden Inn Louisville
          Matthew           invoice dated on or about
          Koppenhaver or    8/22/2014 (PILGRIMS-DOJ-
   1113   Robert Bryant     0005102064).
          Special Agent     Hilton Garden Inn Receipt for
          Matthew           Robert Bryant dated on or about
          Koppenhaver or    08/21/2014 (PILGRIMS-DOJ-
   1114   Robert Bryant     0005102079).
          Special Agent     Excel spreadsheet titled Robert
          Matthew           Bryant dated on or about January
          Koppenhaver or    2017 (PILGRIMS-DOJ-
   1115   Robert Bryant     0005102166).
          Special Agent     Excel spreadsheet titled Robert
          Matthew           Bryant dated on or about February
          Koppenhaver or    2017 (PILGRIMS-DOJ-
   1116   Robert Bryant     0005102190).
          Special Agent
          Matthew
          Koppenhaver or    SBRA dated on or about
   1117   Michael Ledford   12/30/2013 (RSCS000200).
          Special Agent
          Matthew
          Koppenhaver or    SBRA dated on or about
   1118   Michael Ledford   12/11/2014 (RSCS000209).
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Number
          Special Agent
          Matthew
          Koppenhaver or    SBRA dated on or about 9/3/2014
   1119   Michael Ledford   (RSCS000352).
          Special Agent
          Matthew
          Koppenhaver or    SBRA dated on or about 12/2/2013
   1120   Michael Ledford   (RSCS000649).
          Special Agent
          Matthew
          Koppenhaver or    SBRA dated on or about
   1121   Michael Ledford   10/20/2014 (RSCS000659).
          Special Agent
          Matthew
          Koppenhaver or    SBRA dated on or about
   1122   Michael Ledford   12/12/2013 (RSCS000950).
          Special Agent
          Matthew
          Koppenhaver or    SBRA dated on or about 12/1/2014
   1123   Michael Ledford   (RSCS000958).
          Special Agent
          Matthew
          Koppenhaver or    SBRA dated on or about 12/2/2013
   1124   Michael Ledford   (RSCS001129).
          Special Agent
          Matthew
          Koppenhaver or    SBRA dated on or about 12/1/2014
   1125   Michael Ledford   (RSCS001137).
          Special Agent
          Matthew
          Koppenhaver or    SBRA dated on or about 9/30/2014
   1126   Michael Ledford   (RSCS001577).
          Special Agent
          Matthew
          Koppenhaver or    SBRA dated on or about 9/30/2014
   1127   Michael Ledford   (RSCS002166).
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Exhibit         Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
          Special Agent    Adobe PDF titled COB
          Matthew          Negotiations Update dated on or
   1128   Koppenhaver      about 9/15/2014 (RSCS002699).
          Special Agent    Adobe PDF titled Margin-Over-
          Matthew          Feed Model dated Period 1 2014
   1129   Koppenhaver      (RSCS004325).
          Special Agent    Adobe PDF titled Fresh Poultry
          Matthew          Pricing Sheet undated
   1130   Koppenhaver      (RSCS005490).
                           Email chain between Scott
          Special Agent    Worthington and Rich Eddington
          Matthew          on or about 1/6/2015
   1131   Koppenhaver      (RSCS020854).
                           Email chain between Scott Brady,
          Special Agent    Robert Lewis, Rich Eddington,
          Matthew          Mary Hester, and Mikell Fries on
          Koppenhaver or   or about 8/19/2014 attaching
   1132   Robert Lewis     spreadsheet (RSCS022047).
          Special Agent
          Matthew          Excel spreadsheet titled KFC Cost
   1133   Koppenhaver      2015 proposal (RSCS022049).
                           Email between Robert Lewis, Pete
          Special Agent    Suerken, Rich Eddington, Mary
          Matthew          Hester, and Mitch Mitchell, among
          Koppenhaver or   others, on or about 08/07/2014
   1134   Robert Lewis     (RSCS022074).
          Special Agent    Email between Robert Lewis, Pete
          Matthew          Suerken, Rich Eddington, Mary
          Koppenhaver or   Hester, and Bill Kantola on or
   1135   Robert Lewis     about 08/07/2014 (RSCS022081).
                           Email between Robert Lewis,
          Special Agent    Mary Hester, Rich Eddington, Pete
          Matthew          Suerken, Pete Martin, and Greg
          Koppenhaver or   Tench on or about 8/7/2014
   1136   Robert Lewis     (RSCS022086).
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Number
                           Email between Robert Lewis,
          Special Agent    Mikell Fries, Pete Suerken, Mary
          Matthew          Hester, Rich Eddington, and Scott
          Koppenhaver or   Brady on or about 8/7/2014
   1137   Robert Lewis     (RSCS022094).
          Special Agent    Email between Robert Lewis, Pete
          Matthew          Suerken, Rich Eddington, Mary
          Koppenhaver or   Hester, and Brian Roberts on or
   1138   Robert Lewis     about 8/7/2014 (RSCS022101).
          Special Agent
          Matthew          Email between Robert Lewis and
          Koppenhaver or   Roger Austin or or about 8/7/2014
   1139   Robert Lewis     (RSCS022105).
          Special Agent    Handwritten notes written by Pete
          Matthew          Martin dated on or about
   1140   Koppenhaver      8/29/2014 (TE-0000033075).
          Special Agent    Handwritten notes written by Pete
          Matthew          Martin on or about 8/5/13 (TE-
   1141   Koppenhaver      0000033076).
                           Email chain between Brian
                           Roberts, Steven Cullen, Charlie
                           Solomon, Tim Mulrenin, and
          Special Agent    Brandon Campbell on or about
          Matthew          9/5/2014 attaching spreadsheet
   1142   Koppenhaver      (TF-0003607790).
                           Excel spreadsheet titled KFC
          Special Agent    Formula Based Cost Model dated
          Matthew          on or about 09/05/2014 (TF-
   1143   Koppenhaver      0003607792).
                           Email chain between Brian
                           Roberts, Tim Mulrenin, Mark
          Special Agent    Milbrodt, Carl Pepper, and Rich
          Matthew          Eddington on or about 8/12/2014
   1144   Koppenhaver      (TY-000133607).
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Number
                          Email between Brian Roberts and
          Special Agent   Rich Eddington on or about
          Matthew         8/22/2014 attaching spreadsheet
   1145   Koppenhaver     (TY-000637803).
                          Excel spreadsheet titled KFC
          Special Agent   Formula Based Cost Model Tyson
          Matthew         Foods - Period 7 2014 (TY-
   1146   Koppenhaver     000637804).
                          Calendar invitation regarding
                          SCVA Pricing Discussion
                          including Andy Lubert, Brian
                          Roberts, Charlie Solomon, Steven
          Special Agent   Cullen, and Brandon Campbell,
          Matthew         among others, on or about
   1147   Koppenhaver     8/20/2014 (TY-000937507).
                          Calendar invitation regarding
                          Accepted: Discuss Church's/KFC
                          Dark Meat Pricing including Brian
          Special Agent   Roberts and Brandon Campbell on
          Matthew         or about 8/11/2014 (TY-
   1148   Koppenhaver     000937528).
                          Calendar invitation regarding
                          Accepted: Discuss Church's/KFC
                          Dark Meat Pricing including
          Special Agent   Brandon Campbell and Brian
          Matthew         Roberts on or about 8/11/2014
   1149   Koppenhaver     (TY-000937529).
                          Calendar invitation regarding
                          Discuss KFC including Brian
                          Roberts, Charlie Solomon,
                          Brandon Campbell, Tim Mulrenin,
          Special Agent   and Steven Cullen, among others,
          Matthew         on or about 9/5/2014 (TY-
   1150   Koppenhaver     000937592).
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Number
                          Calendar invitation including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Tim Scheiderer,
          Special Agent   and Tim Mulrenin, among others,
          Matthew         on or about 9/3/2014 (TY-
   1151   Koppenhaver     000937611).
                          Calendar invitation regarding KFC
                          negotiations including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Tim Scheiderer,
          Special Agent   and Tim Mulrenin, among others,
          Matthew         on or about 9/3/2014 (TY-
   1152   Koppenhaver     000937643).
                          Calendar invitation regarding
                          Regroup on KFC, Church's,
                          Popeye's Contracts including
          Special Agent   Steven Cullen, Brian Roberts, and
          Matthew         Charlie Solomon on or about
   1153   Koppenhaver     9/3/2014 (TY-000937717).
                          Calendar invitation regarding
                          Canceled: regroup on KFC,
                          Church's, Popeye's Contracts
          Special Agent   including Brian Roberts, Charlie
          Matthew         Solomon, and Steven Cullen on or
   1154   Koppenhaver     about 9/3/2014 (TY-000937718).
          Special Agent   Email between Robert Lewis and
          Matthew         Brian Roberts on or about
   1155   Koppenhaver     7/10/2014 (TY-000938394).
          Special Agent   Email chain between Brian Roberts
          Matthew         and Robert Lewis on or about
   1156   Koppenhaver     7/31/2014 (TY-000938798).
                          Email between Bob Lewis, Brian
                          Roberts, Pete Suerken, Rich
          Special Agent   Eddington, and Mary Hester on or
          Matthew         about 08/07/2014 (TY-
   1157   Koppenhaver     000939020).
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Exhibit         Witness           Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Rich
          Special Agent   Eddington and Brian Roberts on or
          Matthew         about 8/11/2014 attaching Excel
   1158   Koppenhaver     spreadsheet (TY-000939173).
                          Email chain between Pete Suerken,
          Special Agent   Brian Roberts, and Rich Eddington
          Matthew         on or about 8/25/2014 (TY-
   1159   Koppenhaver     000939602).
                          Email between Robert Lewis,
                          Mikell Fries, Scott Brady, Pete
          Special Agent   Martin, Greg Tench, and Brian
          Matthew         Roberts, among others, on or about
   1160   Koppenhaver     8/29/2014 (TY-000939742).
          Special Agent   Email from Robert Lewis to Brian
          Matthew         Roberts dated on or about
   1161   Koppenhaver     12/31/2014 (TY-000943293).
                          Email between Tyson Travel and
          Special Agent   Transport, Brian Roberts, and Terri
          Matthew         Sherman on or about 7/25/2014
   1162   Koppenhaver     (TY-000956181).
                          Email between Brian Roberts and
          Special Agent   Robert Lewis on or about
          Matthew         7/10/2014 attaching presentation
   1163   Koppenhaver     and spreadsheet (TY-000973763).
                          PowerPoint presentation titled
          Special Agent   KFC 8 Piece Formulation
          Matthew         Discussion undated (TY-
   1164   Koppenhaver     000973764).
                          Excel spreadsheet titled KFC
                          Formula Based Cost Model Tyson
          Special Agent   Foods - Period 7 2014 dated on or
          Matthew         about 07/10/2014 (TY-
   1165   Koppenhaver     000973765).
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Exhibit         Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Email between Brian Roberts and
          Special Agent    Peter Suerken on or about 9/4/2014
          Matthew          attaching spreadsheet (TY-
   1166   Koppenhaver      000974491).
                           Excel spreadsheet titled KFC
          Special Agent    Formula Based Cost Model dated
          Matthew          on or about 9/4/2014 (TY-
   1167   Koppenhaver      000974492).
                           Email chain between Pete Suerken,
                           Brian Roberts, Rich Eddington,
          Special Agent    and Robert Lewis on or about
          Matthew          9/4/2014 attaching spreadsheet
   1168   Koppenhaver      (TY-000974493).
                           Excel spreadsheet titled KFC
          Special Agent    Formula Based Cost Model dated
          Matthew          on or about 9/4/2014 (TY-
   1169   Koppenhaver      000974494).
          Special Agent    Email between Robert Lewis and
          Matthew          Brian Roberts on or about
          Koppenhaver or   9/24/2014 attaching Excel
   1170   Robert Lewis     spreadsheet (TY-000974801).
          Special Agent    Excel spreadsheet titled Tyson
          Matthew          Food Cost / Margin Comparison
   1171   Koppenhaver      undated (TY-000974802).
                           Email chain between Tim
          Special Agent    Scheiderer, Tim Mulrenin, and
          Matthew          Brandon Campbell on or about
   1172   Koppenhaver      6/10/2014 (TY-001027017).
                           Calendar invitation regarding
                           KFC/CFA Planning Discussion
                           including Tim Mulrenin, Brian
          Special Agent    Roberts, Jared Mitchell, and Mark
          Matthew          Milbrodt on or about 7/7/2014
   1173   Koppenhaver      (TY-001034190).
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Exhibit         Witness           Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Brian
          Special Agent   Roberts, Tim Mulrenin, Pete
          Matthew         Suerken, and Rich Eddington on or
   1174   Koppenhaver     about 8/25/2014 (TY-001036220).
                          Email chain between Tim
          Special Agent   Mulrenin and Rich Eddington on
          Matthew         or about 8/15/2014 (TY-
   1175   Koppenhaver     001037234).
                          Calendar invitation regarding KFC
                          Negotiations including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Tim Scheiderer,
          Special Agent   and Tim Mulrenin, among others,
          Matthew         on or about 9/3/2014 (TY-
   1176   Koppenhaver     001037810).
          Special Agent   Email from Tim Mulrenin to
          Matthew         himself on or about 8/5/2014 (TY-
   1177   Koppenhaver     001038031).
                          Calendar invitation including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Tim Scheiderer,
          Special Agent   and Tim Mulrenin, among others,
          Matthew         on or about 9/3/2014 (TY-
   1178   Koppenhaver     001038605).
                          Calendar invitation including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Tim Scheiderer,
          Special Agent   and Tim Mulrenin, among others,
          Matthew         on or about 9/3/2014 (TY-
   1179   Koppenhaver     001039426).
                          Calendar invitation including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Tim Scheiderer,
          Special Agent   and Tim Mulrenin, among others,
          Matthew         on or about 9/3/2014 (TY-
   1180   Koppenhaver     001040790).
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Exhibit         Witness           Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Calendar invitation including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Tim Scheiderer,
          Special Agent   and Tim Mulrenin, among others,
          Matthew         on or about 9/3/2014 (TY-
   1181   Koppenhaver     001041571).
                          Email chain between Tim
                          Mulrenin, Brian Roberts, and Mark
          Special Agent   Milbrodt on or about 6/27/2014
          Matthew         attaching presentation and
   1182   Koppenhaver     spreadsheet (TY-001223696).
                          PowerPoint presentation titled
          Special Agent   KFC Piece Formulation Discussion
          Matthew         dated on or about June 2014 (TY-
   1183   Koppenhaver     001223697).
                          Excel spreadsheet titled RSCS
          Special Agent   Cost Plus Feed Calculation
          Matthew         Supplier Tyson Foods, Inc undated
   1184   Koppenhaver     (TY-001223698).
                          Email between Mark Milbrodt,
                          Brian Roberts, and Tim Mulrenin
          Special Agent   on or about 8/8/2014 attaching
          Matthew         spreadsheet and presentation (TY-
   1185   Koppenhaver     001225415).
                          PowerPoint presentation titled
          Special Agent   KFC 8 Piece Formulation
          Matthew         Discussion dated on or about June
   1186   Koppenhaver     2014 (TY-001225417).
                          Email between Tim Mulrenin and
          Special Agent   Tim Scheiderer on or about
          Matthew         8/15/2014 attaching spreadsheet
   1187   Koppenhaver     (TY-001226117).
          Special Agent   Excel spreadsheet titled KFC 2'8-
          Matthew         2'12 Marinated Model (25119-
   1188   Koppenhaver     928)8-6xlsx (TY-001226118).
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Exhibit         Witness            Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Email chain between Tim
                           Mulrenin, Brian Roberts, and
          Special Agent    Brandon Campbell on or about
          Matthew          8/22/2014 attaching spreadsheet
   1189   Koppenhaver      (TY-001228184).
                           Email between Brian Roberts, Tim
          Special Agent    Mulrenin, and Rich Eddington on
          Matthew          or about 8/11/2014 attaching
   1190   Koppenhaver      spreadsheet (TY-001230900).
          Special Agent    Excel spreadsheet titled KFC 2'8-
          Matthew          2'12 Marinated Model (TY-
   1191   Koppenhaver      001230901).
                           Calendar invitation regarding COB
          Special Agent    Tyson including Pete Suerken and
          Matthew          Brian Roberts on or about 9/3/2014
   1192   Koppenhaver      (TY-001614926).
                           Calendar invitation regarding COB
          Special Agent    Tyson including Pete Suerken and
          Matthew          Brian Roberts on or about 9/3/2014
   1193   Koppenhaver      (TY-001614943).
          Special Agent
          Matthew          Email chain between Brian Roberts
          Koppenhaver or   and Robert Lewis on or about
   1194   Robert Lewis     11/4/2014 (TY-001615945).
                           Calendar invitation including Brian
                           Roberts, Brandon Campbell,
                           Steven Cullen, Charlie Solomon,
          Special Agent    and Tim Mulrenin, among others,
          Matthew          on or about 9/3/2014 (TY-
   1195   Koppenhaver      002611801).
                           Calendar invitation including Brian
                           Roberts, Brandon Campbell,
                           Steven Cullen, Charlie Solomon,
          Special Agent    and Tim Mulrenin, among others
          Matthew          on or about 9/3/2014 (TY-
   1196   Koppenhaver      002611825).
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Exhibit         Witness           Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Calendar invitation including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Charlie Solomon,
          Special Agent   and Tim Mulrenin, among others,
          Matthew         on or about 9/3/2014 (TY-
   1197   Koppenhaver     002612827).
                          Calendar invitation including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Charlie Solomon,
          Special Agent   and Tim Mulrenin, among others,
          Matthew         on or about 9/3/2014 (TY-
   1198   Koppenhaver     002612828).
                          Calendar invitation including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Charlie Solomon,
          Special Agent   and Tim Mulrenin, among others,
          Matthew         on or about 9/3/2014 (TY-
   1199   Koppenhaver     002614019).
                          Calendar invitation including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Charlie Solomon,
          Special Agent   and Tim Mulrenin, among others,
          Matthew         on or about 9/3/2014 (TY-
   1200   Koppenhaver     002614052).
                          Calendar invitation regarding
                          Canceled: Regroup on KFC,
                          Church's, Popeye's Contracts
          Special Agent   including Steven Cullen, Patty
          Matthew         Richardson, and Shirley Fain on or
   1201   Koppenhaver     about 9/3/2014 (TY-003658034).
                          Calendar invitation including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Charlie Solomon,
          Special Agent   and Tim Mulrenin, among others,
          Matthew         on or about 9/3/2014 (TY-
   1202   Koppenhaver     003658043).
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Number
                          Calendar invitation regarding
                          Regroup on KFC, Church's,
                          Popeye's Contracts including
          Special Agent   Steven Cullen, Brian Roberts, and
          Matthew         Charlie Solomon on or about
   1203   Koppenhaver     9/3/2014 (TY-003658793).
                          Calendar invitation regarding
                          Canceled: Regroup on KFC,
                          Church's, Popeye's Contracts
                          including Steven Cullen, Brian
          Special Agent   Roberts, and Charlie Solomon on
          Matthew         or about 9/3/2014 (TY-
   1204   Koppenhaver     003658794).
                          Calendar invitation regarding
                          Regroup on KFC, Church's,
                          Popeye's Contracts including
          Special Agent   Steven Cullen, Patty Richardson,
          Matthew         and Shirley Fain on or about
   1205   Koppenhaver     9/3/2014 (TY-003658800).
                          Calendar invitation including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Charlie Solomon,
          Special Agent   and Tim Mulrenin, among others,
          Matthew         on or about 9/3/2014 (TY-
   1206   Koppenhaver     003658801).
                          Calendar invitation regarding
                          Regroup on KFC, Church's,
                          Popeye's Contracts including
          Special Agent   Steven Cullen, Brian Roberts, and
          Matthew         Charlie Solomon on or about
   1207   Koppenhaver     9/3/2014 (TY-003659241).

                          Calendar invitation regarding
                          Canceled: Regroup on KFC,
          Special Agent   Church's, Popeye's Contracts
          Matthew         including Steven Cullen, Brian
   1208   Koppenhaver     Roberts, and Charlie Solomon on
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Exhibit         Witness           Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          or about 9/3/2014 (TY-
                          003659242).




                          Calendar invitation regarding
                          Canceled: Regroup on KFC,
                          Church's Popeye's Contracts
                          including Steven Cullen, Brian
          Special Agent   Roberts, Charlie Solomon, Patty
          Matthew         Richardson, and Shirley Fain on or
   1209   Koppenhaver     about 9/3/2014 (TY-003659283).
                          Calendar invitation including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Charlie Solomon,
          Special Agent   and Tim Mulrenin, among others
          Matthew         on or about 9/3/2014 (TY-
   1210   Koppenhaver     003659775).
                          Calendar invitation regarding
                          Regroup on KFC, Church's,
                          Popeye's Contracts including
          Special Agent   Steven Cullen, Patty Richardson,
          Matthew         and Shirley Fain on or about
   1211   Koppenhaver     9/3/2014 (TY-003659962).
                          Calendar invitation including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Charlie Solomon,
          Special Agent   and Tim Mulrenin, among others
          Matthew         on or about 9/3/2014 (TY-
   1212   Koppenhaver     003659963).
                          Calendar invitation regarding
                          Canceled: Regroup on KFC,
          Special Agent   Church's, Popeye's Contracts
          Matthew         including Steven Cullen, Brian
   1213   Koppenhaver     Roberts, Charlie Solomon, Patty
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Number
                          Richardson, and Fain Shirley on or
                          about 9/3/2014 (TY-003660187).




                          Calendar invitation regarding KFC
                          negotiation discussion including
                          Tim Mulrenin, Brandon Campbell,
                          Steven Cullen, Charlie Solomon,
          Special Agent   and Tim Scheiderer, among others,
          Matthew         on or about 9/3/2014 (TY-
   1214   Koppenhaver     003660234).
                          Calendar invitation regarding
                          Regroup on KFC, Church's,
                          Popeye's Contracts including
          Special Agent   Steven Cullen, Patty Richardson,
          Matthew         and Shirley Fain on or about
   1215   Koppenhaver     9/3/2014 (TY-003661684).
                          Calendar invitation including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Charlie Solomon,
          Special Agent   and Tim Mulrenin, among others,
          Matthew         on or about 9/3/2014 (TY-
   1216   Koppenhaver     003661685).
                          Calendar invitation including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Charlie Solomon,
          Special Agent   and Tim Mulrenin, among others,
          Matthew         on or about 9/3/2014 (TY-
   1217   Koppenhaver     004600697).
                          Calendar invitation including Brian
                          Roberts, Brandon Campbell,
                          Steven Cullen, Charlie Solomon,
          Special Agent   and Tim Mulrenin, among others,
          Matthew         on or about 9/3/2014 (TY-
   1218   Koppenhaver     004600866).
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Number
                           Calendar invitation including Brian
                           Roberts, Brandon Campbell,
                           Steven Cullen, Charlie Solomon,
          Special Agent    and Tim Mulrenin, among others,
          Matthew          on or about 9/3/2014 (TY-
   1219   Koppenhaver      004600867).
                           Calendar invitation including Brian
                           Roberts, Brandon Campbell,
                           Steven Cullen, Charlie Solomon,
          Special Agent    and Tim Mulrenin, among others,
          Matthew          on or about 9/3/2014 (TY-
   1220   Koppenhaver      004601236).
                           Email chain between Ric Blake,
          Special Agent    Greg Nelson, Judy Hall, Charles
          Matthew          George, Darrel Keck, and Robert
          Koppenhaver or   Lewis on or about 08/12/2014
   1221   Robert Lewis     (GEO_0000714738).
          Special Agent    File of and handwritten notes
          Matthew          written by Ric Blake
   1222   Koppenhaver      (GEODOJ_0583959).
                           Email chain between Jason
          Special Agent    McGuire and Roger Austin on or
          Matthew          about 8/20/2014 (PILGRIMS-
   1223   Koppenhaver      DOJ-0001537973).
          Special Agent    Adobe PDF titled Period 9, 2014
          Matthew          Margin Over Feed Pricing
   1224   Koppenhaver      Summary (RSCS004646).
                           Email chain between Roger Austin
          Special Agent    and Lonnie Justice on or about
          Matthew          8/12/2015 attaching spreadsheet
   1225   Koppenhaver      (PILGRIMS-0002934832).
          Special Agent    Addendum to Pilgrim's Pride
          Matthew          SBRA dated on or about 9/30/2014
   1226   Koppenhaver      (PILGRIMS-0005856748).
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Exhibit         Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
          Special Agent    Email between Jason McGuire and
          Matthew          Jayson Penn on or about 8/18/2014
   1227   Koppenhaver      (PILGRIMS-DOJ-0001527537).
                           Email chain between Jason
          Special Agent    McGuire, Jayson Penn, and Roger
          Matthew          Austin on or about 8/18/2014
   1228   Koppenhaver      (PILGRIMS-DOJ-0001527538).
          Special Agent    Email chain between Jason
          Matthew          McGuire, John Curran, and Robbie
          Koppenhaver or   Bryant on or about 7/23/2014
   1229   Robert Bryant    (PILGRIMS-0006847725).
                           Email chain between Jason
          Special Agent    McGuire, Justin Gay, Larry
          Matthew          Higdem, and Robbie Bryant on or
          Koppenhaver or   about 7/23/2014 (PILGRIMS-
   1230   Robert Bryant    DOJ-0005114755).
          Special Agent    Excerpt of Brian Roberts ((770)
          Matthew          597-5779) toll records (ATT-
   1231   Koppenhaver      ATR006-00009097).
          Special Agent    Excerpt Scott Brady (678-640-
          Matthew          1622) toll records (VZW-ATR001-
   1232   Koppenhaver      00001257).
          Special Agent    Excerpt of Jimmie Little ((214)
          Matthew          755-6081) toll records (ATT-
   1233   Koppenhaver      ATR001-00000001).
          Special Agent
          Matthew          Excerpt of Carl Pepper ((479) 879-
   1234   Koppenhaver      2092 (ATT-ATR001-00000001).
          Special Agent    Excerpt of Jimmie Little ((214)
          Matthew          755-6081) toll records (ATT-
   1235   Koppenhaver      ATR001-00000001).
          Special Agent    Excerpt of Roger Austin (770-842-
          Matthew          9379) toll records (VZW-ATR001-
   1236   Koppenhaver      00009436).
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Exhibit         Witness              Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
          Special Agent      Excerpt of Roger Austin (770-842-
          Matthew            9379) toll records (VZW-ATR001-
   1237   Koppenhaver        00009436).
          Special Agent      Excerpt of Mikell Fries iPhone
          Matthew            Report Instant Message # 551-559
   1238   Koppenhaver        (CLAXTON_0181706).
          Special Agent      Excerpt of Scott Brady ((256) 536-
          Matthew            6120) toll records (ATT-ATR005-
   1239   Koppenhaver        00000235).
          Special Agent      Excerpt of Mikell Fries (912-614-
          Matthew            6833) toll records (VZW-ATR001-
   1240   Koppenhaver        00002007).
          Special Agent      Excerpt Scott Brady (678-640-
          Matthew            1622) toll records (VZW-ATR001-
   1241   Koppenhaver        00001257).
                             Adobe PDF titled Exhibit 1 dated
          Special Agent      12/13/2012
   1401   LaNard Taylor      (CASEFOODS0000093797).
                             Email chain between Mike
          Special Agent      Ledford, Scott Brady, and Mark
          LaNard Taylor or   Oechsli on or about 12/03/2012
   1402   Michael Ledford    (CLA_0191959).
                             Email chain between Scott Brady,
          Special Agent      Mark Oeschli, and Mike Ledford
          LaNard Taylor or   on or about 12/3/2012 attaching
   1403   Michael Ledford    spreadsheet (CLA_0191961).
                             Excel spreadsheet titled Copy of
          Special Agent      KFC Cost 2013 BID dated on or
   1404   LaNard Taylor      about 10/8/2012 (CLA_0191962).
                             Email chain between Mike
                             Ledford, Mary Hester, Mark
          Special Agent      Oechsli, and Darrel Keck on or
          LaNard Taylor or   about 11/7/2012
   1405   Michael Ledford    (GEODOJ_0225768).
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Number
                          Email from Mark Oechsli to Ric
                          Blake and Darrel Keck on or about
          Special Agent   10/10/2012 attaching Excel
   1406   LaNard Taylor   spreadsheet (GEODOJ_0579330).
                          Excel spreadsheet titled UFPC
          Special Agent   Feed Flow Through Pricing
   1407   LaNard Taylor   (GEODOJ_0579331).
                          Excel spreadsheet title KFC
                          Poultry Request For Information
          Special Agent   dated on or about 1/13/2012
   1408   LaNard Taylor   (GEODOJ_0637070).
                          Email chain between Bruce
                          MacKenzie, Bill Kantola, Bo
                          Wright, and Lance Buckert on or
          Special Agent   about 10/10/2012
   1409   LaNard Taylor   (KOCH_0002060716).
                          Email from Bruce MacKenzie to
                          Mark Oechsli on or about
                          10/10/2012 attaching Excel
          Special Agent   spreadsheet (KOCHFOODS-
   1410   LaNard Taylor   0000561602).
                          Excel spreadsheet titled Fresh 2013
                          ufpc monthly cost model rfp dated
          Special Agent   on or about 10/10/2012
   1411   LaNard Taylor   (KOCHFOODS-0000561603).
                          Email between Bruce MacKenzie
                          and Mary Hester on or about
          Special Agent   12/17/2012 attaching Adobe PDF
   1412   LaNard Taylor   (KOCHFOODS-0000562838).
                          Fax from Bruce MacKenzie to
                          Mary Hester dated on or about
                          12/17/2012 attaching 8-Piece COB
          Special Agent   Pricing Model (KOCHFOODS-
   1413   LaNard Taylor   0000562839).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Excel spreadsheet titled Koch
                          Foods Inc. UFPC Margin-Over-
                          Feed Calculation Worksheet RFP
          Special Agent   dated on or about 11/14/2012
   1414   LaNard Taylor   (KOCHFOODS-0000652943).
                          Email between Bill Kantola and
                          Bruce MacKenzie on or about
          Special Agent   11/12/2012 attaching spreadsheet
   1415   LaNard Taylor   (KOCHFOODS-0000652945).
                          Excel spreadsheet titled 2013 ufpc
                          monthly cost model rfp - final
          Special Agent   dated on or about 11/12/2012
   1416   LaNard Taylor   (KOCHFOODS-0000652946).
                          Email chain between Bill Kantola
                          and Bruce MacKenzie on or about
          Special Agent   11/20/2012 attaching spreadsheet
   1417   LaNard Taylor   (KOCHFOODS-0000652947).
                          Email from Greg Tench on or
          Special Agent   about 12/14/2012 attaching Adobe
   1418   LaNard Taylor   PDF (MAR-JAC_0000565442).
                          Adobe PDF titled Exhibit 1 dated
          Special Agent   12/13/2013 (MAR-
   1419   LaNard Taylor   JAC_0000565443).
                          Email between Roger Austin and
                          Mark Oechsli on or about
          Special Agent   12/4/2012 (PILGRIMS-
   1420   LaNard Taylor   0005253004).
                          Excel spreadsheet titled FOB
          Special Agent   Summary (PILGRIMS-
   1421   LaNard Taylor   0005253005).
                          Excel spreadsheet titled UFPC
          Special Agent   Cost Plus Pricing (PILGRIMS-
   1422   LaNard Taylor   0005253006).

          Special Agent   Email chain between Tim
   1423   LaNard Taylor   Scheiderer, Tim Mulrenin, Brian
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Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Roberts, and others on or about
                          12/14/2012 (TY-000579529).


          Special Agent   Adobe PDF titled Exhibit 1 dated
   1424   LaNard Taylor   12/12/2013 (TY-000579530).
                          Excerpt of Ric Blake (479) 927-
          Special Agent   7270 toll records (ATT-ATR004-
   1425   LaNard Taylor   00000010).
                          Excerpt of Scott Brady (678-640-
          Special Agent   1622) toll records (VZW-ATR001-
   1426   LaNard Taylor   00001257).
                          Excerpt of Mikell Fries iPhone
          Special Agent   Report Instant Message # 58‐65
   1427   LaNard Taylor   (CLAXTON_0181706).
                          Excerpt of Roger Austin (770-842-
          Special Agent   9379) toll records (VZW-ATR001-
   1428   LaNard Taylor   00009436).
                          Excerpt of Ric Blake ((479) 236-
          Special Agent   2020) toll records (ATT-ATR001-
   1429   LaNard Taylor   00000001).
                          Excerpt of Ric Blake ((479) 927-
          Special Agent   7270) toll records (ATT-ATR004-
   1430   LaNard Taylor   00000010).
                          Excerpt of Ric Blake ((479) 236-
          Special Agent   2020) toll records (ATT-ATR001-
   1431   LaNard Taylor   00000001).
                          Excerpt of William Kantola ((770)
          Special Agent   329-7505) toll records (ATT-
   1432   LaNard Taylor   ATR001-00000001).
                          Excel spreadsheet titled
          Special Agent   Attachment_1-FOB Summary
   1501   LaNard Taylor   undated (CLA_0078001).
                          Email chain between Scott Brady,
                          Mikell Fries, Susan Quinlan, and
          Special Agent   Stephen Campisano, on or about
   1502   LaNard Taylor   8/13/2013 (CLA_0078019).
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Exhibit        Witness           Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
          Special Agent   Adobe PDF titled EXHIBIT 1
   1503   LaNard Taylor   dated 12/13/2012 (CLA_078020).
                          Calendar invitation regarding
                          Copy: Claxton - Negotiation Call
          Special Agent   dated on or about 11/28/2012
   1504   LaNard Taylor   (CLA_0081132).
                          Email chain between Scott Brady
                          and Mark Oechsli on or about
          Special Agent   10/09/2012 attaching cost model
   1505   LaNard Taylor   (CLA_0191549).
                          Excel spreadsheet titled UFPC
                          Feed Flow Through Pricing For
                          Period 1 2013 KFC Bid dated on
          Special Agent   or about 10/9/2012
   1506   LaNard Taylor   (CLA_0191550).
                          Email between Scott Brady and
          Special Agent   Mikell Fries on or about
   1507   LaNard Taylor   10/22/2012 (CLA_0191582).
                          Adobe PDF titled EXHIBIT 1 8-
                          PIECE COB PRICING MODEL
          Special Agent   dated on or about 12/13/2012
   1508   LaNard Taylor   (CLA_0192748).
                          Excel spreadsheet titled RFI:
                          Request for Information From
          Special Agent   UFPC (Round 2) dated on or about
   1509   LaNard Taylor   11/4/2013 (CLAXTON_0012420).
                          Email chain between Charles
                          George, Ric Blake, and Darrel
                          Keck on or about 11/8/2012
          Special Agent   attaching handwritten notes
   1510   LaNard Taylor   (GEO_0000528203).
                          Handwritten notes written by
          Special Agent   Darrel Keck dated on or about
   1511   LaNard Taylor   11/8/2012 (GEO_0000528204).
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Exhibit         Witness              Brief Description          Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Email chain between Jason
                             Middlecamp, Darrel Keck, and
                             Mark Oechsli on or about
          Special Agent      10/10/2012 attaching cost model
   1512   LaNard Taylor      (GEO_0000808862).
                             Excel spreadsheet titled UFPC
                             Feed Flow Through Pricing dated
          Special Agent      on or about 10/10/2012
   1513   LaNard Taylor      (GEO_0000808863).
                             Email between Ric Blake, Mike
          Special Agent      Ledford, and Darrel Keck on or
          LaNard Taylor or   about 12/17/2012 attaching Adobe
   1514   Michael Ledford    PDF (GEO_0000832907).
                             Adobe PDF titled EXHIBIT1
          Special Agent      dated 12/7/2011
   1515   LaNard Taylor      (GEO_0000832908).
                             Email chain between Charles
                             George, Ric Blake, Darrel Keck,
                             Mike Ledford, Mary Hester, and
          Special Agent      others on or about 12/14/2012
          LaNard Taylor or   attaching Excel spreadsheets
   1516   Michael Ledford    (GEO_0001411447).
                             Excel spreadsheet titled FOB
          Special Agent      SUMMARY dated on or about
   1517   LaNard Taylor      12/3/2012 (GEO_0001411448).
                             Excel spreadsheet titled UFPC
                             Feed Flow Through Pricing dated
          Special Agent      on or about 12/3/2012
   1518   LaNard Taylor      (GEO_0001411449).
                             Email between Bruce MacKenzie
          Special Agent      and Joe Grendys on or about
   1519   LaNard Taylor      11/5/2012 (KOCH_0001206873).
                             Email chain between Lance
          Special Agent      Buckert, Bruce MacKenzie, Bo
   1520   LaNard Taylor      Wright, and Bill Kantola on or
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          about 10/10/2012 (KOCHFOODS-
                          0000006100).

                          Email chain between Brucke
                          MacKenzie and Joe Grendys, on or
                          about 11/02/2012 attaching Excel
          Special Agent   spreadsheet
   1521   LaNard Taylor   (KOCHFOODS0000542731).
                          Email chain between Jayson Penn,
                          Bill Lovette, Scott Tucker, and
                          Roger Austin on or about
                          11/30/2012 attaching Excel
          Special Agent   spreadsheet (PILGRIMS-
   1522   LaNard Taylor   0002671675).
                          Excel spreadsheet titled Price
                          Reduction Impact dated on or
          Special Agent   about 11/30/22012 (PILGRIMS-
   1523   LaNard Taylor   0002671676).
                          Email between Roger Austin and
                          Mark Oechsli on or about
                          10/10/2012 attaching a pricing
          Special Agent   spreadsheet (PILGRIMS-
   1524   LaNard Taylor   0002932695).
                          Excel spreadsheet titled UFPC
                          Cost Plus Pricing For Period 2013
          Special Agent   Bid dated on or about 10/10/2012
   1525   LaNard Taylor   (PILGRIMS-0002932696).
                          Email between Roger Austin,
                          Justin Gay, and Scott Tucker on or
                          about 10/26/2012 attaching cost
          Special Agent   model and Word document
   1526   LaNard Taylor   (PILGRIMS-0002932765).
                          Excel spreadsheet titled FOB
          Special Agent   SUMMARY 10/26/2012
   1527   LaNard Taylor   (PILGRIMS-0002932766).
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Exhibit         Witness              Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Word document titled KFC Bid
                             Summary dated on or about
          Special Agent      10/26/2012 (PILGRIMS-
   1528   LaNard Taylor      0002932767).
                             Email between Roger Austin and
                             Mike Ledford on or about
          Special Agent      11/6/2012 attaching cost
          LaNard Taylor or   spreadsheets and Word document
   1529   Michael Ledford    (PILGRIMS-0002932786).
                             Excel spreadsheet titled FOB
          Special Agent      SUMMARY 11/6/2012
   1530   LaNard Taylor      (PILGRIMS-0002932787).
          Special Agent      Letter from Roger Austin to Mike
          LaNard Taylor or   Ledford on or about 11/15/2012
   1531   Michael Ledford    (PILGRIMS-0002932788).
                             Excel spreadsheet titled UFPC
                             Cost Plus Pricing dated on or about
          Special Agent      11/06/2012 (PILGRIMS-
   1532   LaNard Taylor      0002932789).
                             Email chain between Roger Austin
                             and Jayson Penn on or about
                             10/26/2012 attaching Word
          Special Agent      document and spreadsheet
   1533   LaNard Taylor      (PILGRIMS-0003503054).
                             Word document titled KFC Bid
                             Summary dated on or about
          Special Agent      10/26/2012 (PILGRIMS-
   1534   LaNard Taylor      0003503055).
                             Excel spreadsheet titled FOB
                             SUMMARY dated on or about
          Special Agent      10/26/2012 (PILGRIMS-
   1535   LaNard Taylor      0003503057).
                             Email chain between Roger Austin
                             and Mark Oechsli on or about
                             11/13/2012 attaching pricing
          Special Agent      spreadsheet (PILGRIMS-
   1536   LaNard Taylor      0005252799).
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Exhibit        Witness            Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Excel spreadsheet titled UFPC
                          Cost Plus Pricing dated on or about
          Special Agent   11/13/2012 (PILGRIMS-
   1537   LaNard Taylor   0005252800).
                          Email between Scott Tucker and
                          Roger Austin on or about
          Special Agent   11/29/2012 (PILGRIMS-
   1538   LaNard Taylor   0005252995).
                          Excel spreadsheet titled Price
                          Reduction Impact dated on or
          Special Agent   about 11/29/2012 (PILGRIMS-
   1539   LaNard Taylor   0005252996).
                          Email chain between Roger Austin
                          and Scott Brady on or about
          Special Agent   11/7/2012 (PILGRIMS-
   1540   LaNard Taylor   0005997458).
                          Email between Roger Austin,
                          Justin Gay, and Scott Tucker on or
          Special Agent   about 11/28/2012 (PILGRIMS-
   1541   LaNard Taylor   0007590068).
                          Calendar invitation regarding
                          Pilgrims Negotiation Call dated on
          Special Agent   or about 11/27/2012 (PILGRIMS-
   1542   LaNard Taylor   0009252915).
                          Email chain between Jason
                          McGuire, Jayson Penn, Roger
                          Austin, Justin Gay, and Scott
          Special Agent   Tucker on or about 11/28/2012
   1543   LaNard Taylor   (PILGRIMS-DOJ-0000383924).
                          Email chain between Roger
                          Austin, Jayson Penn, Jason
                          McGuire Justin Gay, and Scott
          Special Agent   Tucker on or about 11/29/2012
   1544   LaNard Taylor   (PILGRIMS-DOJ-0000383926).
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Exhibit         Witness              Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Excel spreadsheet titled 2013
                             Chick-fil-A Grain Based Model
          Special Agent      Act 082113 (PILGRIMS-DOJ-
   1545   LaNard Taylor      0000388742).
                             Email chain between Roger Austin
                             and Scott Tucker on or about
          Special Agent      11/29/2012 (PILGRIMS-DOJ-
   1546   LaNard Taylor      0000509322).
                             Email chain between Jayson Penn,
                             Scott Tucker, Roger Austin, and
                             Jason McGuire on or about
          Special Agent      11/30/2012 (PILGRIMS-DOJ-
   1547   LaNard Taylor      0000513615).
                             Email chain between Roger
                             Austin, Jayson Penn, Kevin Miller,
                             Justin Gay, and Scott Tucker on or
          Special Agent      about 11/28/2012 (PILGRIMS-
   1548   LaNard Taylor      DOJ-0000513855).
                             Email chain between Roger
                             Austin, Jimmie Little, Justin Gay,
                             Mike Ledford, and Brian Roberts,
          Special Agent      among others on or about
          LaNard Taylor or   1/16/2012 (PILGRIMS-DOJ-
   1549   Michael Ledford    0001216115).
                             Email from Roger Austin to Jayson
          Special Agent      Penn on or about 12/10/2012
   1550   LaNard Taylor      (PILGRIMS-DOJ-0001232425).
                             Adobe PDF titled Exhibit 1, 8-
                             Piece COB Pricing Model dated on
          Special Agent      or about 12/17/2012
   1551   LaNard Taylor      (RSCS000943).
                             Adobe PDF titled Exhibit 1, 8-
                             Piece COB Pricing Model dated on
          Special Agent      or about 12/13/2012
   1552   LaNard Taylor      (RSCS001545).
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Exhibit         Witness             Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Email chain between Tim
                             Scheiderer, Brian Roberts, Tim
                             Mulrenin, Carl Pepper, and Kevin
                             Cockerline, among others, on or
          Special Agent      about 10/10/2012 attaching
   1553   LaNard Taylor      spreadsheets (TY-000567438).
                             Excel spreadsheet titled Tyson-
                             Yum Pricing Models - Updated
          Special Agent      2012-2013 RFP on or about
   1554   LaNard Taylor      10/10/2012 (TY-000567439).
                             Excel spreadsheet titled UFPC -
                             Yum Poultry Event 2012 dated on
          Special Agent      or about 10/8/2012 (TY-
   1555   LaNard Taylor      000567440).
                             Excel spreadsheet titled UFPC
                             Feed Flow Through Pricing dated
          Special Agent      on or about 10/10/2012 (TY-
   1556   LaNard Taylor      000567441).
                             Excel spreadsheet titled FREIGHT
                             RATE SUMMARY dated on or
          Special Agent      about 10/10/2012 (TY-
   1557   LaNard Taylor      000567442).
                             Excel spreadsheet titled FOB
          Special Agent      SUMMARY dated on or about
   1558   LaNard Taylor      10/10/2012 (TY-000567443).
                             Calendar invitation regarding
                             "Tyson Foods - Negotiation Call"
                             including Mary Hester, Daniel
                             Woodside, Tim Mueller, Jim
          Special Agent      Olson, and Mike Ledford among
          LaNard Taylor or   others on or about 11/27/2012
   1559   Michael Ledford    (TY-000912464).
                             Email between Brian Roberts,
                             Doug Ramsey, Greg Spencer, and
          Special Agent      Andy Lubert on or about
   1560   LaNard Taylor      10/10/2012 (TY-000912968).
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Exhibit         Witness              Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Email between Tim Scheiderer,
                             Mike Ledford, Brian Roberts, Tim
          Special Agent      Mulrenin, and others on or about
          LaNard Taylor or   12/4/2012 attaching Excel
   1561   Michael Ledford    spreadsheet (TY-001187449).
          Special Agent      Excel spreadsheet titled FOB
   1562   LaNard Taylor      SUMMARY (TY-001187450).
                             Email chain between Jackie Harris,
                             Andy Lubert, Brian Roberts, Doug
                             Ramsey, and Greg Spencer on or
          Special Agent      about 10/10/2012 (TY-
   1563   LaNard Taylor      005306029).
                             Email chain between Darrel Keck,
          Special Agent      Ric Blake on or about 11/7/2012
   1564   LaNard Taylor      (GEO_0001421272).
                             Email chain between Bruce
                             MacKenzie, Bill Kantola, and Bo
          Special Agent      Wright on or about 10/10/2012
   1565   LaNard Taylor      (KOCHFOODS-0000134930).
                             Email chain between Roger
                             Austin, Jayson Penn, Kevin Miller,
                             Justin Gay, Scott Tucker, and John
          Special Agent      Byrd on or about 11/28/2012
   1566   LaNard Taylor      (PILGRIMS-0009040100).
                             Email between Scott Tucker,
                             Jayson Penn, and Roger Austin on
                             or about 11/30/2012 attaching
          Special Agent      spreadsheet (PILGRIMS-DOJ-
   1567   LaNard Taylor      0000333156).
                             Excel spreadsheet titled Price
                             Reduction Impact dated on or
          Special Agent      about 11/30/2012 (PILGRIMS-
   1568   LaNard Taylor      DOJ-0000333157).
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Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email between Tim Scheiderer and
                          Mark Oechsli on or about
                          10/10/2012 attaching spreadsheet
                          titled Tyson-Yum Poultry Bid
          Special Agent   Sheet Event 2012-2013.xls (TY-
   1569   LaNard Taylor   002544937).
                          Excel spreadsheet titled Tyson-
                          Yum Poultry Bid Sheet Event
          Special Agent   2012-2013 dated on or about
   1570   LaNard Taylor   10/10/2012 (TY-002544938).
                          Email between Kyle Karcher,
                          Mark Oechsli, and Allen Thomas
                          on or about 10/12/2012 attaching
          Special Agent   spreadsheet (CASEDOJ-AT-
   1571   LaNard Taylor   0000012450).
                          Excel spreadsheet titled 2012 KFC
          Special Agent   Cost Models 10-01-12
   1572   LaNard Taylor   (CASEDOJ-AT-0000012451).
                          Email between Allen Thomas,
                          Kevin Phillips, Mitch Mitchell,
                          Rob Dowell, Mary Hester, and
                          Mark Oeschsli on or about
          Special Agent   11/30/2012 attaching spreadsheets
   1573   LaNard Taylor   (CASEDOJ-RD-0000018730).
                          Excel spreadsheet titled FOB
                          Summary-round 3 dated on or
          Special Agent   about 11/30/2012 (CASEDOJ-RD-
   1574   LaNard Taylor   0000018731).
                          Excel spreadsheet titled Copy of
          Special Agent   2012 KFC initial cost plus-rd 2
   1575   LaNard Taylor   (CASEDOJ-RD-0000018732).
                          Email chain between Bo Wright,
                          Bill Kantola, Bruce MacKenzie,
                          and Lance Buckert on or about
          Special Agent   10/10/2012 attaching spreadsheet
   1576   LaNard Taylor   (KOCHFOODS-0000134924).
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Exhibit         Witness              Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Excel spreadsheet titled Bids-
                             2012-09-27 09 10AM-Koch-Yum
          Special Agent      Poultry Event 2012 v0.5
   1577   LaNard Taylor      (KOCHFOODS-0000134926).
                             Email between Bruce MacKenzie
                             and Mark Oechsli on or about
          Special Agent      11/12/2012 attaching spreadsheet
   1578   LaNard Taylor      (KOCHFOODS-0000563144).
                             Excel spreadsheet titled 2013 ufpc
                             monthly cost model rfp - final
          Special Agent      dated on or about 11/12/2012
   1579   LaNard Taylor      (KOCHFOODS-0000563145).
                             Email between Mark Wilkerson
                             and Mary Hester, among others, on
                             or about 10/12/2012 attaching RFP
          Special Agent      summary and Cost Model
   1580   LaNard Taylor      (OKFoods_0000455894).
                             Word document titled UFPC 2013
          Special Agent      RFP Summary 10 12 12
   1581   LaNard Taylor      (OKFoods_0000455895).
                             Excel spreadsheet titled
                             Attachment_3-Further Process
                             Cost Model(1)2013 Bid Final Final
          Special Agent      RD1 dated on or about 10/12/2012
   1582   LaNard Taylor      (OKFoods_0000455897).
                             Email between Roger Austin and
                             Mark Oechsli on or about
          Special Agent      11/13/2012 attaching spreadsheet
   1583   LaNard Taylor      (PILGRIMS-DOJ-0001231596).
                             Excel spreadsheet titled 2013 Year
          Special Agent      Bid Cost Model (PILGRIMS-DOJ-
   1584   LaNard Taylor      0001231597).
                             Email chain between Tim
          Special Agent      Mulrenin, Mary Hester, and Mike
          LaNard Taylor or   Ledford, among others, on or about
   1585   Michael Ledford    12/11/2012 (TY-001002715).
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Exhibit         Witness              Brief Description          Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Email between Tim Scheiderer,
                             Mike Ledford, Mark Oechsli,
          Special Agent      Brian Roberts, and Tim Mulrenin
          LaNard Taylor or   on or about 10/17/2012 attaching
   1586   Michael Ledford    spreadsheet (TY-001186880).
                             Excel spreadsheet titled 2013
                             Pricing Estimate V2 dated on or
          Special Agent      about 10/16/2012 (TY-
   1587   LaNard Taylor      001186881).
                             Email between Tim Scheiderer,
                             Mike Ledford, and Mary Hester,
          Special Agent      among others, on or about
          LaNard Taylor or   12/6/2012 attaching spreadsheets
   1588   Michael Ledford    (TY-001187489).
                             Excel spreadsheet titled Tyson-
                             Yum Pricing Models - Updated
          Special Agent      2012-2013 RFP dated on or about
   1589   LaNard Taylor      12/6/2012 (TY-001187490).
                             Excel spreadsheet titled Tyson-
                             Yum Attachment__1-
                             FOB_Summary Round 4 dated on
          Special Agent      or about 12/6/2012 (TY-
   1590   LaNard Taylor      001187491).
          Special Agent      Email chain between Scott Brady
          LaNard Taylor or   and Mike Ledford on or about
   1600   Michael Ledford    03/08/2013 (CLA_0192298).
                             Email chain between Mike
          Special Agent      Ledford, Scott Brady, and Mikell
          LaNard Taylor or   Fries on or about 3/12/2013
   1601   Michael Ledford    (CLA_0192302).
          Special Agent      Email from Mike Ledford to Bill
          LaNard Taylor or   Kantola on or about 03/12/2013
   1602   Michael Ledford    (KOCHFOODS-0000214516).
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Number
                             Email chain between Mike
                             Ledford, Bill Kantola, and Becky
          Special Agent      Blackmon on or about 3/6/2013
          LaNard Taylor or   attaching Excel spreadsheet
   1603   Michael Ledford    (KOCHFOODS-0000215383).
                             Excel spreadsheet titled COB
                             Truckload Volume Availability
                             Summary By Plant Location (Mar
          Special Agent      2013) undated (KOCHFOODS-
   1604   LaNard Taylor      0000215384).
                             Email between Mike Ledford,
          Special Agent      Roger Austin, and Scott Tucker on
          LaNard Taylor or   or about 3/5/2013 (PILGRIMS-
   1605   Michael Ledford    0005998284).
                             Excel spreadsheet titled COB
                             Truckload Volume Availability
          Special Agent      Summary undated (PILGRIMS-
   1606   LaNard Taylor      0005998285).
                             Email chain between Roger
                             Austin, Mike Ledford, Scott
          Special Agent      Tucker, and Jason McGuire on or
          LaNard Taylor or   about 03/12/2013 (PILGRIMS-
   1607   Michael Ledford    0006836077).
                             Email chain between Roger
                             Austin, Jason McGuire, Mike
                             Ledford, and Scott Tucker on or
          Special Agent      about 3/19/2013 (PILGRIMS-
   1608   LaNard Taylor      0009779420).
                             Email chain between Brian
                             Roberts, Tim Mulrenin, Carl
          Special Agent      Pepper, Tim Scheiderer, and Mike
          LaNard Taylor or   Ledford on or about 3/8/2013 (TY-
   1609   Michael Ledford    000055348).
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Exhibit         Witness              Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Email chain between Brian
                             Roberts, Tim Mulrenin, Carl
                             Pepper, and Tim Scheider on or
          Special Agent      about 3/8/2015 attaching Excel
   1610   LaNard Taylor      spreadsheets (TY-000584135).
                             Email between Mike Ledford,
                             Brian Roberts, Tim Mulrenin, and
          Special Agent      Carl Pepper on or about 3/5/2013
          LaNard Taylor or   attaching Excel spreadsheet (TY-
   1611   Michael Ledford    000585357).
                             Excel spreadsheet titled COB
                             Truckload Volume Availability
          Special Agent      Summary undated (TY-
   1612   LaNard Taylor      000585358).
                             Email between Mike Ledford, Tim
          Special Agent      Mulrenin and Brian Roberts on or
          LaNard Taylor or   about 03/19/2013 (TY-
   1613   Michael Ledford    001090405).
                             Excerpt of Roger Austin (770-842-
          Special Agent      9379) toll records (VZW-ATR001-
   1614   LaNard Taylor      00009436).
                             Excerpt of Mikell Fries iPhone
          Special Agent      Report Instant Message # 3
   1615   LaNard Taylor      (CLAXTON_0181706).
                             Email chain between Scott Brady,
                             Mikell Fries, Mark Oeschli, Mary
                             Hester, and Stephen Campisano on
          Special Agent      or about 11/01/2013 attaching
   1700   LaNard Taylor      word document (CLA_0078049).
                             Email between Scott Brady and
                             Poultry Purchasing on or about
          Special Agent      11/18/2013 attaching cost model
   1701   LaNard Taylor      (CLA_0193036).
                             Excel spreadsheet titled UFPC
          Special Agent      Feed Flow Through Pricing For
   1702   LaNard Taylor      Period 1, 2014 Claxton Poultry
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Exhibit         Witness              Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Company, undated
                             (CLA_0193037).

                             Email chain between Scott Brady,
                             Mikell Fries, Mark Oechsli, Mike
          Special Agent      Ledford, and Mary Hester, among
          LaNard Taylor or   others, on or about 11/4/2013
   1703   Michael Ledford    (CLAXTON_0012417).
                             Excel spreadsheet titled FOB
                             SUMMARY-CLAXTON
          Special Agent      POULTRY
   1704   LaNard Taylor      (CLAXTON_0012419).
                             Email chain between Thomas
                             Lane, Roger Austin, and Bill
                             Lovette on or about 2/6/2013
          Special Agent      attaching Excel spreadsheet
   1705   LaNard Taylor      (PILGRIMS-0002567023).
                             Excel spreadsheet titled KFC Cost
                             Comparison - Skinless breast & leg
          Special Agent      meat, undated (PILGRIMS-
   1706   LaNard Taylor      0002567024).
                             Email chain between Jayson Penn,
          Special Agent      Roger Austin, Mike Ledford, and
          LaNard Taylor or   Mark Oechsli on or about 2/3/2013
   1707   Michael Ledford    (PILGRIMS-0002675743).
                             Email between Roger Austin and
          Special Agent      Justin Gay on or about 2/6/2013
   1708   LaNard Taylor      (PILGRIMS-0002932927).
                             Email chain between Jayson Penn.
                             Tommy Lane, Roger Austin and
                             Bill Lovette on or about 2/6/2013
          Special Agent      attaching Excel spreadsheet
   1709   LaNard Taylor      (PILGRIMS-0003506716).

          Special Agent      Email chain between Mary Hester
   1710   LaNard Taylor      and Roger Austin on or about
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Exhibit         Witness              Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             10/31/2013 attaching Adobe PDF
                             (PILGRIMS-0005254459).

                             Letter from UFPC Poultry
                             Purchasing Team to Roger Austin
          Special Agent      undated (PILGRIMS-
   1711   LaNard Taylor      0005254460).
          Special Agent      Email from Mike Ledford to Roger
          LaNard Taylor or   Austin on or about 11/19/2013
   1712   Michael Ledford    (PILGRIMS-0005254543).
                             Email chain between Scott Tucker,
                             Roger Austin, Justin Gay, and
          Special Agent      Mike Ledford on or about
          LaNard Taylor or   11/19/2013 (PILGRIMS-
   1713   Michael Ledford    0005254544).
                             Email chain between Roger
                             Austin, Jayson Penn, Thomas
          Special Agent      Lane, Mike Ledford, and Mark
          LaNard Taylor or   Oechsli on or about 2/7/2013
   1714   Michael Ledford    (PILGRIMS-0005838308).
                             Email chain between Roger Austin
                             and Jayson Penn on or about
                             11/04/2013 attaching excel
          Special Agent      spreadsheets (PILGRIMS-
   1715   LaNard Taylor      0005849285).
                             Excel spreadsheet untitled dated on
          Special Agent      or about 11/04/2013 (PILGRIMS-
   1716   LaNard Taylor      0005849286).
                             Excel spreadsheet titled RFI:
                             Request for Information from
                             UFPC dated on or about
          Special Agent      11/04/2013 (PILGRIMS-
   1717   LaNard Taylor      0005849287).

          Special Agent      Excel spreadsheet titled FOB
   1718   LaNard Taylor      Summary dated on or about
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Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          11/04/2013 (PILGRIMS-
                          0005849288).

                          Email between Bill Lovette,
                          Jayson Penn, and Roger Austin on
          Special Agent   or about 08/08/2013 (PILGRIMS-
   1719   LaNard Taylor   0006915219).
                          Email chain between Roger
                          Austin, Scott Tucker, Justin Gay,
                          and Jimmie Little on or about
          Special Agent   05/24/2013 (PILGRIMS-
   1720   LaNard Taylor   0007590778).
                          Email chain between Roger Austin
                          and Jayson Penn on or about
          Special Agent   1/29/2013 (PILGRIMS-
   1721   LaNard Taylor   0009043853).
                          Email chain between Roger Austin
                          and Jayson Penn on or about
          Special Agent   1/29/2013 (PILGRIMS-
   1722   LaNard Taylor   0009043857).
                          Email chain between Bill Lovette,
                          Jayson Penn, and Roger Austin on
          Special Agent   or about 08/09/2013 (PILGRIMS-
   1723   LaNard Taylor   0009053278).
                          Email chain between Tracey
                          Greenwell, Justin Gay, and Roger
          Special Agent   Austin on or about 12/19/2013
   1724   LaNard Taylor   (PILGRIMS-0009795016).
                          Adobe PDF titled EXHIBIT 1 8-
                          PIECE COB PRICING MODEL
          Special Agent   dated on or about 12/2/2013
   1725   LaNard Taylor   (PILGRIMS-0009795018).
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Exhibit         Witness              Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Calendar invitation regarding KFC
                             Bid including Roger Austin, Jason
                             McGuire, Robbie Bryant, Justin
          Special Agent      Gay, and Scott Tucker, among
          LaNard Taylor or   others, on or about 9/26/2013
   1726   Robert Bryant      (PILGRIMS-DOJ-0002194994).
                             Calendar invitation regarding Bids
                             including Roger Austin, Jason
                             McGuire, Thomas Lane, Justin
                             Gay, and Jimmie Little, among
          Special Agent      others, on or about 11/18/2013
   1727   LaNard Taylor      (PILGRIMS-DOJ-0002195044).
          Special Agent      SBRA dated on or about 12/2/2013
   1728   LaNard Taylor      (RSCS000343).
          Special Agent      SBRA dated on or about 12/2/2013
   1729   LaNard Taylor      (RSCS001557).
                             File of and handwritten notes
          Special Agent      written by Ric Blake
   1730   LaNard Taylor      (GEODOJ_0585944).
                             File of and handwritten notes
          Special Agent      written by Ric Blake
   1731   LaNard Taylor      (GEODOJ_0587306).
                             Email between Darrel Keck,
                             Charles George, Judy Hall, and Ric
                             Blake, among others, on or about
          Special Agent      9/23/2013 attaching RFP
   1732   LaNard Taylor      documents (GEO_0001414716).
                             Excerpt of Roger Austin (770-842-
          Special Agent      9379) toll records (VZW-ATR001-
   1733   LaNard Taylor      00009436).
                             Excerpt of Mikell Fries iPhone
          Special Agent      Report Instant Message #304‐307
   1734   LaNard Taylor      (CLAXTON_0181706).
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Exhibit         Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Email between Pete Suerken, Sara
                           Fisher, Stephen Campisano, Rich
                           Eddington, and Mary Weaver,
                           among others on or about
                           2/17/2017 (CASEDOJ-RD-
   1800   Sara Fisher      0000081363).
                           Email between Pete Suerken, Sara
                           Fisher, Stephen Campisano, Rich
                           Eddington, and Todd Imhoff,
                           among others on or about
   1801   Sara Fisher      2/17/2017 (CLA_0075620).
                           Email between Sara Fisher and
                           Scott Brady on or about 8/7/2017
   1802   Sara Fisher      attaching PDF (CLA_0075976).
                           Adobe PDF titled Exhbit 1 8 Piece
          Special Agent    COB Pricing Model dated on or
   1803   LaNard Taylor    about 06/01/2017 (CLA_0075977).
                           Email chain between Scott Brady,
                           Mikell Fries, Jeramie Martin, Sara
                           Fisher, and Pete Suerken among
                           others on or about 2/17/2017
   1804   Sara Fisher      (CLA_0168565).
                           Email between Wanda Tyler and
          Special Agent    Mikell Fries on or about 9/12/2017
   1805   LaNard Taylor    attaching PDF (CLA_0199023).
                           Adobe PDF titled EXHIBIT 1
          Special Agent    dated on or about 6/1/2017
   1806   LaNard Taylor    (CLA_0199024).
                           Email chain between Brian Coan,
                           Jason McGuire, Stephen
                           Campisano, Ric Blake, Brian
                           Coan, and Rich Eddington on or
                           about 9/19/2017 attaching word
          Special Agent    document titled 2018 R1 Georges
   1807   LaNard Taylor    Feedback (GEODOJ_0088047).
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Exhibit         Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Word document titled Supplier
          Special Agent    Feedback: George's, undated
   1808   LaNard Taylor    (GEODOJ_0088048).
                           Email between Ric Blake and
                           Steven Campisano, Brian Coan,
                           and Jason McGuire on or about
                           9/8/2017 attaching Excel
                           Spreadsheets titled KFC - 2018
                           RFP and 2018 KFC FP Poultry
          Special Agent    Capacity Template
   1809   LaNard Taylor    (GEODOJ_0088054).
                           Excel spreadsheet titled Capacity
                           Template - Processed Chicken
          Special Agent    RFP, undated
   1810   LaNard Taylor    (GEODOJ_0088055).
          Special Agent    Excel spreadsheet titled KFC -
   1811   LaNard Taylor    2018 RFP (GEODOJ_0088056).
                           Email chain between Ric Blake,
                           Brian Coan, and Sara Fisher on or
                           about 3/3/2017
   1812   Sara Fisher      (GEODOJ_0119314).
                           Email between Bill Kantola, Sara
                           Fisher, and Rich Eddington on or
                           around 2/24/2017 attaching Excel
                           spreadsheet (KOCHFOODS-
   1813   Sara Fisher      0000087800).
                           Excel spreadsheet titled 2018-202
                           rscs monthly cost model RFP
          Special Agent    undated (KOCHFOODS-
   1814   LaNard Taylor    0000087801).
                           Email between Bill Kantola and
                           Sara Fisher on or about 8/15/2017
                           attaching PDF (KOCHFOODS-
   1815   Sara Fisher      0000093639).
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Exhibit         Witness            Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Adobe PDF titled EXHIBIT 1
          Special Agent    dated on or about 6/1/2017
   1816   LaNard Taylor    (KOCHFOODS-0000093640).
                           Email between Pete Suerken, Sara
                           Fisher, Stephen Campisano, and
                           Rich Eddington, among others, on
                           or about 2/17/2017
   1817   Sara Fisher      (KOCHFOODS-0000257660).
                           Email between Bill Kantola, Sara
                           Fisher, and Rich Eddington on or
                           about 02/22/2017 (KOCHFOODS-
   1818   Sara Fisher      0000258653).
                           Email between Rich Eddington,
                           Bill Kantola, and Sara Fisher on or
                           about 2/22/2017 (KOCHFOODS-
   1819   Sara Fisher      0000258656).
                           Email between Sara Fisher and Bill
                           Kantola on or about 12/9/2016
   1820   Sara Fisher      (KOCHFOODS-0000266039).
                           Adobe PDF titled Koch Foods Inc
                           Margin-Over Feed Model dated on
          Special Agent    or about 01/30/2017
   1821   LaNard Taylor    (KOCHFOODS-0000267825).
                           Email chain between Roger
                           Austin, Robbie Bryant, and Scott
                           Tucker on or about 1/17/2017
   1822   Robert Bryant    (PILGRIMS-DOJ-0000343592).
                           Email chain between Roger
                           Austin, Robbie Bryant and Justin
                           Gay on or about 4/27/2018
   1823   Robert Bryant    (PILGRIMS-DOJ-0000352326).
                           Adobe PDF titled EXHIBIT 8-
                           PIECE COB PRICING MODEL
          Special Agent    dated on or about 6/1/2017
   1824   LaNard Taylor    (PILGRIMS-DOJ-0000352327).
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Exhibit         Witness           Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                           Email between Roger Austin, Sara
                           Fisher, and Rich Eddington on or
                           about 2/3/2017 (PILGRIMS-DOJ-
   1825   Sara Fisher      0000509332).
                           Excel spreadsheet titled UFPC
                           Cost Plus Pricing Period 2
          Special Agent    Proposal for 2018 (PILGRIMS-
   1826   LaNard Taylor    DOJ-0000509333).
                           Text message from Tim Stiller to
                           Tommy Lane on or about
          Special Agent    1/27/2017 (PILGRIMS-DOJ-
   1827   LaNard Taylor    0000509372).
                           Text message from Tommy Lane
                           to Tim Stiller on or about
          Special Agent    1/27/2017 (PILGRIMS-DOJ-
   1828   LaNard Taylor    0000509373).
                           Text message from Tim Mulrenin
                           to Tommy Lane on or about
          Special Agent    1/27/2017 (PILGRIMS-DOJ-
   1829   LaNard Taylor    0000509374).
                           Text message from Tommy Lane
                           to Tim Stiller on or about
          Special Agent    1/27/2017 (PILGRIMS-DOJ-
   1830   LaNard Taylor    0000509375).
                           Text message from Tim Stiller to
                           Tommy Lane on or about
          Special Agent    1/27/2017 (PILGRIMS-DOJ-
   1831   LaNard Taylor    0000509376).
                           Text message from Tommy Lane
                           to Tim Stiller on or about
          Special Agent    1/27/2017 (PILGRIMS-DOJ-
   1832   LaNard Taylor    0000509377).
                           Text message from Tim Stiller to
                           Tommy Lane on or about
          Special Agent    1/27/2017 (PILGRIMS-DOJ-
   1833   LaNard Taylor    0000509378).
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Exhibit        Witness            Brief Description          Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Text message from Tommy Lane
                          to Tim Stiller on or about
          Special Agent   1/27/2017 (PILGRIMS-DOJ-
   1834   LaNard Taylor   0000509379).
                          Text message from Tim Stiller to
                          Tommy Lane on or about
          Special Agent   1/27/2017 (PILGRIMS-DOJ-
   1835   LaNard Taylor   0000509380).
                          Text message from Tommy Lane
                          to Tim Stiller on or about
          Special Agent   1/27/2017 (PILGRIMS-DOJ-
   1836   LaNard Taylor   0000509381).
                          Text message from Tim Stiller to
                          Tommy Lane on or about
          Special Agent   1/27/2017 (PILGRIMS-DOJ-
   1837   LaNard Taylor   0000509382).
                          Text message from Tommy Lane
                          to Tim Stiller on or about
          Special Agent   1/27/2017 (PILGRIMS-DOJ-
   1838   LaNard Taylor   0000509383).
                          Text message form Tim Stiller to
                          Tommy Lane on or about
          Special Agent   1/27/2017 (PILGRIMS-DOJ-
   1839   LaNard Taylor   0000509384).
                          Text message from Tim Stiller to
                          Tommy Lane on or about
          Special Agent   1/27/2017 (PILGRIMS-DOJ-
   1840   LaNard Taylor   0000509385).
                          Text message from Tommy Lane
                          to Tim Stiller on or about
          Special Agent   1/27/2017 (PILGRIMS-DOJ-
   1841   LaNard Taylor   0000509386).
                          Text message from Tommy Lane
                          to Tim Stiller on or about
          Special Agent   1/27/2017 (PILGRIMS-DOJ-
   1842   LaNard Taylor   0000509387).
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Exhibit         Witness                   Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                                  Text message from Tim Stiller to
                                  Tommy Lane on or about
          Special Agent           1/27/2017 (PILGRIMS-DOJ-
   1843   LaNard Taylor           0000509388).
                                  Email chain between Roger Austin
                                  and Jayson Penn on or about
          Special Agent           2/5/2017 (PILGRIMS-DOJ-
   1844   LaNard Taylor           0000513394).
                                  Email between Sara Fisher, Roger
                                  Austin, Robbie Bryant, Tim Stiller,
                                  and Rich Eddington on or about
          Sara Fisher or Robert   1/27/2017 (PILGRIMS-DOJ-
   1845   Bryant                  0000513571).
                                  Text message from Roger Austin
          Special Agent           to Tim Stiller on or about 2/1/2017
   1846   LaNard Taylor           (PILGRIMS-DOJ-0000914266).
                                  Text message from Tim Stiller to
          Special Agent           Roger Austin on or about 2/1/2017
   1847   LaNard Taylor           (PILGRIMS-DOJ-0000914267).
                                  Text message from Roger Austin
          Special Agent           to Tim Stiller on or about 2/1/2017
   1848   LaNard Taylor           (PILGRIMS-DOJ-0000914268).
                                  Text message from Roger Austin
          Special Agent           to Tim Stiller on or about 2/1/2017
   1849   LaNard Taylor           (PILGRIMS-DOJ-0000914269).
                                  Text message from Tim Stiller to
                                  Roger Austin to on or about
          Special Agent           2/17/2017 (PILGRIMS-DOJ-
   1850   LaNard Taylor           0000915280).
                                  Text message from Roger Austin
                                  to Tim Stiller on or about
          Special Agent           2/17/2017 (PILGRIMS-DOJ-
   1851   LaNard Taylor           0000915300).
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Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Text message from Tim Stiller to
                          Roger Austin on or about
          Special Agent   2/17/2017 (PILGRIMS-DOJ-
   1852   LaNard Taylor   0000915301).
                          Text message from Tim Stiller to
                          Roger Austin on or about
          Special Agent   2/17/2017 (PILGRIMS-DOJ-
   1853   LaNard Taylor   0000915303).
                          Text message from Roger Austin
                          to Tim Stiller on or about
          Special Agent   2/17/2017 (PILGRIMS-DOJ-
   1854   LaNard Taylor   0000915320).
                          Text message from Tim Stiller to
          Special Agent   Jayson Penn on or about 2/18/2017
   1855   LaNard Taylor   (PILGRIMS-DOJ-0000915340).
                          Text message from Tim Stiller to
                          Roger Austin on or about
          Special Agent   2/18/2017 (PILGRIMS-DOJ-
   1856   LaNard Taylor   0000915346).
                          Text message from Tim Stiller to
          Special Agent   Justin Gay on or about 2/18/2017
   1857   LaNard Taylor   (PILGRIMS-DOJ-0000915353).
                          Text message from Roger Austin
                          to Tim Stiller on or about
          Special Agent   2/18/2017 (PILGRIMS-DOJ-
   1858   LaNard Taylor   0000915360).
                          Text message from Tim Stiller to
          Special Agent   Justin Gay on or about 2/18/2017
   1859   LaNard Taylor   (PILGRIMS-DOJ-0000915361).
                          Text message from Justin Gay to
          Special Agent   Tim Stiller on or about 2/18/2017
   1860   LaNard Taylor   (PILGRIMS-DOJ-0000915365).
                          Text message from Tim Stiller to
          Special Agent   Justin Gay on or about 2/18/2017
   1861   LaNard Taylor   (PILGRIMS-DOJ-0000915366).
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Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Text message from Tim Stiller to
                          Roger Austin on or about
          Special Agent   2/20/2017 (PILGRIMS-DOJ-
   1862   LaNard Taylor   0000915473).
                          Text message from Tim Stiller to
          Special Agent   Jayson Penn on or about 2/21/2017
   1863   LaNard Taylor   (PILGRIMS-DOJ-0000915537).
                          Text message from Jayson Penn to
          Special Agent   Tim Stiller on or about 2/21/2017
   1864   LaNard Taylor   (PILGRIMS-DOJ-0000915538).
                          Text message from Tim Stiller to
                          Roger Austin on or about
          Special Agent   2/22/2017 (PILGRIMS-DOJ-
   1865   LaNard Taylor   0000915645).
                          Text message from Tim Stiller to
                          Roger Austin on or about
          Special Agent   2/22/2017 (PILGRIMS-DOJ-
   1866   LaNard Taylor   0000915647).
                          Text message form Tim Stiller to
                          Roger Austin on or about
          Special Agent   2/22/2017 (PILGRIMS-DOJ-
   1867   LaNard Taylor   0000915649).
                          Text message from Roger Austin
                          to Tim Stiller on or about
          Special Agent   2/22/2017 (PILGRIMS-DOJ-
   1868   LaNard Taylor   0000915651).
                          Text message from Tim Stiller to
                          Roger Austin on or about
          Special Agent   2/22/2017 (PILGRIMS-DOJ-
   1869   LaNard Taylor   0000915652).
                          Text message from Roger Austin
                          to Tim Stiller on or about
          Special Agent   2/22/2017 (PILGRIMS-DOJ-
   1870   LaNard Taylor   0000915654).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Text message form Tim Stiller to
                          Roger Austin on or about
          Special Agent   2/22/2017 (PILGRIMS-DOJ-
   1871   LaNard Taylor   0000915655).
                          Text message from Tim Stiller to
          Special Agent   Justin Gay on or about 3/2/2017
   1872   LaNard Taylor   (PILGRIMS-DOJ-0000915998).
                          Text message from Justin Gay to
          Special Agent   Tim Stiller on or about 3/2/2017
   1873   LaNard Taylor   (PILGRIMS-DOJ-0000916000).
                          Text message from Tim Stiller to
          Special Agent   Justin Gay on or about 3/2/2017
   1874   LaNard Taylor   (PILGRIMS-DOJ-0000916001).
                          Text message from Justin Gay to
          Special Agent   Tim Stiller on or about 3/2/2017
   1875   LaNard Taylor   (PILGRIMS-DOJ-0000916002).
                          Text message from Tim Stiller to
          Special Agent   Justin Gay on or about 3/2/2017
   1876   LaNard Taylor   (PILGRIMS-DOJ-0000916003).
                          Text message from Tim Stiller to
          Special Agent   Justin Gay on or about 3/2/2017
   1877   LaNard Taylor   (PILGRIMS-DOJ-0000916004).
                          Text message from Tim Stiller to
          Special Agent   Justin Gay on or about 3/2/2017
   1878   LaNard Taylor   (PILGRIMS-DOJ-0000916005).
                          Text message from Timothy Stiller
          Special Agent   to Justin Gay on or about 3/2/2017
   1879   LaNard Taylor   (PILGRIMS-DOJ-0000916006).
                          Text message from Justin Gay to
                          Timothy Stiller on or about
          Special Agent   3/2/2017 (PILGRIMS-DOJ-
   1880   LaNard Taylor   0000916007).
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Exhibit         Witness                   Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                                  Email chain between Jayson Penn
                                  and Roger Austin on or about
          Special Agent           8/18/2017 attaching JPG images
   1881   LaNard Taylor           (PILGRIMS-DOJ-0001158135).
                                  Email chain between Robbie
                                  Bryant, Roger Austin, and Scott
                                  Tucker on or about 1/17/2017
   1882   Robert Bryant           (PILGRIMS-DOJ-0001262887).
                                  Email between Sara Fisher, Roger
                                  Austin, Tim Stiller, Robbie Bryant,
                                  and Rich Eddington on or about
          Sara Fisher or Robert   1/27/2017 (PILGRIMS-DOJ-
   1883   Bryant                  0001263032).
                                  Email between Robbie Bryant and
                                  Roger Austin on or about 2/3/2017
                                  attaching spreadsheet (PILGRIMS-
   1884   Robert Bryant           DOJ-0001263096).
                                  Excel spreadsheet titled KFC Cost
                                  Model vs 2018 Cost dated on or
          Special Agent           about 1/25/2017 (PILGRIMS-
   1885   LaNard Taylor           DOJ-0001263097).
                                  Email chain between Sara Fisher,
                                  Roger Austin, and Rich Eddington
                                  on or about 5/12/2017
   1886   Sara Fisher             (PILGRIMS-DOJ-0001264435).
                                  Email between Robbie Bryant and
                                  Roger Austin on or about
                                  6/28/2017 (PILGRIMS-DOJ-
   1887   Robert Bryant           0001265129).
                                  Email between Robbie Bryant and
                                  Tim Stiller on or about 1/25/2017
                                  attaching PowerPoint presentation
   1888   Robert Bryant           (PILGRIMS-DOJ-0001382375).
                                  PowerPoint presentation untitled
          Special Agent           on or about 1/27/2017
   1889   LaNard Taylor           (PILGRIMS-DOJ-0001382376).
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Exhibit         Witness                   Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                                  Email chain between Robbie
                                  Bryant and Tim Stiller on or about
                                  2/3/2017 attaching Excel
                                  spreadsheet (PILGRIMS-DOJ-
   1890   Robert Bryant           0001384965).
                                  Excel spreadsheet titled KFC 2018
                                  Cost Model dated or about
          Special Agent           1/25/2017 (PILGRIMS-DOJ-
   1891   LaNard Taylor           0001384966).
                                  Email between Robbie Bryant and
                                  Tim Stiller on or about 2/20/2017
                                  attaching a spreadsheet
   1892   Robert Bryant           (PILGRIMS-DOJ-0001386299).
                                  Excel spreadsheet titled KFC Cost
                                  Model vs 2018 Cost dated on or
          Special Agent           about 01/25/2017 (PILGRIMS-
   1893   LaNard Taylor           DOJ-0001386300).
                                  Email between Tim Stiller and
                                  Robbie Bryant on or about
                                  2/21/2017 (PILGRIMS-DOJ-
   1894   Robert Bryant           0001386338).
                                  Email between Sara Fisher, Roger
                                  Austin, Scott Tucker, and Rich
                                  Eddington on or about 12/9/2016
   1895   Sara Fisher             (PILGRIMS-DOJ-0002105220).
                                  Calendar invitation regarding Fwd:
                                  Next KFC COB Agreement
                                  Discussion including Roger
                                  Austin, Tim Stiller, Sara Fisher,
                                  Scott Tucker, Robbie Bryant, and
          Sara Fisher or Robert   others on or about 1/27/2017
   1896   Bryant                  (PILGRIMS-DOJ-0002105275).
                                  Email chain between Roger
                                  Austin, Robbie Bryant, and Scott
                                  Tucker on or about 1/17/2017
   1897   Robert Bryant           (PILGRIMS-DOJ-0002105663).
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Exhibit         Witness              Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Email chain between Jayson Penn
                             and Roger Austin on or about
          Special Agent      1/20/2017 (PILGRIMS-DOJ-
   1898   LaNard Taylor      0002105778).
                             Email between Robbie Bryant and
                             Roger Austin on or about 2/3/2017
                             attaching excel Spreadsheet titled
                             KFC 2018 Cost Model
   1899   Robert Bryant      (PILGRIMS-DOJ-0002106061).
                             Excel spreadsheet titled KFC Cost
          Special Agent      Model vs 2018 Cost dated on or
          LaNard Taylor or   about 1/25/2017 (PILGRIMS-
   1900   Robert Bryant      DOJ-0002106062).
                             Email between Roger Austin, Sara
                             Fisher, and Rich Eddington on or
          Special Agent      about 2/3/2017 attaching Excel
          LaNard Taylor or   spreadsheet (PILGRIMS-DOJ-
   1901   Sara Fisher        0002106063).
                             Excel spreadsheet titled Period 2
          Special Agent      2018 Model (PILGRIMS-DOJ-
   1902   LaNard Taylor      0002106064).
                             Email between Roger Austin and
          Special Agent      Jason Penn on or about 2/5/2017
   1903   LaNard Taylor      (PILGRIMS-DOJ-0002106071).
                             Email chain between Tim Stiller,
          Special Agent      Robbie Bryant, and Roger Austin
          LaNard Taylor or   on or about 2/7/2017 (PILGRIMS-
   1904   Robert Bryant      DOJ-0002106103).
                             Email between Robbie Bryant and
                             Tim Stiller on or about 2/20/2017
          Special Agent      attaching Excel Spreadsheet titled
          LaNard Taylor or   KFC 2018 Proposal (PILGRIMS-
   1905   Robert Bryant      DOJ-0002106350).

          Special Agent      Excel spreadsheet titled KFC Cost
   1906   LaNard Taylor      Model vs 2018 Cost dated on or
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Number
                             about 1/25/2017 (PILGRIMS-
                             DOJ-0002106351).

                             Email between Robbie Bryant and
                             Tim Stiller on or about 2/20/2017
          Special Agent      attaching Excel Spreadsheet titled
          LaNard Taylor or   KFC 2018 Proposal (PILGRIMS-
   1907   Robert Bryant      DOJ-0002106352).
                             Excel spreadsheet titled KFC Cost
                             Model vs 2018 Cost dated on or
          Special Agent      about 1/25/2017 (PILGRIMS-
   1908   LaNard Taylor      DOJ-0002106353).
                             Email chain between Tim Stiller,
                             Thomas Lane, Pete Suerken, Sara
                             Fisher, Stephen Campisano, and
          Special Agent      Rich Eddington, among others on
          LaNard Taylor or   or about 2/20/2017 (PILGRIMS-
   1909   Sara Fisher        DOJ-0002106354).
                             Email chain between Robbie
          Special Agent      Bryant and Tim Stiller on or about
          LaNard Taylor or   2/20/2017 (PILGRIMS-DOJ-
   1910   Robert Bryant      0002106369).
                             Email between Roger Austin and
          Special Agent      Jayson Penn on or about 3/3/2017
   1911   LaNard Taylor      (PILGRIMS-DOJ-0002106580).
                             Email between Roger Austin and
                             Rich Eddington on or about
          Special Agent      3/29/2017 (PILGRIMS-DOJ-
   1912   LaNard Taylor      0002106987).
                             Email between Roger Austin and
                             Rich Eddington on or about
          Special Agent      4/11/2017 (PILGRIMS-DOJ-
   1913   LaNard Taylor      0002107215).
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Exhibit         Witness                   Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                                  Email chain between Roger Austin
                                  and Tim Stiller on or about
          Special Agent           4/14/2017 (PILGRIMS-DOJ-
   1914   LaNard Taylor           0002107280).
                                  Email chain between Robbie
                                  Bryant, Tim Stiller, Roger Austin,
          Special Agent           Sara Fisher, and Rich Eddington
          LaNard Taylor or        on or about 5/10/2017
   1915   Sara Fisher             (PILGRIMS-DOJ-0002107639).
                                  Email chain between Robbie
                                  Bryant, Tim Stiller, Roger Austin,
          Special Agent           and Sara Fisher on or about
          LaNard Taylor or        5/10/2017 (PILGRIMS-DOJ-
   1916   Sara Fisher             0002107640).
          Special Agent           Email chain between Roger
          LaNard Taylor or        Austin, Robbie Bryant, and Sara
          Sara Fisher or Robert   Fisher on or about 5/12/2017
   1917   Bryant                  (PILGRIMS-DOJ-0002107663).
                                  Email chain between Roger Austin
          Special Agent           and Sara Fisher on or about
          LaNard Taylor or        5/12/2017 (PILGRIMS-DOJ-
   1918   Sara Fisher             0002107664).
                                  Handwritten notes written by
                                  Robbie Bryant (PILGRIMS-DOJ-
   1919   Robert Bryant           0002684150).
                                  Email between Tim Mulrenin,
          Special Agent           Rich Eddington, Sara Fisher, and
          LaNard Taylor or        Carl Pepper on or about 2/8/2017
   1920   Sara Fisher             (RSCS018799).
                                  Email between Sara Fisher, Carl
          Special Agent           Pepper, Tim Mulrenin, and Rich
          LaNard Taylor or        Eddington on or about 12/9/2016
   1921   Sara Fisher             (RSCS018974).
                                  Email between Sara Fisher, Dustin
          Special Agent           Cannaday, Mark Wilkerson, and
          LaNard Taylor or        Rich Eddington on or about
   1922   Sara Fisher             12/9/2016 (RSCS019020).
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Exhibit         Witness              Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Email between Sara Fisher, Roger
          Special Agent      Austin, Scott Tucker, and Rich
          LaNard Taylor or   Eddington on or about 12/9/2016
   1923   Sara Fisher        (RSCS019072).
                             Email between Sara Fisher,
          Special Agent      Tommy Francis, and Rich
          LaNard Taylor or   Eddington on or about 12/9/2016
   1924   Sara Fisher        (RSCS019143).
          Special Agent      Excel spreadsheet titled COB Non
          LaNard Taylor or   Static Template-Forecast -
   1925   Sara Fisher        Pilgrims undated (RSCS019172).
          Special Agent      Email between Sara Fisher, Bill
          LaNard Taylor or   Kantola, and Rich Eddington on or
   1926   Sara Fisher        about 12/9/2016 (RSCS019175).
          Special Agent      Email between Sara Fisher, Ric
          LaNard Taylor or   Blake, and Rich Eddington on or
   1927   Sara Fisher        about 12/9/2016 (RSCS019205).
          Special Agent      Email between Sara Fisher, Scott
          LaNard Taylor or   Brady, and Rich Eddington on or
   1928   Sara Fisher        about 12/9/2016 (RSCS019258).
                             Email between Sara Fisher, Rob
          Special Agent      Dowell, Mark Miller, and Rich
          LaNard Taylor or   Eddington on or about 12/9/2016
   1929   Sara Fisher        (RSCS019286).
                             Email chain between Tim
          Special Agent      Mulrenin, Rich Eddington, Sara
          LaNard Taylor or   Fisher, and Carl Pepper on or
   1930   Sara Fisher        about 2/6/2017 (RSCS019365).
                             Email chain between Scott Brady,
          Special Agent      Sara Fisher, and Rich Eddington
          LaNard Taylor or   on or about 2/3/2017 attaching
   1931   Sara Fisher        spreadsheet (RSCS019494).
          Special Agent
          LaNard Taylor or   Excel spreadsheet titled UFPC
   1932   Sara Fisher        Feed Flow Through Pricing for
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Exhibit         Witness              Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Period 1, 2018 Claxton Poultry
                             Company (RSCS019495).


          Special Agent      Email between Sara Fisher and
          LaNard Taylor or   Roger Austin on or about 8/7/2017
   1933   Sara Fisher        attaching PDF (RSCS022185).
          Special Agent      Adobe PDF titled 8-Piece COB
          LaNard Taylor or   Pricing Model dated on or about
   1934   Sara Fisher        6/1/2017 (RSCS022186).
                             Email between Ric Blake and Sara
          Special Agent      Fischer on or about 3/6/2017
          LaNard Taylor or   attaching spreadsheet
   1935   Sara Fisher        (RSCS022923).
                             Excel spreadsheet titled George's
          Special Agent      Inc. KFC Cost Plus Monthly
          LaNard Taylor or   Pricing dated on or about 3/6/2017
   1936   Sara Fisher        (RSCS022924).
                             Email chain between Scott Brady,
                             Rich Eddington, Sara Fisher, and
          Special Agent      Mikell Fries on or about 3/2/2017
          LaNard Taylor or   attaching spreadsheet
   1937   Sara Fisher        (RSCS022925).
          Special Agent      Excel spreadsheet titled UFPC
          LaNard Taylor or   Feed Flow Through Pricing
   1938   Sara Fisher        undated 2018 (RSCS022927).
                             Email chain between Rich
          Special Agent      Eddington, Tim Mulrenin, Sara
          LaNard Taylor or   Fisher, and Carl Pepper on or
   1939   Sara Fisher        about 1/27/2017 (RSCS024859).
                             Calendar invitation regarding COB
                             Discussion including Rich
          Special Agent      Eddington, Sara Fisher, and Roger
          LaNard Taylor or   Austin on or about 3/23/2017
   1940   Sara Fisher        (RSCS025065).
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Exhibit         Witness              Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Calendar invitation regarding Mar-
                             Jac Next KFC COB Agreement
                             Discussion including Sara Fisher,
                             Pete Suerken, Rich Eddington,
          Special Agent      Stephen Campisano, and Tommy
          LaNard Taylor or   Francis, among others, on or about
   1941   Sara Fisher        2/7/2017 (RSCS025592).
                             Calendar invitation regarding
                             George's - next KFC COB
                             Agreement Discussion including
                             Sara Fisher, Pete Suerken, Stephen
          Special Agent      Campisano, Rich Eddington, and
          LaNard Taylor or   Ric Blake on or about 02/13/2017
   1942   Sara Fisher        (RSCS025595).
                             Calendar invitation regarding
                             Tyson - Next KFC COB
                             Agreement Discussion including
                             Sara Fisher, Tim Mulrenin, Carl
          Special Agent      Pepper, Rich Eddington, and others
          LaNard Taylor or   on or about 1/20/2017
   1943   Sara Fisher        (RSCS025596).
                             Calendar invitation regarding Mar-
                             Jac - Next KFC COB Agreement
                             Discussion including Sara Fisher,
                             Kevin Grindle, Tommy Francis,
          Special Agent      Rich Eddington, Pete Suerken, and
          LaNard Taylor or   others on or about 1/23/2017
   1944   Sara Fisher        (RSCS025598).
                             Calendar invitation regarding Koch
                             Foods = Next KFC COB
                             Agreement Discussion including
                             Sara Fisher, Bill Kantola, Rich
          Special Agent      Eddington, Pete Suerken, and
          LaNard Taylor or   Steve Campisano on or about
   1945   Sara Fisher        1/20/2017 (RSCS025599).
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Number
                             Calendar invitation regarding Next
                             KFC COB Agreement Discussion
                             including Sara Fisher, Pete
          Special Agent      Suerken, Roger Austin, Stephen
          LaNard Taylor or   Capisano, and Rich Eddington on
   1946   Sara Fisher        or abut 1/27/2017 (RSCS025601).
                             Calendar invitation regarding
                             Claxton - Next KFC COB
                             Agreement Discussion including
                             Sara Fisher Pete Suerken, Rich
          Special Agent      Eddington, Scott Brady, and
          LaNard Taylor or   Mikell Fries, among others, on or
   1947   Sara Fisher        about 1/19/2017 (RSCS025602).
                             Email chain between Sara Fisher,
          Special Agent      Scott Brady, Mikell Fries, and
          LaNard Taylor or   Rich Eddington on or about
   1948   Sara Fisher        1/27/2017 (RSCS026568).
          Special Agent      Email chain between Sara Fisher,
          LaNard Taylor or   Tim Mulrenin, and Carl Pepper on
   1949   Sara Fisher        or about 1/3/2017 (RSCS026633).
                             Email between Sara Fisher, Rob
          Special Agent      Dowell, Mark Miller, and Rich
          LaNard Taylor or   Eddington on or about 12/9/2016
   1950   Sara Fisher        (RSCS027415).
                             Text message from Carl Pepper to
          Special Agent      Bill Kantola on or about
   1951   LaNard Taylor      04/07/2017 (TY-001635431).
                             Text message from Bill Kantola to
          Special Agent      Carl Pepper on or about 4/7/2017
   1952   LaNard Taylor      (TY-001635432).
                             Email chain between Charlie
                             Solomon, Tim Mulrenin, Steve
                             Cullen, Carl Pepper, Tim
                             Scheiderer, and others on or about
          Special Agent      1/19/2017 attaching images (TY-
   1953   LaNard Taylor      003274482).
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Number
                          Email chain between Pete Suerken,
                          Andy Lubert, Tim Mulrenin, and
          Special Agent   Carl Pepper on or about
   1954   LaNard Taylor   02/20/2017 (TY-005514493).
                          Email chain between Pete Suerken,
                          Andy Lubert, Carl Pepper, and
          Special Agent   Tim Mulrenin on or about
   1955   LaNard Taylor   02/20/2017 (TY-005703815).
                          Interview of Sara Fisher
                          Investigative Record Form with
          Special Agent   date of activity of 03/03/2021
   1956   LaNard Taylor   (Fisher-IRF-ATR-00000001).
                          Calendar invitation regarding Case
                          Farms - Next KFC COB
                          Agreement Discussion including
                          Sara Fisher, Rob Dowell, Rich
                          Eddington, Stephen Campisano,
          Special Agent   and Pete Suerken on or about
   1957   LaNard Taylor   1/19/2017 (RSCS025597).
                          Calendar invitation regarding OK
                          Foods - Next KFC COB
                          Agreement Discussion including
                          Sara Fisher, Pete Suerken, Rich
                          Eddington, Stephen Campisano,
          Special Agent   and Mark Wilkerson on or about
   1958   LaNard Taylor   1/11/2017 (RSCS025600).
                          Excerpt of Roger Austin (770-842-
          Special Agent   9379) toll records (VZW-ATR001-
   1959   LaNard Taylor   00009436).
                          Excerpt of Roger Austin (770-842-
          Special Agent   9379) toll records (VZW-ATR001-
   1960   LaNard Taylor   00009436).
                          Email chain between Jayson Penn,
                          Fabio Sandri, and Bill Lovette on
          Special Agent   or about 12/22/2014 (PILGRIMS-
   2000   LaNard Taylor   0005858337).
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Number
                          Email chain between Jayson Penn,
                          Chad Baker, and Bill Lovette on or
          Special Agent   about 11/26/2014 (PILGRIMS-
   2001   LaNard Taylor   0006956340).
                          Email chain between Jayson Penn,
                          Bill Lovette, and Chad Baker on or
          Special Agent   about 11/26/2014 (PILGRIMS-
   2002   LaNard Taylor   0006956343).
                          Email chain between Jayson Penn,
                          Tim Stiller, Robbie Bryant, Lee
                          Wilson, and Barbara Baker on or
          Special Agent   about 11/24/2014 (PILGRIMS-
   2003   LaNard Taylor   0009084137).
                          Email chain between Jayson Penn,
                          Bill Lovette, and John Curran on
          Special Agent   or about 11/24/2014 (PILGRIMS-
   2004   LaNard Taylor   0009084147).
                          Email chain between Jayson Penn,
                          John Curran, and Bill Lovette on
          Special Agent   or about 11/25/2014 (PILGRIMS-
   2005   LaNard Taylor   0009084158).
                          Email chain between Bill Lovette,
                          Jayson Penn, Larry Higdem, and
          Special Agent   Walt Shafer on or about 1/6/2012
   2006   LaNard Taylor   (PILGRIMS-0009972273).
                          Email chain between Bill Lovette,
                          Jayson Penn, Tim Stiller, John
                          Curran, Robbie Bryant, and others
          Special Agent   on or about 11/26/2014
   2007   LaNard Taylor   (PILGRIMS-DOJ-0000509286).
                          Email chain between Carl Pepper,
                          Debbie Baker, Mary Hale, Jeremy
                          Davidson, and Jeffrey Norman,
          Special Agent   among others, on or about
   2008   LaNard Taylor   11/24/2014 (TY-000434059).
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Number
                          SMS Supplier Agreement dated on
          Special Agent   or about 2/5/2013
   3000   LaNard Taylor   (CLA_0192724).
                          Email between Stephen Campisano
          Special Agent   and Scott Brady on or about
   3001   LaNard Taylor   8/13/2013 (CLA_0192747).
                          Adobe PDF titled Supplier
          Special Agent   Agreement dated on or about
   3002   LaNard Taylor   1/6/2016 (CLAXTON_0137666).
                          Calendar invitation regarding Sales
                          - Antitrust and Legal, Moral,
                          Ethical Training including Darrel
                          Keck, Greg Nelson, Dave Olson,
                          Danny Camper, and Rhonda
          Special Agent   Warble on or about 10/08/2013
   3003   LaNard Taylor   (GEO_0000826258).
                          Email chain between Ric Blake
          Special Agent   and Brian Coan on or about
   3004   LaNard Taylor   1/26/2017 (GEODOJ_0168553).
                          Email chain between, Charles
                          George, Darrel Keck, Greg Nelson,
                          Bob Davenport, and Rick Blake,
          Special Agent   among others on or about
   3005   LaNard Taylor   10/14/2015 (GEODOJ_0225765).
                          Email between John Marler and
                          Jeff Pierce on or about 9/2/2016
          Special Agent   attaching Adobe PDF
   3006   LaNard Taylor   (KOCH_0002118465).
                          Adobe PDF titled SYSCO
                          Corporation Antirust Compliance
                          Guidelines for Category
                          Management Group Meetings
                          dated on or about 9/2/2016
   3007   Melissa Hoyt    (KOCH_0002118466).
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Number
                          Email chain between John Marler,
                          Lance Buckert, Joe Grendys, and
                          Jeff Pierce on or about 8/25/2016
          Special Agent   attaching Word document
   3008   LaNard Taylor   (KOCH_0002222819).
                          Word document titled Sysco
                          Corporation Antitrust Compliance
                          Guidelines for Category
                          management Group Meetings
   3009   Melissa Hoyt    undated (KOCH_0002222821).
                          Email between CSCS Supply
                          Chain Partner Summit and CSCS
                          Supply Chain Partner Summit on
          Special Agent   or about 1/20/2017
   3010   LaNard Taylor   (KOCHFOODS-0000097181).
                          Email between Bill Kantola and
          Special Agent   Joe Grendys on or about 4/9/2019
   3011   LaNard Taylor   (KOCHFOODS-0000098814).
                          Email between Wade Martin and
                          Bill Kantola on or about
          Special Agent   11/12/2013 (KOCHFOODS-
   3012   LaNard Taylor   0000125826).
                          Adobe PDF titled Supply
                          Agreement for Church's Chicken
          Special Agent   on or about 12/30/2013
   3013   LaNard Taylor   (KOCHFOODS-0000143974).
                          Adobe PDF titled Supply
                          Agreement for Church's Chicken
          Special Agent   dated on or about 5/26/2015
   3014   LaNard Taylor   (KOCHFOODS-0000195322).
                          Email to Bill Kantola on or about
          Special Agent   04/08/2014 attaching Adobe PDF
   3015   LaNard Taylor   (KOCHFOODS-0000203040).
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Number
                          Adobe PDF titled Supply
                          Agreement For Church's Chicken
          Special Agent   dated on or about 12/30/2013
   3016   LaNard Taylor   (KOCHFOODS-0000203041).
                          Email between E Copy Koch
                          Foods and Bill Kantola on or about
          Special Agent   8/19/2014 attaching Adobe PDF
   3017   LaNard Taylor   (KOCHFOODS-0000227519).
                          Email chain between Jayson Penn,
                          Bill Lovette, and Steve Smith on or
                          about 11/4/2011 attaching
          Special Agent   spreadsheets (PILGRIMS-
   3018   LaNard Taylor   0002644316).
                          Email chain between Jody Hardin,
                          Tom Bell, Terri Ferguson, Randy
                          Meyers, and Jayson Penn, among
          Special Agent   others, on or about 9/9/2013
   3019   LaNard Taylor   (PILGRIMS-0003515425).
                          Adobe PDF titled
                          AGRICULTURAL MARKETING
                          SERVICE MASTER
                          SOLICITATION FOR
                          COMMODITY
                          PROCUREMENTS dated on or
          Special Agent   about 2013 (PILGRIMS-
   3020   LaNard Taylor   0003515458).
                          Email chain between Tim Stiller
                          and Jason McGuire on or about
          Special Agent   8/7/2014 (PILGRIMS-
   3021   LaNard Taylor   0005803932).
                          Email chain between David
                          Blackmon and Bill Lovette on or
          Special Agent   about 05/30/2014 (PILGRIMS-
   3022   LaNard Taylor   0006743892).
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Number
                          Email chain between Steven
                          Ledbetter, Justin Gay, Roger
                          Austin, Daniel Tarter, and Lonita
                          Marie Barron, among others, on or
          Special Agent   about 7/29/2016 (PILGRIMS-
   3023   LaNard Taylor   0007597249).
                          Adobe PDF titled Church's
                          Chicken Bid Package dated on or
          Special Agent   about 7/29/2016 (PILGRIMS-
   3024   LaNard Taylor   0007597251).
                          Email between Jayson Penn and
                          Bill Lovette on or about
          Special Agent   07/24/2013 (PILGRIMS-
   3025   LaNard Taylor   0009051822).
                          Email between Bill Lovette and
          Special Agent   Jayson Penn on or about 1/5/2016
   3026   LaNard Taylor   (PILGRIMS-0009107908).
                          Email chain between Dean
                          Bradley, Jimmie Little, Kim Pryor
                          and Craig Prusher on or about
          Special Agent   5/11/2015 (PILGRIMS-DOJ-
   3027   LaNard Taylor   0000180409).
                          Adobe PDF titled Supply
                          Agreement for Church's Chicken
          Special Agent   dated on or about 12/29/2014
   3028   LaNard Taylor   (PILGRIMS-DOJ-0000180410).
                          Email chain between Steven
                          Ledbetter, Justin Gay, Roger
                          Austin, Daniel Tarter, and Lonita
                          Marie Barron, among others, on or
          Special Agent   about 7/29/2016 (PILGRIMS-
   3029   LaNard Taylor   DOJ-0000404827).
                          Adobe PDF titled Church's
          Special Agent   Chicken BID PACKAGE undated
   3030   LaNard Taylor   (PILGRIMS-DOJ-0000404829).
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 Trial
Exhibit         Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Text message from Don Lovette to
                          Jayson Penn dated on or about
          Special Agent   4/22/2015 (PILGRIMS-DOJ-
   3031   LaNard Taylor   0000487527).
                          Text message from Bill Lovette to
                          Jayson Penn and Don Lovette on
          Special Agent   or about 4/22/2015 (PILGRIMS-
   3032   LaNard Taylor   DOJ-0000487528).
                          Email chain between Jimmie
                          Little, Jayson Penn, and Kim Pryor
                          on or about 3/26/2015 attaching
          Special Agent   Adobe PDF (PILGRIMS-DOJ-
   3033   LaNard Taylor   0000504247).
                          Adobe PDF titled Pilgrim's Anti
                          Trust and FCPA Training dated on
          Special Agent   or about 11/20/2019 (PILGRIMS-
   3034   LaNard Taylor   DOJ-0000508747).
                          Text message from Jayson Penn
          Special Agent   dated on or about 6/9/2019
   3035   LaNard Taylor   (PILGRIMS-DOJ-0000509278).
                          Text message from Bill Lovette to
          Special Agent   Jayson Penn on or about 6/9/2019
   3036   LaNard Taylor   (PILGRIMS-DOJ-0000509279).
                          Email chain between Jayson Penn,
                          Jason McGuire, Brenda Ray, Rob
                          Alsberg, and Jimmie Little, among
          Special Agent   others, on or about 9/1/2012
   3037   LaNard Taylor   (PILGRIMS-DOJ-0000509304).
                          Email chain between Jayson Penn,
                          Charles Von Der Heyde, and Bill
          Special Agent   Lovette on or about 7/31/2014
   3038   LaNard Taylor   (PILGRIMS-DOJ-0000513475).
                          Text message from Tim Stiller to
                          Robbie Bryant on or about
                          4/18/2017 (PILGRIMS-DOJ-
   3039   Robert Bryant   0000918542).
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Exhibit        Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Letter from Thomas Lane to
                          Jayson Penn on or about
          Special Agent   06/29/2014 (PILGRIMS-DOJ-
   3040   LaNard Taylor   0002521664).
                          Word document titled Fabio Sandri
          Special Agent   dated on or about 4/20/2015
   3041   LaNard Taylor   (PILGRIMS-DOJ-0002538105).
                          Email chain between Travis Koch,
                          Jayson Penn, Nicholas White, and
                          Jimmie Little on or about
                          02/27/2014 attaching images and
          Special Agent   Adobe PDF (PILGRIMS-DOJ-
   3042   LaNard Taylor   0002931651).
                          Adobe PDF titled Supply
                          Agreement for Church's Chicken
          Special Agent   dated on or about 12/30/2013
   3043   LaNard Taylor   (PILGRIMS-DOJ-0002931654).
                          Adobe PDF titled SUPPLY
                          AGREEMENT FOR CHURCH'S
          Special Agent   CHICKEN dated 12/30/2013
   3044   LaNard Taylor   (PILGRIMS-DOJ-0004219372).
                          Adobe PDF titled SUPPLY
                          AGREEMENT FOR CHURCH'S
                          CHICKEN dated on or about
          Special Agent   12/30/2013 (PILGRIMS-DOJ-
   3045   LaNard Taylor   0004219403).
                          Email chain between Travis Koch,
                          Jayson Penn, and Nicholas White
                          on or about 02/27/2014 attaching
          Special Agent   Adobe PDF (PILGRIMS-DOJ-
   3046   LaNard Taylor   0004219431).
                          Adobe PDF titled SUPPLY
                          AGREEMENT FOR CHURCH'S
          Special Agent   CHICKEN dated 12/30/2013
   3047   LaNard Taylor   (PILGRIMS-DOJ-0004219434).
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Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Travis Koch,
                          Jayson Penn, Jimmie Little, and
                          Nicholas White on or about
          Special Agent   02/27/2014 attaching PDF
   3048   LaNard Taylor   (PILGRIMS-DOJ-0004219462).
                          Adobe PDF titled SUPPLY
                          AGREEMENT FOR CHURCH'S
                          CHICKEN dated on or about
          Special Agent   12/30/2013 (PILGRIMS-DOJ-
   3049   LaNard Taylor   0004219465).
                          Email chain between Travis Koch,
                          Jimmie Little, Jayson Penn, and
                          Tracey Greenwell on or about
          Special Agent   03/05/2014 attaching Adobe PDF
   3050   LaNard Taylor   (PILGRIMS-DOJ-0004219674).
                          Adobe PDF titled SUPPLY
                          AGREEMENT FOR CHURCH'S
                          CHICKEN dated on or about
          Special Agent   12/30/2013 (PILGRIMS-DOJ-
   3051   LaNard Taylor   0004219676).
                          Email from Jimmie Little to Dean
                          Bradley on or about 03/05/2014
          Special Agent   attaching Adobe PDF
   3052   LaNard Taylor   (PILGRIMS-DOJ-0004616685).
                          Adobe PDF titled SUPPLY
                          AGREEMENT FOR CHURCH'S
                          CHICKEN dated on or about
          Special Agent   12/30/2013 (PILGRIMS-DOJ-
   3053   LaNard Taylor   0004616686).
                          Adobe PDF titled Pricing and
          Special Agent   Competitive Information Policy
   3054   LaNard Taylor   (TE-0000005988).
                          Deposition transcript of Mikell
          Special Agent   Fries dated on or about 5/16/2019
   3055   LaNard Taylor   (TE-0000046178).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Adobe PDF titled Pricing and
                          Competitive Information Policy
          Special Agent   dated on or about 12/29/2008 (TF-
   3056   LaNard Taylor   0007869777).
                          Email between Scott Brady and
          Special Agent   Carl Pepper on or about 5/29/2014
   3057   LaNard Taylor   (TY-000115390).
                          Email chain between Carl Pepper
          Special Agent   and Scott Brady on or about
   3058   LaNard Taylor   5/29/2014 (TY-000250357).
                          Email chain between Fibi Green
                          and Tara Love on or about
          Special Agent   9/24/2014 attaching excel (TY-
   3059   LaNard Taylor   001423518).
                          Excel spreadsheet titled Mgmt
                          FY14 GAC_Antitrust CBT
          Special Agent   Completion Report_092414.xlsx
   3060   LaNard Taylor   (TY-001423519).
                          Email between Joe Lloyd and Tim
          Special Agent   Mulrenin on or about 04/07/2014
   3061   LaNard Taylor   (TY-001455096).
                          Email between Joe Lloyd and Tim
          Special Agent   Mulrenin on or about 02/20/2014
   3062   LaNard Taylor   (TY-001483785).
                          Email between Joe Lloyd and Tim
          Special Agent   Mulrenin on or about 02/20/2014
   3063   LaNard Taylor   (TY-001606985).
                          Email chain between Joe Lloyd,
                          Scott Johnson, John Mullen, Tim
                          Lockhart, and Bill Keisel, among
          Special Agent   others, on or about 9/30/2014 (TY-
   3064   LaNard Taylor   001607846).
                          Email between CLE Event and
          Special Agent   Brian Roberts on or about
   3065   LaNard Taylor   11/26/2014 (TY-001608171).
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Exhibit        Witness            Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email between Joe Lloyd and
                          Brian Roberts on or about
          Special Agent   7/16/2014 attaching calendar
   3066   LaNard Taylor   invitation (TY-001623102).
                          Calendar invitation regarding Anti-
                          Corruption and Antitrust Live
                          Training Session including Joe
          Special Agent   Lloyd on or about 8/14/2014 (TY-
   3067   LaNard Taylor   001623103).
                          Email chain between Dean
                          Bradley, Brian Roberts, Tim
                          Mulrenin, Brian Roberts, and Chris
                          Ward, among others on or about
          Special Agent   09/22/2014 attaching PDF of
   3068   LaNard Taylor   agreement (TY-001623403).
                          Email chain between Tim
                          Mulrenin, Brian Roberts, Carl
                          Pepper, Jared Mitchell, and Barry
                          Barnett, among others, on or
          Special Agent   around 11/2/2015 attaching Adobe
   3069   LaNard Taylor   PDF (TY-001903667).
                          Adobe PDF titled SUPPLY
                          AGREEMENT FOR CHURCH'S
          Special Agent   CHICKEN dated on or about
   3070   LaNard Taylor   12/28/2015 (TY-003250371).
                          Adobe PDF titled SUPPLY
                          AGREEMENT FOR CHURCH'S
          Special Agent   CHICKEN dated 12/28/2015 (TY-
   3071   LaNard Taylor   003274408).
                          Adobe PDF titled Supply
                          Agreement for Church's Chicken
          Special Agent   dated on or about 12/28/2015 (TY-
   3072   LaNard Taylor   003515621).
                          Adobe PDF titled SUPPLY
                          AGREEMENT FOR CHURCH'S
          Special Agent   CHICKEN dated on or about
   3073   LaNard Taylor   12/28/2015 (TY-004289587).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Adobe PDF titled Supply
                          Agreement For Church's Chicken
          Special Agent   dated on or about 7/18/2016 (TY-
   3074   LaNard Taylor   004345675).
                          Adobe PDF titled SUPPLY
                          AGREEMENT FOR CHURCH'S
          Special Agent   CHICKEN dated on or about
   3075   LaNard Taylor   12/28/2015 (TY-004351494).
                          Email chain between Andy Lubert
          Special Agent   and Joe Lloyd on or about
   3076   LaNard Taylor   9/30/2014 (TY-005359752).
          Special Agent   Excel spreadsheet titled Gary
   3077   LaNard Taylor   Roberts (TY-007001140).
                          Adobe PDF titled Anti-Corruption
          Special Agent   and Antitrust Training undated
   3078   LaNard Taylor   (TY-007001247).
                          Adobe PDF titled Anti-Corruption
          Special Agent   & Antitrust Training undated (TY-
   3079   LaNard Taylor   007001248).
                          Adobe PDF titled Antitrust Policy
          Special Agent   Training FY2014 undated (TY-
   3080   LaNard Taylor   007001257).
                          Email chain between Walter
                          Cooper, Mikell Fries, and Kent
                          Kronauge on or about 10/6/2009
          Special Agent   attaching PDFs
   3081   LaNard Taylor   (CLAXTON_0011443).
                          Adobe PDF titled RFP strips
                          Template dated on or about
          Special Agent   10/06/2009
   3082   LaNard Taylor   (CLAXTON_0011461).
                          PowerPoint presentation titled 006
          Special Agent   170828 Sales Presentation
   3083   LaNard Taylor   (GEODOJ_0225815).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          PowerPoint presentation titled 012
                          121205 - George's sales
          Special Agent   presentation with notes (Final)
   3084   LaNard Taylor   (GEODOJ_0225855).
                          PowerPoint presentation titled 018
                          George's sales presentation v 1
          Special Agent   dated on or about 7/1/2010
   3085   LaNard Taylor   (GEODOJ_0225894).
                          PowerPoint presentation titled
                          121207 - George's sales
                          presentation Show without notes
          Special Agent   (Final) dated on or about
   3086   LaNard Taylor   12/7/2012 (GEODOJ_0225923).
                          Email chain between Tim
                          Mulrenin, Jared Mitchell, Joe
          Special Agent   Lloyd, and Tara Love on or about
   3087   LaNard Taylor   09/17/2014 (TY-001460093).
                          Adobe PDF titled Supply
                          Agreement for Church's Chicken
          Special Agent   dated on or about 12/28/2015 (TY-
   3088   LaNard Taylor   001903668).
                          Email chain between Jimmie
                          Little, Sheri Garland, Myrno
                          Alfaro, Paul Bracewell, among
          Special Agent   others, on or about 06/18/2013
   4000   LaNard Taylor   (PILGRIMS-0002990149).
                          Email chain between Bill Lovette
                          and Fabio Sandri on or about
          Special Agent   07/23/2013 (PILGRIMS-
   4001   LaNard Taylor   0005749550).
                          Email from Roger Austin to Jayson
          Special Agent   Penn on or about 11/26/2012
   4002   LaNard Taylor   (PILGRIMS-0005835856).
                          Email between Jimmie Little and
                          Jayson Penn on or about
          Special Agent   05/10/2013 (PILGRIMS-
   4003   LaNard Taylor   0005842400).
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Exhibit         Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Scott Tucker,
                          Tim Stiller, Robbie Bryant, and
                          Roger Austin on or about
                          9/30/2014 (PILGRIMS-
   4004   Robert Bryant   0005934812).
                          Email chain between Scott Tucker,
                          Robbie Bryant, Tim Stiller, and
                          Roger Austin on or about
                          9/30/2014 (PILGRIMS-
   4005   Robert Bryant   0005934813).
                          Email chain between Bill Lovette
                          and Tom Bell on or about
          Special Agent   08/08/2013 (PILGRIMS-
   4006   LaNard Taylor   0006740629).
                          Email chain between Bill Lovette
                          and Jayson Penn on or about
          Special Agent   3/17/2013 (PILGRIMS-
   4007   LaNard Taylor   0006904055).
                          Email chain between Jayson Penn
                          and Don Lovette on or about
          Special Agent   10/04/2013 (PILGRIMS-
   4008   LaNard Taylor   0006927734).
                          Email chain between Bill Lovette,
                          Eric Oare, Tim Stiller, and Justin
          Special Agent   Gay on or about 10/23/2015
   4009   LaNard Taylor   (PILGRIMS-0007084342).
                          Email chain between Bill Lovette
                          and Victor Machado on or about
          Special Agent   2/6/2012 (PILGRIMS-
   4010   LaNard Taylor   0008931586).
                          Email chain between Jayson Penn
                          and Bill Lovette on or about
          Special Agent   11/21/2011 (PILGRIMS-
   4011   LaNard Taylor   0009031705).
                          Email between Jimmie Little and
          Special Agent   Jayson Penn on or about 4/5/2013
   4012   LaNard Taylor   (PILGRIMS-0009046107).
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Exhibit        Witness            Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email between Jimmie Little and
                          Jayson Penn on or about
          Special Agent   06/07/2013 (PILGRIMS-
   4013   LaNard Taylor   0009051137).
                          Calendar invitation regarding Sales
                          Planning/ 2014 Budget including
                          Bill Lovette, Kyle Bolin, Jason
                          McGuire, Terri Ferguson, and Tom
                          Bell, among others, on or about
          Special Agent   07/08/2013 (PILGRIMS-
   4014   LaNard Taylor   0009318201).
                          Calendar invitation regarding
                          Follow-up Call on KFC 10amMT
                          including Bill Lovette, Roger
                          Austin, Jayson Penn, and Sheri
          Special Agent   Garland on or about 08/08/2013
   4015   LaNard Taylor   (PILGRIMS-0009318584).
                          Text message from Bill Lovette to
                          Jayson Penn on or about
          Special Agent   10/14/2014 (PILGRIMS-DOJ-
   4016   LaNard Taylor   0000484628).
                          Handwritten notes written by Bill
                          Lovette dated on or about
          Special Agent   10/14/2014 (PILGRIMS-DOJ-
   4017   LaNard Taylor   0000484629).
                          Text message from Roger Austin
                          to Jayson Penn on or about
          Special Agent   11/18/2014 (PILGRIMS-DOJ-
   4018   LaNard Taylor   0000485160).
                          Text message from Bill Lovette to
          Special Agent   Jayson Penn on or about 11/2/2015
   4019   LaNard Taylor   (PILGRIMS-DOJ-0000490451).
                          Email chain between Eric Oare,
          Special Agent   Bill Lovette, Holcer Chavez, and
   4020   LaNard Taylor   Rangel Capparelli on or about
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Exhibit        Witness            Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          6/24/2016 (PILGRIMS-DOJ-
                          0000622261).


                          Email between Jayson Penn and
          Special Agent   Roger Austin on or about 2/6/2013
   4021   LaNard Taylor   (PILGRIMS-DOJ-0002682056).
                          Email between Roger Austin,
                          Jayson Penn, and Thomas Lane on
          Special Agent   or about 2/6/2013 (PILGRIMS-
   4022   LaNard Taylor   DOJ-0002682057).
                          Toll records for Jimmie Little
                          (2147556081) on or about
          Special Agent   8/18/2020 to 8/19/2020 (FBI-
   5000   LaNard Taylor   ATR008-00000032).
                          Toll records for Jimmie Little
                          (2147556081) on or about
          Special Agent   08/14/2020 to 10/12/2020 (FBI-
   5001   LaNard Taylor   ATR008-00000033).
                          Toll records for Jimmie Little
                          (2147556081) on or about
          Special Agent   08/17/2020 to 08/20/2020 (FBI-
   5002   LaNard Taylor   ATR008-00000041).
                          Information Under Court Order
                          FD-302 with investigation dated
          Special Agent   on or about 10/13/2020 (FBI-
   5003   LaNard Taylor   ATR007-00000053).
          Special Agent   Adobe PDF titled Count of Contact
   5004   LaNard Taylor   undated (GJ-ATR002-00000565).
                          Adobe PDF titled 302 of 9.22.20
                          Interview of Jimmie Little dated on
          Special Agent   or about 9/22/2020 (Little-302-
   5005   LaNard Taylor   ATR001-00000001).
                          Adobe PDF titled 302 of 9.23.20
                          Interview of Jimmie Little dated on
          Special Agent   or about 9/23/2020 (Little-302-
   5006   LaNard Taylor   ATR002-00000001).
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Exhibit         Witness           Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Adobe PDF titled Interview of
          Special Agent   Jimmie Lee Little dated on or
          Matthew         about 8/31/2020 (Little-IRF-
   5007   Koppenhaver     ATR001-00000001).
                          Adobe PDF titled Interview of
          Special Agent   Jimmie Lee Little dated on or
          Matthew         about 8/31/2020 (Little-IRF-
   5008   Koppenhaver     ATR001-00000004).
                          Adobe PDF titled Interview of
          Special Agent   Jimmie Lee Little dated on or
          Matthew         about 8/31/2020 (Little-IRF-
   5009   Koppenhaver     ATR001-00000006).
          Special Agent   Handwritten notes written by
          Matthew         Matthew Koppenhaver undated
   5010   Koppenhaver     (Little-Notes-ATR001-00000001).
                          Handwritten notes written by
          Special Agent   Matthew Koppenhaver dated on or
          Matthew         about 9/22/2020 (Little-Notes-
   5011   Koppenhaver     ATR002-00000001).
          Special Agent   Adobe PDF untitled undated
   5012   LaNard Taylor   (Little-Notes-ATR003-00000001).
                          Search history pulled from Jimmie
          Special Agent   Little's device (Little-SW-
   5013   LaNard Taylor   ATR003-00000001).
                          Email chain between Jimmie
                          Little, Roger Austin, and Steve
          Special Agent   Smith on or about 8/29/2011
   5014   LaNard Taylor   (PILGRIMS-0005995022).
                          Email chain between Jimmie Little
                          and Carl Pepper on or about
          Special Agent   6/9/2015 (PILGRIMS-DOJ-
   5015   LaNard Taylor   0004624087).
                          Email chain between Jimmie Little
          Special Agent   and Carl Pepper on or about
   5016   LaNard Taylor   06/09/2015 (TY-000000107).
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Exhibit         Witness               Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                              Email chain between Carl Pepper,
                              Russell Thomas, Brian Arterbury,
          Special Agent       and Brandon Campbell on or about
   5017   LaNard Taylor       8/23/2012 (TY-000030955).
          Special Agent       Secure File Collaboration email on
          Matthew             or about 9/17/2020 (DOJ-ATR028-
   5018   Koppenhaver         00000003).
                              Email chain between Jimmie Little
          Special Agent       and Carl Pepper on or about
          Matthew             6/9/2015 (LITTLE-IRF-ATR001-
   5019   Koppenhaver         00000009).
                              Toll records for Carl Pepper ((479)
          Special Agent       879-2092) dated on or about
          Matthew             8/23/2012 (LITTLE-IRF-ATR001-
   5020   Koppenhaver         00000013).
          Special Agent       Jimmie Little iPhone Contacts
          LaNard Taylor and   Report from volume
   5021   Rebecca Nelson      BR_CHICK_063.
                              Email chain between Scott Brady,
                              Mikell Fries, and Kent Kronauge
          Special Agent       on or about 4/25/2013
   6000   LaNard Taylor       (CLA_0074707).
                              Email between Scott Brady and
          Special Agent       Mikell Fries on or about 8/13/2013
   6001   LaNard Taylor       (CLA_0078018).
                              Email chain between Scott Brady
          Special Agent       and Mikell Fries on or about
   6002   LaNard Taylor       4/16/2014 (CLA_0078153).
                              Email chain between Scott Brady,
                              Mikell Fries, and Searcy Wildes on
          Special Agent       or about 6/27/2014 attaching
   6003   LaNard Taylor       spreadsheet (CLA_0078156).
                              Excel spreadsheet titled 2013
                              Chick-fil-a Grain Based Model Act
          Special Agent       082113 on or about 08/21/2013
   6004   LaNard Taylor       (CLA_0078157).
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Exhibit         Witness              Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Email chain between Scott Brady,
                             Mikell Fries, and Searcy Wildes on
          Special Agent      or about 8/7/2014 attaching
   6005   LaNard Taylor      spreadsheet (CLA_0078158).
                             Email chain between Scott Brady,
                             Mikell Fries, Justin Gay, and
                             David Rothmeier on or about
          Special Agent      8/8/2014 attaching spreadsheet
   6006   LaNard Taylor      (CLA_0078161).
                             Excel spreadsheet titled 2012
          Special Agent      Chick-fil-a Grain Based Model
   6007   LaNard Taylor      final undated (CLA_0078163).
                             Email chain between Scott Brady,
          Special Agent      Mikell Fries, Justin Gay, and
          LaNard Taylor or   David Rothmeier on or about
   6008   David Rothmeier    8/8/2014 (CLA_0078164).
                             Email from Scott Brady to Mikell
          Special Agent      Fries on or about 9/4/2015
   6009   LaNard Taylor      (CLA_0078783).
                             Email between Justin Gay and
          Special Agent      Scott Brady on or about 1/18/2018
   6010   LaNard Taylor      (CLA_0082918).
                             Excel spreadsheet titled Urner
          Special Agent      Barry History, undated
   6011   LaNard Taylor      (CLA_0082919).
                             Email chain between Scott Brady,
                             Phil Campbell, and Justin Gay on
          Special Agent      or about 11/3/2015
   6012   LaNard Taylor      (CLA_0085948).
          Special Agent      Excel spreadsheet titled Urner
   6013   LaNard Taylor      Barry undated (CLA_0085950).
                             Email chain between Scott Brady,
          Special Agent      Mikell Fries, and Justin Gay on or
   6014   LaNard Taylor      about 8/19/2015 (CLA_0108324).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Excel spreadsheet titled Urner
          Special Agent   Barry History undated
   6015   LaNard Taylor   (CLA_0108325).
                          Email chain between Scott Brady
          Special Agent   and Greg Finch on or about
   6016   LaNard Taylor   9/2/2015 (CLA_0108373).
                          Email chain between Scott Brady,
                          Greg Finch, Tommy Francis, and
          Special Agent   Justin Gay on or about 8/19/2016
   6017   LaNard Taylor   (CLA_0109225).
                          Excel spreadsheet titled Urner
          Special Agent   Barry History undated
   6018   LaNard Taylor   (CLA_0109226).
                          Email chain between Scott Brady,
                          Greg Finch, Mikell Fries, and
          Special Agent   Justin Gay on or about 10/7/2016
   6019   LaNard Taylor   (CLA_0109566).
                          Excel spreadsheet titled Urner
          Special Agent   Barry History dated on or about
   6020   LaNard Taylor   10/7/2016 (CLA_0109567).
                          Email chain between Scott Brady,
          Special Agent   Mikell Fries, and Justin Gay on or
   6021   LaNard Taylor   about 2/3/2014 (CLA_132729).
                          Excel spreadsheet titled URNER
          Special Agent   BARRY HISTORY undated
   6022   LaNard Taylor   (CLA_0132730).
                          Email chain between Scott Brady,
                          Greg Finch, Mikell Fries, and
                          Justin Gay on or about 7/25/2014
          Special Agent   attaching spreadsheet
   6023   LaNard Taylor   (CLA_0132741).
                          Excel spreadsheet titled URNER
          Special Agent   BARRY HISTORY MAJOR
   6024   LaNard Taylor   ITEMS undated (CLA_0132742).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Justin Gay,
                          Mikell Fries, Scott Brady, and
                          Greg Finch on or about 9/9/2014
          Special Agent   attaching spreadsheet
   6025   LaNard Taylor   (CLA_0132762).
                          Excel spreadsheet titled Urner
          Special Agent   Barry History dated on or about
   6026   LaNard Taylor   09/09/2014 (CLA_0132764).
                          Email chain between Scott Brady,
                          Mikell Fries, and Walter Cooper
          Special Agent   on or about 9/11/2014
   6027   LaNard Taylor   (CLA_0132770).
                          Email chain between Scott Brady,
                          Greg Finch, Mikell Fries, and
                          Jeramie Martin on or about
          Special Agent   3/13/2015 attaching Excel
   6028   LaNard Taylor   spreadsheet (CLA_0133075).
                          Excel spreadsheet titled Urner
          Special Agent   Barry dated on or about 3/13/2015
   6029   LaNard Taylor   (CLA_0133076).
                          Email chain between Scott Brady,
          Special Agent   Mikell Fries, and Justin Gay on or
   6030   LaNard Taylor   about 5/21/2015 (CLA_0133108).
                          Excel Spreadsheet titled Urner
          Special Agent   Barry History undated
   6031   LaNard Taylor   (CLA_0133109).
                          Email chain between Scott Brady,
          Special Agent   Mikell Fries, and Justin Gay on or
   6032   LaNard Taylor   about 6/26/2015 (CLA_0133156).
          Special Agent   Excel spreadsheet titled UB
   6033   LaNard Taylor   History undated (CLA_0133157).
                          Email chain between Scott Brady,
                          Mikell Fries, and Kent Kronauge
          Special Agent   on or about 9/14/2015
   6034   LaNard Taylor   (CLA_0133286).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Scott Brady,
                          Greg Finch, Mikell Fries, and
          Special Agent   Justin Gay on or about 1/4/2016
   6035   LaNard Taylor   (CLA_0133332).
                          Excel spreadsheet titled Urner
          Special Agent   Barry History undated
   6036   LaNard Taylor   (CLA_0133333).
                          Email chain between Scott Brady,
                          Greg Finch, Mikell Fries, and
          Special Agent   Justin Gay on or about 2/2/2016
   6037   LaNard Taylor   (CLA_0133337).
                          Excel spreadsheet titled Urner
          Special Agent   Barry History undated
   6038   LaNard Taylor   (CLA_0133338).
                          Email between Kent Kronauge and
          Special Agent   Mikell Fries on or about
   6039   LaNard Taylor   02/27/2017 (CLA_0133441).
                          Email chain between Mikell Fries
          Special Agent   and Kent Kronauge on or about
   6040   LaNard Taylor   02/27/2017 (CLA_0133442).
                          Email chain between Scott Brady,
          Special Agent   Greg Finch, and Mikell Fries on or
   6041   LaNard Taylor   about 1/18/2018 (CLA_0143329).
                          Excel spreadsheet titled Urner
          Special Agent   Barry History undated
   6042   LaNard Taylor   (CLA_0143330).
                          Email chain between Mikell Fries,
                          Jeramie Martin, Scott Brady, and
          Special Agent   Greg Finch on or about 1/24/2018
   6043   LaNard Taylor   (CLA_0143373).
                          Excel spreadsheet titled Urner
          Special Agent   Barry History, undated
   6044   LaNard Taylor   (CLA_0143374).
                          Email between Scott Brady and
          Special Agent   Mikell Fries on or about 1/21/2013
   6045   LaNard Taylor   (CLA_0192187).
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Number
                          Email chain between Mikell Fries
          Special Agent   and Scott Brady on or about
   6046   LaNard Taylor   06/20/2013 (CLA_0192603).
                          Email chain between Mikell Fries
          Special Agent   and Scott Brady on or about
   6047   LaNard Taylor   06/20/2013 (CLA_0192604).
                          Email between Justin Gay, Scott
          Special Agent   Brady, and David Rothmeier, on or
   6048   LaNard Taylor   about 8/22/2013 (CLA_0192768).
                          Email from Scott Brady to Scott
          Special Agent   Brady on or about 10/01/2013
   6049   LaNard Taylor   (CLA_0192878).
                          Email chain between Scott Brady
                          and David Rothmeier on or about
          Special Agent   10/01/2013 attaching Freight Rates
   6050   LaNard Taylor   (CLA_0192879).
                          Excel spreadsheet titled Chicken
          Special Agent   Freight 2014, undated
   6051   LaNard Taylor   (CLA_0192880).
                          Email chain between Scott Brady
          Special Agent   and himself on or about
   6052   LaNard Taylor   01/06/2014 (CLA_0193330).
                          Email chain between Scott Brady
          Special Agent   and himself on or about
   6053   LaNard Taylor   03/28/2014 (CLA_0193572).
                          Email chain between Scott Brady
          Special Agent   and himself on or about
   6054   LaNard Taylor   04/01/2014 (CLA_0193616).
                          Email between Scott Brady and
          Special Agent   himself on or about 04/15/2014
   6055   LaNard Taylor   (CLA_0193683).
                          Email chain from Scott Brady to
          Special Agent   himself on or about 4/18/2014
   6056   LaNard Taylor   (CLA_0193709).
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Exhibit        Witness            Brief Description         Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain from Scott Brady to
          Special Agent   himself on or about 5/15/2014
   6057   LaNard Taylor   (CLA_0193773).
                          Email chain from Scott Brady to
          Special Agent   himself on or about 6/13/2014
   6058   LaNard Taylor   (CLA_0194009).
                          Email chain from Scott Brady to
          Special Agent   himself on or about 6/26/2014
   6059   LaNard Taylor   (CLA_0194046).
                          Email chain from Scott Brady to
          Special Agent   himself on or about 7/7/2014
   6060   LaNard Taylor   (CLA_0194106).
                          Email chain from Scott Brady to
          Special Agent   himself on or about 7/24/2014
   6061   LaNard Taylor   (CLA_0194188).
                          Email chain from Scott Brady to
          Special Agent   himself on or about 7/24/2014
   6062   LaNard Taylor   (CLA_0194190).
                          Email chain from Scott Brady to
          Special Agent   himself on or about 10/1/2014
   6063   LaNard Taylor   (CLA_0194534).
                          Email chain from Scott Brady to
          Special Agent   himself on or about 10/3/2014
   6064   LaNard Taylor   (CLA_0194544).
                          Email chain between Scott Brady
          Special Agent   and Kent Kronauge on or about
   6065   LaNard Taylor   5/1/2015 (CLA_0195273).
                          Email chain between Scott Brady
          Special Agent   and Kent Kronauge on or about
   6066   LaNard Taylor   9/11/2015 (CLA_0195900).
                          Email chain between Scott Brady
          Special Agent   and Justin Gay on or about
   6067   LaNard Taylor   10/8/2015 (CLA_0197024).
                          Excel spreadsheet titled Urner
          Special Agent   Barry History dated on or about
   6068   LaNard Taylor   10/8/2015 (CLA_0197025).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email between Scott Brady, Greg
                          Finch, Mikell Fries, and Jeramie
          Special Agent   Martin on or about 10/8/2015
   6069   LaNard Taylor   (CLA_0197026).
                          Excel spreadsheet titled Urner
          Special Agent   Barry History dated on or about
   6070   LaNard Taylor   10/8/2015 (CLA_0197027).
                          Email between Scott Brady and
          Special Agent   Jerry Wilson on or about
   6071   LaNard Taylor   10/8/2015 (CLA_0197028).
                          Excel spreadsheet titled Urner
          Special Agent   Barry History dated on or about
   6072   LaNard Taylor   10/8/2015 (CLA_0197029).
                          Email chain between Scott Brady
          Special Agent   and Justin Gay on or about
   6073   LaNard Taylor   12/2/2015 (CLA_0197493).
                          Excel spreadsheet titled Urner
          Special Agent   Barry History dated on or about
   6074   LaNard Taylor   12/2/2015 (CLA_0197495).
                          Email between Justin Gay to Scott
          Special Agent   Brady on or about 1/4/2016
   6075   LaNard Taylor   (CLA_0198168).
                          Excel spreadsheet titled Urner
          Special Agent   Barry History undated
   6076   LaNard Taylor   (CLA_0198169).
                          Email chain between Justin Gay
          Special Agent   and Scott Brady on or about
   6077   LaNard Taylor   4/18/2019 (CLA_0223256).
                          Excel spreadsheet titled Urner
          Special Agent   Barry History, undated
   6078   LaNard Taylor   (CLA_0223257).
                          Email chain between Scott Brady,
                          Greg Finch, and Mikell Fries on or
          Special Agent   about 04/18/2019 attaching
   6079   LaNard Taylor   spreadsheet (CLA_0228816).
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Exhibit         Witness              Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Excel spreadsheet titled Urner
          Special Agent      Barry History, undated
   6080   LaNard Taylor      (CLA_0228817).
                             Email between Scott Brady, Phil
                             Campbell, and Mikell Fries on or
          Special Agent      about 3/4/2013
   6081   LaNard Taylor      (CLAXTON_0000986).
                             Email between Scott Brady and
          Special Agent      Mikell Fries on or about 8/25/2014
   6082   LaNard Taylor      (CLAXTON_0013238).
                             Email chain between Mikell Fries,
                             Scott Brady, Steve Snyder, Eric
                             Sorel, and Randy Davenport on or
          Special Agent      about 8/16/2016
   6083   LaNard Taylor      (CLAXTON_0121531).
                             Email chain between Scott Brady,
          Special Agent      Justin Gay, Mikell Fries, and
          LaNard Taylor or   David Rothmeier on or about
   6084   David Rothmeier    8/8/2014 (CLAXTON_0136239).
                             Email from Ric Blake to Darrel
          Special Agent      Keck on or about 11/30/2012
   6085   LaNard Taylor      (GEO_0001421261).
                             Handwritten notes written by Ric
          Special Agent      Blake undated
   6086   LaNard Taylor      (GEODOJ_0225715).
                             Handwritten notes written by Ric
          Special Agent      Blake undated
   6087   LaNard Taylor      (GEODOJ_0225732).
                             Email from Darrel Keck to Ric
                             Blake on or about 8/15/2016
          Special Agent      attaching Excel spreadsheet
   6088   LaNard Taylor      (GEODOJ_0333971).
                             Excel spreadsheet titled Copy of
                             Copy of DIST NATIONAL
          Special Agent      ACCOUNTS 2014.xls
   6089   LaNard Taylor      (GEODOJ_0333972).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Chris Sharp
          Special Agent   and Ric Blake on or about
   6090   LaNard Taylor   10/24/2016 (GEODOJ_0333984).
                          Email between Chris Sharp and
          Special Agent   Dale Kelly on or about 10/24/2016
   6091   LaNard Taylor   (GEODOJ_0333987).
                          Email between Ric Blake and
                          Chris Sharp on or about 8/1/2017
                          attaching excel Spreadsheet titled
          Special Agent   Popeyes Fresh Chicken Pricing
   6092   LaNard Taylor   (GEODOJ_0334001).
                          Excel spreadsheet titled Blended
                          Cost Of Popeyes Chicken May
          Special Agent   2017 Pricing, undated
   6093   LaNard Taylor   (GEODOJ_0334002).
                          Email chain between Chris Sharp
                          and Ric Blake on or about
                          10/2/2017 attaching excel
                          spreadsheet titled Popeyes Fresh
          Special Agent   Chicken Pricing
   6094   LaNard Taylor   (GEODOJ_0334213).
                          Excel spreadsheet titled Blended
                          Cost Of Popeyes Chicken October
          Special Agent   2017 Pricing, undated
   6095   LaNard Taylor   (GEODOJ_0334216).
                          Email chain between Chris Sharp
          Special Agent   and Ric Blake on or about
   6096   LaNard Taylor   10/24/2016 (GEODOJ_0334456).
                          Email between Ric Blake and
                          Chris Sharp on or about 8/1/2017
                          attaching excel Spreadsheet titled
          Special Agent   Popeyes Fresh Chicken Pricing
   6097   LaNard Taylor   (GEODOJ_0334505).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Excel spreadsheet titled Blended
                          Cost Of Popeyes Chicken July
          Special Agent   2017 Pricing, undated
   6098   LaNard Taylor   (GEODOJ_0334506).
                          Email between Ric Blake and
                          Chris Sharp on or about 8/22/2017
                          attaching excel Spreadsheet titled
          Special Agent   Popeyes Fresh Chicken Pricing
   6099   LaNard Taylor   (GEODOJ_0334511).
                          Excel spreadsheet titled Blended
                          Cost Of Popeyes Chicken August
          Special Agent   2017 Pricing, undated
   6100   LaNard Taylor   (GEODOJ_0334512).
                          Email chain between Ric Blake
          Special Agent   and Chris Sharp on or about
   6101   LaNard Taylor   8/1/2017 (GEODOJ_0336818).
                          Email between Ric Blake and
          Special Agent   Chris Sharp on or about 9/22/2017
   6102   LaNard Taylor   (GEODOJ_0345147).
                          Email chain between Chris Sharp
                          and Ric Blake on or about
                          9/25/2017 attaching excel
                          spreadsheet titled Popeyes Fresh
          Special Agent   Chicken Pricing
   6103   LaNard Taylor   (GEODOJ_0350173).
                          Excel spreadsheet titled Blended
                          Cost Of Popeyes Chicken
          Special Agent   September 2017 Pricing, undated
   6104   LaNard Taylor   (GEODOJ_0350175).
                          Email between Chris Sharp and
          Special Agent   Ric Blake on or about 8/1/2017
   6105   LaNard Taylor   (GEODOJ_0352415).
                          Email chain between Ric Blake
          Special Agent   and Chris Sharp on or about
   6106   LaNard Taylor   8/22/2017 (GEODOJ_0352941).
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Number
                          Email chain between Chris Sharp,
                          Ric Blake, Carol Knight, Dale
                          Kelly, and Marci Walker on or
                          about 8/29/2017 attaching excel
          Special Agent   Spreadsheet titled ZZKelly
   6107   LaNard Taylor   (GEODOJ_0352957).
                          Excel spreadsheet titled Fresh
                          Poultry Pricing Sheet Period9-
                          August 13,2013 through
          Special Agent   September9,2017, undated
   6108   LaNard Taylor   (GEODOJ_0352958).
                          Email between Ric Blake and
          Special Agent   Chris Sharp on or about 9/15/2017
   6109   LaNard Taylor   (GEODOJ_0354040).
                          Email between Chris Sharp, Kelly
                          Dale, and Ric Blake on or about
          Special Agent   12/29/2017 attaching spreadsheet
   6110   LaNard Taylor   (GEODOJ_0357646).
                          Excel spreadsheet titled Blended
                          Cost Of Popeyes Chicken January
          Special Agent   2018 Pricing, undated
   6111   LaNard Taylor   (GEODOJ_0357647).
                          Email between Ric Blake and
          Special Agent   Chris Sharp on or about 8/22/2017
   6112   LaNard Taylor   (GEODOJ_0361981).
                          Email chain between Chris Sharp,
                          Dale Kelly, and Ric Blake on or
                          about 12/5/2017 attaching excel
                          spreadsheet titled Popeyes Fresh
          Special Agent   Chicken Pricing
   6113   LaNard Taylor   (GEODOJ_0364411).
                          Excel spreadsheet titled Blended
                          Cost Of Popeyes Chicken
          Special Agent   December 2017 Pricing, undated
   6114   LaNard Taylor   (GEODOJ_0110083).
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Number
                          Email chain between Ric Blake
                          and Darrel Keck on or about
          Special Agent   9/17/2012 attaching spreadsheet
   6115   LaNard Taylor   (GEODOJ_0574208).
                          Excel spreadsheet untitled dated on
          Special Agent   or about 9/17/2012
   6116   LaNard Taylor   (GEODOJ_0574209).
                          Email between Darrel Keck and
                          Ric Blake on or about 9/23/2016
          Special Agent   attaching Excel spreadsheet
   6117   LaNard Taylor   (GEODOJ_0575276).
          Special Agent   Excel spreadsheet untitled and
   6118   LaNard Taylor   undated (GEODOJ_0575277).
                          Email between Ric Blake and
                          Darrel Keck on or about
          Special Agent   10/29/2009 attaching spreadsheet
   6119   LaNard Taylor   (GEODOJ_0578662).
                          Excel spreadsheet titled DIST
                          NATIONAL ACCOUNTS dated
          Special Agent   on or about 10/29/2009
   6120   LaNard Taylor   (GEODOJ_0578663).
                          Email between Greg Nelson and
                          Darrel Keck on or about 9/8/2010
          Special Agent   attaching spreadsheet
   6121   LaNard Taylor   (GEODOJ_0579835).
                          Excel spreadsheet titled DIST
                          NATIONAL ACCOUNTS dated
          Special Agent   on or about 9/8/2010
   6122   LaNard Taylor   (GEODOJ_0579836).
                          File of and handwritten notes
          Special Agent   written by Ric Blake undated
   6123   LaNard Taylor   (GEODOJ_0587593).
                          Handwritten notes written by Ric
          Special Agent   Blake undated
   6124   LaNard Taylor   (GEODOJ_0588537).
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Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Bill Kantola
          Special Agent   and Lance Buckert on or about
   6125   LaNard Taylor   7/14/2014 (KOCH_0000555521).
                          Email between Bill Kantola and
          Special Agent   Joe Grendys on or about
   6126   LaNard Taylor   11/06/2013 (KOCH_0001097776).
                          Email chain between Barry
                          Buchner and Joe Grendys on or
          Special Agent   about 10/8/2015
   6127   LaNard Taylor   (KOCH_0001108958).
                          Email from Bill Kantola to Joe
          Special Agent   Grendys on or about 07/01/2013
   6128   LaNard Taylor   (KOCH_0001115514).
                          Email between Bill Kantola and
          Special Agent   Joe Grendys on or about 7/1/2013
   6129   LaNard Taylor   (KOCH_0001118219).
                          Email between Bill Kantola and
          Special Agent   Joe Grendys on or about 8/29/2016
   6130   LaNard Taylor   (KOCH_0001130283).
                          Email chain between Mark
                          Kaminsky, Joe Grendys, and Bill
          Special Agent   Kantola on or about 8/6/2014
   6131   LaNard Taylor   (KOCH_0001175647).
                          Email chain between Barry
                          Buchner and Joe Grendys on or
          Special Agent   about 10/8/2015
   6132   LaNard Taylor   (KOCH_0001188741).
                          Email chain between Mark
                          Kaminsky, Joe Grendys, and Bill
          Special Agent   Kantola on or about 8/6/2014
   6133   LaNard Taylor   (KOCH_0001256909).
                          Email between Bill Kantola and
          Special Agent   Lance Buckert on or about
   6134   LaNard Taylor   12/24/2013 (KOCH_0002062821).
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Number
                          Email chain between Tommy
                          Knight, Mark Kaminsky, and Bill
          Special Agent   Kantola on or about 01/09/2014
   6135   LaNard Taylor   (KOCH_0002259507).
                          Email from Bill Kantola to Lance
          Special Agent   Buckert on or about 12/24/2013
   6136   LaNard Taylor   (KOCH_0002515670).
                          Email chain between Bill Kantola,
                          Mark Kaminsky, Dale Tolbert, and
          Special Agent   Harold Hunt on or about 7/3/2016
   6137   LaNard Taylor   (KOCHFOODS-0000008466).
                          Email chain between Bill Kantola
                          and Lance Buckert on or about
          Special Agent   7/14/2014 (KOCHFOODS-
   6138   LaNard Taylor   0000055368).
                          Email between Bill Kantola and
                          Lance Buckert on or about
          Special Agent   12/24/2013 (KOCHFOODS-
   6139   LaNard Taylor   0000055600).
                          Email between Bill Kantola and
                          Joe Grendys on or about
          Special Agent   10/20/2015 attaching Adobe PDF
   6140   LaNard Taylor   (KOCHFOODS-0000067040).
                          Adobe PDF titled 4772_001pdf on
          Special Agent   or about 10/20/2015
   6141   LaNard Taylor   (KOCHFOODS-0000067041).
                          Email chain between Bill Kantola,
                          Joe Grendys, Melissa Walker,
                          Cathy Stringer, and George
                          Nicholas, on or about 04/15/2014
          Special Agent   attaching spreadsheet
   6142   LaNard Taylor   (KOCHFOODS-0000071578).
                          Excel spreadsheet titled Koch -
                          Costco Comp Shop - April 2014
          Special Agent   undated (KOCHFOODS-
   6143   LaNard Taylor   0000071579).
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Number
                          Email chain between Bill Kantola
                          and Eric Loeffler on or about
          Special Agent   9/13/2016 (KOCHFOODS-
   6144   LaNard Taylor   0000088562).
                          Email between Bill Kantola and
          Special Agent   Joe Grendys on or about 3/1/2019
   6145   LaNard Taylor   (KOCHFOODS-0000110164).
                          Email chain between Joe Grendys
                          and Bill Kantola on or about
          Special Agent   3/1/2019 (KOCHFOODS-
   6146   LaNard Taylor   0000122048).
                          Email betewen Bill Kantola and
                          Lance Buckert on or about
          Special Agent   7/8/2013 (KOCHFOODS-
   6147   LaNard Taylor   0000128928).
                          Email chain between Bill Kantola
                          and Pat Hogan on or about
          Special Agent   01/24/2013 (KOCHFOODS-
   6148   LaNard Taylor   0000135530).
                          Email chain between Dale Tolbert,
                          Bill Kantola, and Donna Benson
          Special Agent   on or about 9/10/2014
   6149   LaNard Taylor   (KOCHFOODS-0000157407).
                          Email chain between Bill Kantola
                          and Mark Davis on or about
          Special Agent   1/1/2015 (KOCHFOODS-
   6150   LaNard Taylor   0000185554).
                          Email chain between Bill Kantola
                          and Wade Martin on or about
          Special Agent   11/12/2013 (KOCHFOODS-
   6151   LaNard Taylor   0000192152).
                          Email chain between Bill Kantola
                          and Wade Martin on or about
          Special Agent   8/23/2013 (KOCHFOODS-
   6152   LaNard Taylor   0000207222).
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Number
                          Email chain between Bill Kantola
                          and Bruce MacKenzie on or about
          Special Agent   10/17/2013 (KOCHFOODS-
   6153   LaNard Taylor   0000606889).
                          Email chain between Tommy
                          Francis, John Davies, Scott Brady,
                          and Mikell Fries on or about
          Special Agent   8/19/2016 (MAR-
   6154   LaNard Taylor   JAC_0000351121).
                          Email chain between Kevin
                          Grindle, Scott Brady, Greg Tench,
                          and Tommy Francis on or about
          Special Agent   02/14/2014 (MAR-
   6155   LaNard Taylor   JAC_0000604476).
                          Email chain between Scott Brady,
                          Tommy Francis, and Searcy
                          Wildes on or about 8/19/2016
          Special Agent   attaching Excel spreadsheet (MJP-
   6156   LaNard Taylor   010404).
                          Excel spreadsheet titled July - Dec
          Special Agent   2014 Pricing matrix undated (MJP-
   6157   LaNard Taylor   010405).
          Special Agent   Excel spreadsheet untitled, undated
   6158   LaNard Taylor   (MJPoultry-0000000006).
                          Email chain between Scott Brady,
                          Kevin Grindle, Greg Tench, and
                          Tommy Francis on or about
          Special Agent   2/14/2014 (MJPoultry-
   6159   LaNard Taylor   0000026096).
                          Email chain between Scott Brady,
                          Tommy Francis, and Searcy
                          Wildes on or about 8/19/2016
          Special Agent   attaching Excel spreadsheet
   6160   LaNard Taylor   (MJPoultry-0000225093).
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Exhibit        Witness            Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Excel spreadsheet titled July - Dec
          Special Agent   2014 Pricing matrix undated
   6161   LaNard Taylor   (MJPoultry-0000225094).
                          Email chain between Scott Brady,
                          Tommy Francis, and Aaron Leach
                          on or about 8/19/2016 attaching
          Special Agent   Excel spreadsheet (MJPoultry-
   6162   LaNard Taylor   0000225095).
          Special Agent   Excel spreadsheet titled Book 1
   6163   LaNard Taylor   undated (MJPoultry-0000225096).
                          Email chain between Tommy
                          Francis, Scott Brady, and David
                          Rothmeier on or about 8/26/2016
          Special Agent   attaching Excel spreadsheet
   6164   LaNard Taylor   (MJPoultry-0000343174).
                          Excel spreadsheet titled Copy of
          Special Agent   Base Grain Model - CFA (003) TF
   6165   LaNard Taylor   undated (MJPoultry-0000343175).
                          Email chain between Kevin Ilardi
          Special Agent   and Searcy Wildes on or about
   6166   LaNard Taylor   7/8/2014 (PER-000154157).
                          Email chain between Kevin Ilardi
          Special Agent   and Searcy Wildes on or about
   6167   LaNard Taylor   7/8/2014 (PER-000155262).
                          Email chain between Kevin Ilardi
          Special Agent   and Searcy Wildes on or about
   6168   LaNard Taylor   7/7/2014 (PER-000155321).
                          Email chain between Kevin Ilardi
          Special Agent   and Searcy Wildes on or about
   6169   LaNard Taylor   7/8/2014 (PER-000155661).
                          Email chain between Eric Oare and
                          Roger Austin on or about
          Special Agent   10/20/2014 (PILGRIMS-
   6170   LaNard Taylor   0005255318).
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Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Roger
                          Austin, Justin Gay, and Scott
          Special Agent   Tucker on or about 1/14/2015
   6171   LaNard Taylor   (PILGRIMS-0005255727).
                          Email between Jimmie Little,
                          Thomas Lane, and Jason McGuire
          Special Agent   on or about 10/31/2013
   6172   LaNard Taylor   (PILGRIMS-0005800833).
                          Email chain between Jason
                          McGuire, Jason Slider, and
                          Matthew Boarman on or about
          Special Agent   11/22/2013 (PILGRIMS-
   6173   LaNard Taylor   0005801696).
                          Email chain between Jimmie
                          Little, Robbie Bryant, Jason
                          McGuire, and Dean Bradley on or
          Special Agent   about 12/24/2013 (PILGRIMS-
   6174   LaNard Taylor   0005802128).
                          Email chain between Bill Lovette,
                          Jayson Penn, Marco Sampaio, and
                          Steven Williams on or about
          Special Agent   1/28/2013 (PILGRIMS-
   6175   LaNard Taylor   0005838059).
                          Email chain between Jayson Penn,
                          Bill Lovette, Chad Baker, and
                          Roger Austin on or about
          Special Agent   6/24/2014 (PILGRIMS-
   6176   LaNard Taylor   0005855374).
                          Email chain between Bill Lovette,
                          Jayson Penn, Chad Baker, and
                          Roger Austin on or about
          Special Agent   6/24/2014 (PILGRIMS-
   6177   LaNard Taylor   0005855376).
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Exhibit        Witness            Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Jimmie
                          Little, Robbie Bryant, Tim Stiller,
                          Eric Oare, and Dean Bradley on or
                          about 7/10/2015 (PILGRIMS-
   6178   Robbie Bryant   0005941195).
                          Email chain between Jimmie
                          Little, Thomas Lane, Jason
                          McGuire, and Dean Bradley on or
          Special Agent   about 10/28/2013 (PILGRIMS-
   6179   LaNard Taylor   0006841221).
                          Email chain between Jayson Penn,
                          John Pastrana, Robert Garlington,
                          Matthew Herman, and Walt
                          Shafer, among others, on or about
          Special Agent   10/01/2013 (PILGRIMS-
   6180   LaNard Taylor   0006926980).
                          Email chain between Jayson Penn,
                          Justin Gay, Jason McGuire, and
                          Thomas Lane on or about
          Special Agent   11/20/2013 (PILGRIMS-
   6181   LaNard Taylor   0006928907).
                          Email chain between Chad Baker,
                          Jayson Penn, Bill Lovette, and
                          Roger Austin on or about
          Special Agent   6/27/2014 (PILGRIMS-
   6182   LaNard Taylor   0006949046).
                          Email chain between Jayson Penn,
                          Bill Lovette, and Brenda Ray on or
          Special Agent   about 2/24/2015 (PILGRIMS-
   6183   LaNard Taylor   0006965379).
                          Email chain between Roger Austin
                          and Scott Brady on or about
          Special Agent   1/29/2013 (PILGRIMS-
   6184   LaNard Taylor   0007590381).
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Exhibit         Witness              Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Email chain between Bill Lovette
                             and Jayson Penn on or about
          Special Agent      11/9/2011 (PILGRIMS-
   6185   LaNard Taylor      0009031402).
                             Email chain between Roger
                             Austin, Jayson Penn, and Thomas
          Special Agent      Lane on or about 2/8/2013
   6186   LaNard Taylor      (PILGRIMS-0009044130).
                             Text message from Jayson Penn to
          Special Agent      Brenda Ray on or about 3/29/2017
   6188   LaNard Taylor      (PILGRIMS-DOJ-0000017567).
                             Text message from Brenda Ray to
          Special Agent      Jayson Penn on or about 3/29/2017
   6189   LaNard Taylor      (PILGRIMS-DOJ-0000017568).
                             Text message from Jayson Penn to
          Special Agent      Brenda Ray on or about 3/29/2017
   6190   LaNard Taylor      (PILGRIMS-DOJ-0000017569).
                             Email between Jimmie Little,
                             Jason McGuire, Nina Price, and
          Special Agent      Robbie Bryant on or about
          LaNard Taylor or   7/23/2013 (PILGRIMS-DOJ-
   6191   Robert Bryant      0000175522).
                             Email between Jimmie Little,
                             Thomas Lane, and Jason McGuire
          Special Agent      on or about 10/31/2013
   6192   LaNard Taylor      (PILGRIMS-DOJ-0000176908).
                             Email chain between Tim Stiller,
                             Jimmie Little, Thomas Lane, and
          Special Agent      Daryl Still on or about 10/12/2015
   6193   LaNard Taylor      (PILGRIMS-DOJ-0000181493).
                             Email chain between Tim Stiller,
                             Scott Tucker, and Graig Kasmier
          Special Agent      on or about 10/9/2015
   6194   LaNard Taylor      (PILGRIMS-DOJ-0000338178).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email from Scott Brady, Justin
                          Gay, and Searcy Wildes on or
          Special Agent   about 9/3/2013 (PILGRIMS-DOJ-
   6195   LaNard Taylor   0000388741).
                          Email chain between Justin Gay
                          and Eric Oare on or about
          Special Agent   12/9/2014 (PILGRIMS-DOJ-
   6196   LaNard Taylor   0000395411).
                          Email chain between Justin Gay
                          and Scott Brady on or about
          Special Agent   8/19/2015 (PILGRIMS-DOJ-
   6197   LaNard Taylor   0000400075).
                          Email chain between Larry Pate,
                          Brenda Ray, Jayson Penn, Rob
                          Alsberg, and Craig Kasmier,
                          among others on or about
          Special Agent   8/31/2012 (PILGRIMS-DOJ-
   6198   LaNard Taylor   0000447738).
                          Email between Brenda Ray and
                          Jayson Penn on or about
          Special Agent   06/21/2013 (PILGRIMS-DOJ-
   6199   LaNard Taylor   0000456074).
                          Text message from Tim Stiller to
                          Jayson Penn dated on or about
          Special Agent   11/7/2014 (PILGRIMS-DOJ-
   6200   LaNard Taylor   0000484945).
                          Text message from Bill Lovette to
          Special Agent   Jayson Penn on or about 3/4/2015
   6201   LaNard Taylor   (PILGRIMS-DOJ-0000486724).
                          Text message from Jayson Penn to
                          Bill Lovette and Jayson Penn on or
          Special Agent   about 11/25/2015 (PILGRIMS-
   6202   LaNard Taylor   DOJ-0000490974).

          Special Agent   Text message from Justin Gay to
   6203   LaNard Taylor   Jayson Penn on or about
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Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          11/25/2015 (PILGRIMS-DOJ-
                          0000491001).

                          Email chain between Scott Brady,
                          Justin Gay, Kevin Bradbury,
                          Matthew Boarman, and Roger
                          Austin, among others, on or about
          Special Agent   07/01/2013 (PILGRIMS-DOJ-
   6204   LaNard Taylor   0000509345).
                          Email from Justin Gay to Scott
          Special Agent   Brady on or about 8/22/2013
   6205   LaNard Taylor   (PILGRIMS-DOJ-0000509368).
                          Email chain between Brenda Ray,
                          Jayson Penn, Randy Stroud, Ken
                          Suber, and Terri Ferguson, among
          Special Agent   others, on or about 5/19/2015
   6206   LaNard Taylor   (PILGRIMS-DOJ-0000513522).
                          Email between Brenda Ray and
                          Jayson Penn on or about
          Special Agent   06/21/2013 (PILGRIMS-DOJ-
   6207   LaNard Taylor   0000513610).
                          Email chain between Roger Austin
                          and Jayson Penn on or about
          Special Agent   7/5/2012 (PILGRIMS-DOJ-
   6208   LaNard Taylor   0000513619).
                          Email chain between Jayson Penn
                          and Roger Austin on or about
          Special Agent   7/26/2012 (PILGRIMS-DOJ-
   6209   LaNard Taylor   0000513620).
                          Email chain between Jayson Penn,
                          Jason McGuire, Scott Brady, and
                          Thomas Lane on or about
          Special Agent   12/7/2011 (PILGRIMS-DOJ-
   6210   LaNard Taylor   0000513632).
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Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Rob Alsberg,
                          Brenda Ray, Ken Joyner, Larry
                          Pate, and Jayson Penn on or about
          Special Agent   8/31/2012 (PILGRIMS-DOJ-
   6211   LaNard Taylor   0000513641).
                          Email chain between Scott Tucker,
                          Tim Stiller, Roger Austin, and
                          Telly Smith on or about
          Special Agent   11/12/2015 (PILGRIMS-DOJ-
   6212   LaNard Taylor   0000513700).
                          Email chain between Scott Tucker,
                          Tim Stiller, and Lee Moriggia on
          Special Agent   or about 9/15/2015 (PILGRIMS-
   6213   LaNard Taylor   DOJ-0000513702).
                          Email from Justin Gay to Scott
          Special Agent   Brady on or about 3/20/2014
   6214   LaNard Taylor   (PILGRIMS-DOJ-0000513867).
                          Excel spreadsheet titled Urner
          Special Agent   Barry History, undated
   6215   LaNard Taylor   (PILGRIMS-DOJ-0000513868).
                          Email between Scott Tucker and
                          Roger Austin on or about
          Special Agent   9/22/2016 (PILGRIMS-DOJ-
   6216   LaNard Taylor   0000513886).
                          Text message from Tim Stiller to
                          Austin Roger on or about
          Special Agent   2/22/2016 (PILGRIMS-DOJ-
   6217   LaNard Taylor   0000514807).
                          Text message from Austin Roger
                          to Tim Stiller on or about
          Special Agent   2/22/2016 (PILGRIMS-DOJ-
   6218   LaNard Taylor   0000514808).
                          Text message from Tim Stiller to
                          Austin Roger on or about
          Special Agent   2/22/2016 (PILGRIMS-DOJ-
   6219   LaNard Taylor   0000514809).
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Exhibit         Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Text message from Austin Roger
                          to Tim Stiller on or about
          Special Agent   2/22/2016 (PILGRIMS-DOJ-
   6220   LaNard Taylor   0000514810).
                          Text message from Tim Stiller to
                          Roger Austin on or about
          Special Agent   2/22/2016 (PILGRIMS-DOJ-
   6221   LaNard Taylor   0000514811).
                          Text message from Roger Austin
                          to Tim Stiller on or about
          Special Agent   2/22/2016 (PILGRIMS-DOJ-
   6222   LaNard Taylor   0000514812).
                          Text message from Tim Stiller to
                          Robbie Bryant on or about
                          11/17/2016 (PILGRIMS-DOJ-
   6223   Robert Bryant   0000522113).
                          Email chain between Sheri Garland
                          and Bill Lovette on or about
          Special Agent   2/8/2018 (PILGRIMS-DOJ-
   6224   LaNard Taylor   0000614546).
                          Email chain between Jayson Penn,
                          Thomas Lane, Roger Austin, and
          Special Agent   Bill Lovette on or about 2/6/2013
   6225   LaNard Taylor   (PILGRIMS-DOJ-0000851822).
                          Excel spreadsheet titled KFC Cost
                          Comparison - Skinless breast & leg
          Special Agent   meat undated (PILGRIMS-DOJ-
   6226   LaNard Taylor   0000851823).
                          Email between Sheri Garland and
          Special Agent   Bill Lovette on or about 3/27/2013
   6227   LaNard Taylor   (PILGRIMS-DOJ-0000854774).
                          Email between Bill Lovette and
          Special Agent   Jayson Penn on or about 8/22/2013
   6228   LaNard Taylor   (PILGRIMS-DOJ-0000866034).
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Exhibit         Witness           Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Text message form Tim Stiller to
                          Scott Tucker on or about
          Special Agent   6/10/2016 (PILGRIMS-DOJ-
   6229   LaNard Taylor   0000912168).
                          Text from Scott Tucker to Tim
          Special Agent   Stiller on or about 6/10/2016
   6230   LaNard Taylor   (PILGRIMS-DOJ-0000912169).
                          Text from Tim Stiller to Scott
          Special Agent   Tucker on or about 6/10/2016
   6231   LaNard Taylor   (PILGRIMS-DOJ-0000912170).
                          Text message from Scott Tucker to
          Special Agent   Tim Stiller on or about 6/10/2016
   6232   LaNard Taylor   (PILGRIMS-DOJ-0000912171).
                          Text message from Tim Stiller to
                          Scott Tucker on or about
          Special Agent   6/10/2016 (PILGRIMS-DOJ-
   6233   LaNard Taylor   0000912172).
                          Text message from Scott Tucker to
          Special Agent   Tim Stiller on or about 10/4/2016
   6234   LaNard Taylor   (PILGRIMS-DOJ-0000912314).
                          Text message from Tim Stiller to
          Special Agent   Roger Austin on or about 2/1/2017
   6235   LaNard Taylor   (PILGRIMS-DOJ-0000914265).
                          Text message from Robbie Bryant
                          to Time Stiller on or about
                          3/15/2017 (PILGRIMS-DOJ-
   6236   Robert Bryant   0000916416).
                          Text message from Tim Stiller to
                          Robbie Bryant on or about
                          3/15/2017 (PILGRIMS-DOJ-
   6237   Robert Bryant   0000916417).
                          Text message from Timothy Stiller
                          to Robbie Bryant on or about
                          7/27/2017 (PILGRIMS-DOJ-
   6238   Robert Bryant   0000923469).
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Exhibit         Witness           Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Text message from Robbie Bryant
                          to Timothy Stiller on or about
                          7/27/2017 (PILGRIMS-DOJ-
   6239   Robert Bryant   0000923473).
                          Text message from Timothy Stiller
                          to Robbie Bryant on or about
                          7/27/2017 (PILGRIMS-DOJ-
   6240   Robert Bryant   0000923475).
                          Text message from Robbie Bryant
                          to Timothy Stiller on or about
                          7/27/2017 (PILGRIMS-DOJ-
   6241   Robert Bryant   0000923476).
                          Text message from Robbie Bryant
                          to Timothy Stiller on or about
                          7/27/2017 (PILGRIMS-DOJ-
   6242   Robert Bryant   0000923477).
                          Text message from Timothy Stiller
                          to Robbie Bryant on or about
                          7/27/2017 (PILGRIMS-DOJ-
   6243   Robert Bryant   0000923478).
                          Text message from Robbie Bryant
                          to Timothy Stiller on or about
                          7/27/2017 (PILGRIMS-DOJ-
   6244   Robert Bryant   0000923482).
                          Text message from Timothy Stiller
                          to Robbie Bryant and Troy Rookie
                          on or about 5/15/2018
   6245   Robert Bryant   (PILGRIMS-DOJ-0000931622).
                          Text message from Timothy Stiller
                          to Robbie Bryant and Troy Rookie
                          on or about 5/15/2018
   6246   Robert Bryant   (PILGRIMS-DOJ-0000931623).
                          Text message from Timothy Stiller
                          to Robbie Bryant and Troy Rookie
                          on or about 5/15/2018
   6247   Robert Bryant   (PILGRIMS-DOJ-0000931625).
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Exhibit         Witness              Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                             Text message from Timothy Stiller
                             to Robbie Bryant and Troy Rookie
                             on or about 5/15/2018
   6248   Robert Bryant      (PILGRIMS-DOJ-0000931626).
                             Text message from Robbie Bryant
                             to Timothy Stiller on or about
                             5/15/2018 (PILGRIMS-DOJ-
   6249   Robert Bryant      0000931627).
                             Text message from Robbie Bryant
                             to Timothy Stiller on or about
                             5/15/2018 (PILGRIMS-DOJ-
   6250   Robert Bryant      0000931629).
                             Email chain between Scott Brady,
                             Justin Gay, and David Rothmeier
          Special Agent      on or about 9/27/2012 attaching a
          LaNard Taylor or   pricing model spreadsheet
   6251   David Rothmeier    (PILGRIMS-DOJ-0001670580).
          Special Agent      Excel spreadsheet untitled dated on
          LaNard Taylor or   or about 9/27/2012 (PILGRIMS-
   6252   David Rothmeier    DOJ-0001670581).
                             Email chain between Scott Brady
                             and Justin Gay on or about
          Special Agent      11/16/2016 (PILGRIMS-DOJ-
   6253   LaNard Taylor      0001691719).
                             Excel spreadsheet titled URNER
          Special Agent      BARRY HISTORY undated
   6254   LaNard Taylor      (PILGRIMS-DOJ-0001691720).
                             Email chain between Scott Brady,
                             Jayson Penn, and Jimmie Little on
          Special Agent      or about 12/26/2011 (PILGRIMS-
   6255   LaNard Taylor      DOJ-0001771617).
                             Email chain between Scott Brady
                             and Jimmie Little on or about
          Special Agent      12/26/2011 (PILGRIMS-DOJ-
   6256   LaNard Taylor      0001771618).
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Number
                          Email between Jimmie Little and
                          Thomas Lane on or about
          Special Agent   10/29/2013 (PILGRIMS-DOJ-
   6257   LaNard Taylor   0001775015).
                          Email chain between Scott Brady,
                          Justin Gay, Kevin Bradbury,
                          Matthew Boarman, and Roger
                          Austin, among others, on or about
          Special Agent   07/01/2013 (PILGRIMS-DOJ-
   6258   LaNard Taylor   0002128765).
                          Email chain between Scott Brady
                          and Justin Gay on or about
          Special Agent   8/19/2015 (PILGRIMS-DOJ-
   6259   LaNard Taylor   0002131673).
                          Email chain between Jimmie
                          Little, Rick DeLong, and Bill
          Special Agent   Kantola on or about 04/22/2011
   6260   LaNard Taylor   (PILGRIMS-DOJ-0002138789).
                          Email chain between Jimmie
                          Little, Rick DeLong, and Bill
          Special Agent   Kantola on or about 04/22/2011
   6261   LaNard Taylor   (PILGRIMS-DOJ-0002138791).
                          Email chain between Ric Blake,
                          Jimmie Little, Bill Kantola, Brian
                          Roberts, and Malin Benicek,
                          among others, on or about
          Special Agent   8/25/2011 (PILGRIMS-DOJ-
   6262   LaNard Taylor   0002139178).
                          Email chain between Jimmie
                          Little, Ric Blake, Malin Benicek,
                          Bill Kantola, and Brian Roberts,
                          among others, on or about
          Special Agent   8/25/2011 (PILGRIMS-DOJ-
   6263   LaNard Taylor   0002139190).
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Exhibit         Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Jimmie Little
                          and Ric Blake on or about
          Special Agent   8/29/2011 (PILGRIMS-DOJ-
   6264   LaNard Taylor   0002139232).
                          Email chain between Walter
                          Cooper and Jimmie Little on or
          Special Agent   about 01/31/2014 (PILGRIMS-
   6265   LaNard Taylor   DOJ-0002139965).
                          Email chain between Scott Brady
                          and Jimmie Little on or about
          Special Agent   12/26/2011 (PILGRIMS-DOJ-
   6266   LaNard Taylor   0002234970).
                          Email chain between Robbie
                          Bryant, Brenda Ray, and Scott
          Special Agent   Kraner on or about 7/23/2014
   6267   LaNard Taylor   (PILGRIMS-DOJ-0002414004).
                          Email chain between Jayson Penn
                          and Jimmie Little on or about
          Special Agent   12/21/2011 (PILGRIMS-DOJ-
   6268   LaNard Taylor   0002452440).
                          Email chain between Jayson Penn,
                          Jimmie Little, and Dean Bradley
          Special Agent   on or about 10/31/2013
   6269   LaNard Taylor   (PILGRIMS-DOJ-0002502005).
                          Email chain between Roger
                          Austin, Tim Stiller, Scott Tucker,
                          and Telly Smith on or about
                          11/17/2015 (PILGRIMS-DOJ-
   6270   Telly Smith     0002682301).
                          Email chain between Roger
                          Austin, Tim Stiller, Scott Tucker,
                          and Telly Smith on or about
                          11/17/2015 (PILGRIMS-DOJ-
   6271   Telly Smith     0002740401).
                          Handwritten notes written by Tim
          Special Agent   Stiller (PILGRIMS-DOJ-
   6272   LaNard Taylor   0003389569).
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Number
                          Email chain between Justin Gay,
                          Jason McGuire, and Robbie Bryant
                          on or about 01/15/2014
   6273   Robert Bryant   (PILGRIMS-DOJ-0003960148).
                          Email chain between Barry
                          Buchner and Joe Grendys on or
          Special Agent   about 10/08/2015 (TE-
   6274   LaNard Taylor   0000008665).
                          Email chain between Scott Brady
          Special Agent   and Dan Nuckolls on or about
   6275   LaNard Taylor   2/12/2013 (TE-0000045683).
                          Email between Scott Brady, Mikell
          Special Agent   Fries, and Phil Campbell on or
   6276   LaNard Taylor   about 3/4/2013 (TE-0000045684).
                          Email chain between Carl Pepper
          Special Agent   and Zoe Pepper on or about
   6277   LaNard Taylor   3/18/2015 (TY-000000104).
                          Email chain between Scott Brady
          Special Agent   and Carl Pepper on or about
   6278   LaNard Taylor   3/18/2015 (TY-000000105).
                          Email chain between Scott Brady
          Special Agent   and Carl Pepper on or about
   6279   LaNard Taylor   3/18/2015 (TY-000000106).
                          Email from Carl Pepper to Jimmie
          Special Agent   Little on or about 7/7/2015 (TY-
   6280   LaNard Taylor   000000109).
                          Email between Scott Brady and
          Special Agent   Brian Roberts on or about
   6281   LaNard Taylor   07/10/2013 (TY-000000112).
                          Email between Scott Brady and
          Special Agent   Brian Roberts on or about
   6282   LaNard Taylor   07/15/2013 (TY-000000113).
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Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email between Tommy Francis
          Special Agent   and Brian Roberts on or about
   6283   LaNard Taylor   5/7/2013 (TY-000000114).
                          Email chain between Jimmie Little
          Special Agent   and Carl Pepper on or about
   6284   LaNard Taylor   08/08/2013 (TY-000071672).
                          Email chain between Ric Blake
          Special Agent   and Carl Pepper on or about
   6285   LaNard Taylor   09/06/2013 (TY-000075751).
                          Email chain between Carl Pepper
          Special Agent   and Brian Roberts on or about
   6286   LaNard Taylor   10/25/2013 (TY-000080778).
                          Email chain between Tim
                          Mulrenin, Brandon Campbell,
                          Arkom Chollapand, Joshua Smith,
                          and Carl Pepper, among others, on
          Special Agent   or about 11/14/2013 (TY-
   6287   LaNard Taylor   000085315).
                          Email chain between Tim
                          Mulrenin, Brandon Campbell,
                          Arkom Chollapand, Joshua Smith,
                          and Carl Pepper, among others, on
          Special Agent   or about 11/14/2013 (TY-
   6288   LaNard Taylor   000085317).
                          Email chain between Tim
                          Mulrenin, Brandon Campbell,
                          Arkom Chollapand, Joshua Smith,
                          and Carl Pepper, among others, on
          Special Agent   or about 11/14/2013 (TY-
   6289   LaNard Taylor   000085319).
                          Email between Tim Mulrenin and
          Special Agent   Brandon Campbell on or about
   6290   LaNard Taylor   11/15/2013 (TY-000085413).
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Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Scott Brady
          Special Agent   and Carl Pepper on or about
   6291   LaNard Taylor   3/18/2015 (TY-000163099).
                          Email chain between Scott Brady
          Special Agent   and Carl Pepper on or about
   6292   LaNard Taylor   3/18/2015 (TY-000163115).
                          Email chain between Carl Pepper
          Special Agent   and Zoe Pepper on or about
   6293   LaNard Taylor   3/18/2015 (TY-000163127).
                          Email chain between Carl Pepper,
                          Dean Bradley, and Tim Mulrenin
          Special Agent   on or about 10/22/2014 (TY-
   6294   LaNard Taylor   000252336).
                          Email chain between Eric Oare and
          Special Agent   Brian Roberts on or about
   6295   LaNard Taylor   05/24/2013 (TY-000920954).
                          Email chain between Dawnna
          Special Agent   Bowen and Tim Mulrenin on or
   6296   LaNard Taylor   out 7/24/2015 (TY-001073522).
                          Email between Scott Brady and
          Special Agent   Tim Mulrenin on or about
   6297   LaNard Taylor   08/22/2013 (TY-001141439).
                          Email between Scott Brady and
          Special Agent   Tim Mulrenin on or about
   6298   LaNard Taylor   08/23/2013 (TY-001141689).
                          Email between Scott Brady and
          Special Agent   Tim Mulrenin on or about
   6299   LaNard Taylor   08/27/2013 (TY-001142727).
                          Email between Scott Brady and
          Special Agent   Tim Mulrenin on or about
   6300   LaNard Taylor   09/03/2013 (TY-001142918).
                          Message from Carl Pepper to
          Special Agent   Jimmie Little on or about
   6301   LaNard Taylor   10/13/2015 (TY-001645464).
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Exhibit        Witness           Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Message from Jimmie Little to
          Special Agent   Carl Pepper on or about
   6302   LaNard Taylor   10/13/2015 (TY-001645465).
                          Text message from Kelley
                          Davidson to Tim Mulrenin on or
          Special Agent   about 01/09/2019 (TY-
   6303   LaNard Taylor   001909367).
                          Text message from Kelley
                          Davidson to Tim Mulrenin on or
          Special Agent   about 03/21/2019 (TY-
   6304   LaNard Taylor   001909391).
                          Text message from Tim Mulrenin
          Special Agent   to Kelley Davidson on or about
   6305   LaNard Taylor   03/21/2019 (TY-001909392).
                          Text message from Kelley
                          Davidson to Tim Mulrenin on or
          Special Agent   about 03/21/2019 (TY-
   6306   LaNard Taylor   001909393).
                          Text message from Tim Mulrenin
          Special Agent   to Kelley Davidson on or about
   6307   LaNard Taylor   3/21/2019 (TY-001909394).
                          Excel spreadsheet titled Copy of
                          2012 DIST NATIONAL
          Special Agent   ACCOUNTS dated on or about
   6308   LaNard Taylor   11/30/2012 (GEO_0001421262).
                          Email between Judy Hall and Ric
                          Blake dated on or about
          Special Agent   10/02/2013 attaching Excel
   6309   LaNard Taylor   spreadsheet (GEODOJ_0318908).
                          Excel spreadsheet titled Copy of
                          DIST NATIONAL ACCOUNTS
          Special Agent   dated on or about 7/7/2016
   6310   LaNard Taylor   (GEODOJ_0318909).
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Exhibit        Witness            Brief Description          Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email between Judy Hall and Ric
                          Blake dated on or about
          Special Agent   10/15/2013 attaching spreadsheet
   6311   LaNard Taylor   (GEODOJ_0318985).
                          Excel spreadsheet titled Copy of
                          DIST NATIONAL ACCOUNTS
          Special Agent   dated on or about 10/15/2013
   6312   LaNard Taylor   (GEODOJ_0318986).
                          Excel spreadsheet titled Copy of
                          DIST NATIONAL ACCOUNTS
          Special Agent   dated on or about 10/15/2013
   6313   LaNard Taylor   (GEODOJ_0319335).
                          Email between Judy Hall and Ric
                          Blake on or about 8/28/2014
          Special Agent   attaching spreadsheet
   6314   LaNard Taylor   (GEODOJ_0324609).
                          Excel spreadsheet titled Copy of
                          Copy of DIST NATIONAL
                          ACCOUNTS 2014 dated on or
          Special Agent   about 08/28/2014
   6315   LaNard Taylor   (GEODOJ_0324610).
                          Email between Ric Blake and
                          Darrel Keck on or about
          Special Agent   09/30/2009 attaching spreadsheet
   6316   LaNard Taylor   (GEODOJ_0573591).
                          Excel spreadsheet titled DIST
                          NATIONAL ACCOUNTS dated
          Special Agent   on or about 09/30/2009
   6317   LaNard Taylor   (GEODOJ_0573592).
                          Excel spreadsheet titled Copy of
                          Copy of DIST NATIONAL
                          ACCOUNTS 2014 dated on or
          Special Agent   about 12/19/2014
   6318   LaNard Taylor   (GEODOJ_0650994).
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Exhibit        Witness            Brief Description          Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email between Judy Hall and Ric
                          Blake on or about 12/18/2014
          Special Agent   attaching spreadsheet
   6319   LaNard Taylor   (GEODOJ_0651351).
                          Excel spreadsheet titled Copy of
                          Copy of DIST NATIONAL
          Special Agent   ACCOUNTS 2014 undated
   6320   LaNard Taylor   (GEODOJ_0651352).
                          Email between Judy Hall and Ric
                          Blake on or about 12/19/2014
          Special Agent   attaching spreadsheet
   6321   LaNard Taylor   (GEODOJ_0653132).
                          Excel spreadsheet titled Copy of
                          Copy of DIST NATIONAL
          Special Agent   ACCOUNTS 2014 undated
   6322   LaNard Taylor   (GEODOJ_0653133).
                          Email between Darrel Keck and
                          Ric Blake on or about 10/12/2015
          Special Agent   attaching spreadsheet
   6323   LaNard Taylor   (GEODOJ_0653706).
                          Excel spreadsheet titled Copy of
                          Copy of DIST NATIONAL
          Special Agent   ACCOUNTS 2014 dated
   6324   LaNard Taylor   10/12/2015 (GEODOJ_0653707).
                          Excel spreadsheet titled DIST
                          NATIONAL ACCOUNTS multi
          Special Agent   yr dated 1/4/2016
   6325   LaNard Taylor   (GEODOJ_0653708).
                          Excel spreadsheet titled DIST
                          NATIONAL ACCOUNTS 2014
          Special Agent   dated 12/17/2015
   6326   LaNard Taylor   (GEODOJ_0656331).
                          Excel spreadsheet titled Copy of
                          Copy of DIST NATIONAL
          Special Agent   ACCOUNTS 2014 undated
   6327   LaNard Taylor   (GEODOJ_0672838).
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Exhibit         Witness             Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            Excerpt of Excel spreadsheet of
          Special Agent     filtered_messages_tench
   6328   LaNard Taylor     (MJPoultry-0000000006).
                            Email between Kent Kronauge,
                            Mike Ledford, Donna Eskew,
                            Brian Roberts, and Justin Gay,
                            among others, on or about
                            8/20/2018 (CASEDOJ-BR-
   7000   Michael Ledford   0000028574).
                            Email chain between Kent
                            Kronauge, Carl Pepper, Mikell
                            Fries, Kevin Grindle, and Justin
          Special Agent     Gay, among others, on or about
   7001   LaNard Taylor     03/07/2018 (CLA_0145568).
                            Email chain between Carl George,
                            Joe Grendys, Darrel Keck, Charles
                            George, and Gary George on or
          Special Agent     about 10/14/2015
   7002   LaNard Taylor     (GEO_0000427526).
                            Email chain between Carl Pepper
          Special Agent     and Ric Blake on or about
   7003   LaNard Taylor     8/15/2016 (GEODOJ_0336141).
                            Email between Joe Grendys and
          Special Agent     Bill Lovette on or about 4/20/2016
   7004   LaNard Taylor     (KOCH_0001173313).
                            Email chain between Joe Grendys
          Special Agent     and Bill Lovette on or about
   7005   LaNard Taylor     4/20/2016 (KOCH_0002192947).
                            Email between Joe Grendys and
          Special Agent     Bill Lovette on or about 8/2/2013
   7006   LaNard Taylor     (KOCHFOODS-0000535826).
                            Email chain between Joe Grendys,
                            Hans Schmidt, Joe Grendys, and
          Special Agent     Bill Lovette on or about 8/2/2013
   7007   LaNard Taylor     (KOCHFOODS-0000535828).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Joe Grendys
                          and Mark Kaminsky on or about
          Special Agent   5/21/2014 (KOCHFOODS-
   7008   LaNard Taylor   0000545047).
                          Email between Mark Kaminsky
                          and Joe Grendys on or about
          Special Agent   9/14/2016 (KOCHFOODS-
   7009   LaNard Taylor   0000546060).
                          Email between Kevin Grindle and
                          Bill Kantola on or around
          Special Agent   03/31/2014 (MAR-
   7010   LaNard Taylor   JAC_0000604683).
                          Email between Kent Kronauge,
                          Scott Brady, Walter Cooper, Bill
                          Kantola, and Carl Peppper, among
          Special Agent   others, on or about 2/22/2013
   7011   LaNard Taylor   (MAR-JAC_0000605582).
                          Email chain between Kevin
                          Grindle and Bill Kantola on or
          Special Agent   about 03/03/2014 (MAR-
   7012   LaNard Taylor   JAC_0000611339).
                          Email chain between Roger Austin
                          and Kevin Grindle on or about
          Special Agent   05/14/2013 (MJPoultry-
   7013   LaNard Taylor   0000013800).
                          Email chain between Bill Lovette
                          and Jim Perdue on or around
          Special Agent   11/18/2013
   7014   LaNard Taylor   (PERDUE0002298499).
                          Email chain between Pete Martin
                          and Jayson Penn on or about
          Special Agent   9/23/2014 (PILGRIMS-
   7015   LaNard Taylor   0000034879).
                          Email chain between Jayson Penn,
                          Bill Lovette, and Brenda Ray on or
          Special Agent   about 12/5/2014 (PILGRIMS-
   7016   LaNard Taylor   0002744787).
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Exhibit        Witness            Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Brenda Ray
                          and Jayson Penn on or about
          Special Agent   12/5/2014 (PILGRIMS-
   7017   LaNard Taylor   0002744789).
                          Email chain between Jayson Penn
                          and Brenda Ray on or about
          Special Agent   12/5/2014 (PILGRIMS-
   7018   LaNard Taylor   0002744791).
                          Email chain between Bill Lovette,
                          Fabio Sandri, and Farha Aslam on
          Special Agent   or about 7/28/016 (PILGRIMS-
   7019   LaNard Taylor   0006784661).
                          Email between Jayson Penn and
                          Bill Lovette on or about
          Special Agent   05/03/2012 (PILGRIMS-
   7020   LaNard Taylor   0006892156).
                          Email between Ivonne Tamez and
          Special Agent   Bill Lovette on or about 7/16/2015
   7021   LaNard Taylor   (PILGRIMS-0008942489).
                          Calendar invitation regarding
                          Lunch with guests from Koch
                          including Val Richards, Fabio
                          Sandri, and Bill Lovette on or
          Special Agent   about 02/28/2014 (PILGRIMS-
   7022   LaNard Taylor   0009319781).
                          Calendar invitation regarding
                          Accepted: Lunch with Jeramie
                          Martin including Sheri Garland
                          and Bill Lovette on or about
          Special Agent   8/28/2014 (PILGRIMS-
   7023   LaNard Taylor   0009321570).
                          Calendar invitation regarding "Call
                          Joe G" including Bill Lovette on or
          Special Agent   about 10/23/2014 (PILGRIMS-
   7024   LaNard Taylor   0009322390).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Text message from Justin Gay to
          Special Agent   Tim Stiller on or about 10/22/2018
   7025   LaNard Taylor   (PILGRIMS-DOJ-0000102301).
                          Text message from Justin Gay to
          Special Agent   Tim Stiller on or about 10/22/2018
   7026   LaNard Taylor   (PILGRIMS-DOJ-0000102305).
                          Email chain between Jared
                          Mitchell and Justin Gay on or
          Special Agent   about 12/9/2014 (PILGRIMS-
   7027   LaNard Taylor   DOJ-0000395405).
                          Text message from Bill Lovettte to
          Special Agent   Jayson Penn on or about 1/27/2016
   7028   LaNard Taylor   (PILGRIMS-DOJ-0000491940).
                          Email chain between Wesley
                          Batista and Bill Lovette on or
          Special Agent   about 10/16/2014 (PILGRIMS-
   7029   LaNard Taylor   DOJ-0000889372).
                          Email chain between Joe Grendys
                          and Roger Austin on or about
          Special Agent   4/27/2011 (PILGRIMS-DOJ-
   7030   LaNard Taylor   0002112129).
                          Email chain between Jimmie
                          Little, Bill Kantola, and Jason
          Special Agent   McGuire on or about 02/10/2011
   7031   LaNard Taylor   (PILGRIMS-DOJ-0002150935).
                          Email chain between Jayson Penn
                          and Pete Martin on or about
          Special Agent   9/23/2014 (PILGRIMS-DOJ-
   7032   LaNard Taylor   0002161415).
                          Email chain between Jimmie
                          Little, Scott Brady, and Jayson
          Special Agent   Penn on or about 5/17/2012
   7033   LaNard Taylor   (PILGRIMS-DOJ-0002237399).
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Exhibit         Witness             Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            Email chain between Bill Kantola,
                            Carl Pepper, and Jimmie Little on
          Special Agent     or about 9/16/2014 (PILGRIMS-
   7034   LaNard Taylor     DOJ-0002270247).
                            Email chain between Carl Pepper,
                            Jimmie Little, Bill Kantola, Justin
                            Gay, Roger Austin, and others on
          Special Agent     or about 3/5/2015 (PILGRIMS-
   7035   LaNard Taylor     DOJ-0002277855).
                            Email chain between Carl Pepper,
                            Jimmie Little, Bill Kantola, Dean
          Special Agent     Bradley, and Tim Mulrenin on or
   7036   LaNard Taylor     about 9/24/2014 (TY-000136505).
                            Email chain between Daniel
          Special Agent     Sullivan and Carl Pepper on or
   7037   LaNard Taylor     about 7/3/2018 (TY-000198552).
                            Email chain between Daniel
          Special Agent     Sullivan and Carl Pepper on or
   7038   LaNard Taylor     about 7/4/2018 (TY-000198556).
                            Email chain between Kent
                            Kronauge, Mike Ledford, Justin
                            Gay, Tommy Francis, and Jared
                            Mitchell, among others, on or
                            about 08/20/2018 (TY-
   7039   Michael Ledford   000304126).
                            Email chain between Bill Kantola,
                            Brian Roberts, Andrea Hedgepeth,
                            Andrew Hays, and Ashley Embrey,
          Special Agent     among others, on or about
   7040   LaNard Taylor     6/18/2012 (TY-000910276).
                            Email chain between James Olson,
                            Brian Roberts, Andrea Hedgepeth,
                            Andrew Hays, and Ashley Embrey
          Special Agent     on or about 6/19/2012 (TY-
   7041   LaNard Taylor     000910336).
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Exhibit         Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Brian Roberts
          Special Agent   and Ronnie Eddy on or about
   7042   LaNard Taylor   7/17/2012 (TY-000910839).
                          Email chain between Brian
                          Roberts, Tommy Francis, Francis
                          Allison, Burt Thomas, and Ron
          Special Agent   Nelson, among others, on or about
   7043   LaNard Taylor   1/27/2013 (TY-000915342).
                          Email chain between Tommy
                          Francis, Brian Roberts, and Greg
          Special Agent   Bull on or about 4/19/2013 (TY-
   7044   LaNard Taylor   000917395).
                          Email chain between Andy Lubert
          Special Agent   and Tim Mulrenin on or about
   7045   LaNard Taylor   8/29/2016 (TY-005701814).
          Special Agent   AT&T toll records for various
          Matthew         phone numbers, undated (ATT-
   8000   Koppenhaver     ATR001-00000001).
          Special Agent   Toll records for various phone
          Matthew         numbers (ATT-ATR004-
   8001   Koppenhaver     00000010).
                          Toll records for various phone
          Special Agent   numbers dated on or about
          Matthew         4/1/2012 (ATT-ATR004-
   8002   Koppenhaver     00021826).
          Special Agent   Toll Records for Scott Brady (256-
          Matthew         536-6120) (ATT-ATR005-
   8003   Koppenhaver     00000235).
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Number
                          Toll records for (214) 755-6081
                          (Jimmie Little), (302) 299-0275
                          (Tim Mulrenin), (479) 236-2020
                          (Ric Blake), (479) 799-5063 (Bill
                          Lovette), (678) 640-1622 (Scott
                          Brady), (770) 329-7505 (Bill
                          Kantola), (770) 363-7129 (Justin
                          Gay), (770) 540-4972 (Pete
          Special Agent   Martin), and (770) 654-7200 (Greg
          Matthew         Tench), among others (ATT-
   8004   Koppenhaver     ATR006-00009096).
          Special Agent   Toll records for various phone
          Matthew         numbers (ATT-ATR006-
   8005   Koppenhaver     00009097).
          Special Agent   Toll records for various phone
          Matthew         numbers (ATT-ATR006-
   8006   Koppenhaver     00009272).
          Special Agent   Toll records for various phone
          Matthew         numbers (ATT-ATR009-
   8007   Koppenhaver     00006664).
                          Toll records for (256) 536-7966
          Special Agent   (Scott Tucker), (502) 245-1681
          Matthew         (Roger Austin), among others
   8008   Koppenhaver     (ATT-ATR009-00009848).
          Special Agent   Excel spreadsheet containing
          Matthew         Mikell Fries iPhone report
   8009   Koppenhaver     (CLA_0149779).
          Special Agent   Excel spreadsheet titled Mikell
          Matthew         Fries - iPhone - Report undated
   8010   Koppenhaver     (CLAXTON_0181706).
          Special Agent   Excel spreadsheet containing text
          Matthew         messages beginning on or about
   8011   Koppenhaver     5/24/2017 (GEODOJ_0225752).
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Exhibit         Witness           Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Toll records for Brett Martin (770-
                          654-7214), Charlie Howington
                          (770-654-7209), John Davies (205-
                          201-3699), Lou Ayers (205-572-
          Special Agent   8116), and Greg Tench (770-654-
          Matthew         7200), among others (MAR-
   8012   Koppenhaver     JAC_0000357256).
          Special Agent   Excel spreadsheet containing
          Matthew         Jayson Penn call logs (PILGRIMS-
   8013   Koppenhaver     DOJ-0000502270).
          Special Agent   Excel spreadsheet containing
          Matthew         Jayson Penn call logs (PILGRIMS-
   8014   Koppenhaver     DOJ-0000502271).
          Special Agent
          Matthew         Contact entry for Justin Gay
   8015   Koppenhaver     (RSCS013189).
          Special Agent
          Matthew         Contact entry for Roger Austin
   8016   Koppenhaver     (RSCS024717).
          Special Agent   Excel spreadsheet containing Tim
          Matthew         Stiller text message report
   8017   Koppenhaver     (STILLER_0000000001).
          Special Agent
          Matthew         Contact entry for Ric Blake (TY-
   8018   Koppenhaver     001337741).
          Special Agent   Excel spreadsheet containing Carl
          Matthew         Pepper iPad report (TY-
   8019   Koppenhaver     001670902).
          Special Agent
          Matthew         Excel spreadsheet containing
   8020   Koppenhaver     Pepper call log (TY-001670903).
          Special Agent   Excel spreadsheet containing Carl
          Matthew         Pepper iPhone pull (TY-
   8021   Koppenhaver     001670904).
          Special Agent   Excel spreadsheet containing Tim
          Matthew         Mulrenin phone records (TY-
   8022   Koppenhaver     001670905).
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Exhibit         Witness           Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
          Special Agent   Excel spreadsheet containing Carl
          Matthew         Pepper phone records (TY-
   8023   Koppenhaver     001670906).
          Special Agent   Toll records for Jayson Penn (970-
          Matthew         568-2808) (VZW-ATR001-
   8024   Koppenhaver     00000630).
          Special Agent   Toll records for Scott Brady (678-
          Matthew         640-1622) (VZW-ATR001-
   8025   Koppenhaver     00001257).
          Special Agent   Toll records for Mikell Fries (912-
          Matthew         614-6833) (VZW-ATR001-
   8026   Koppenhaver     00002007).
          Special Agent   Toll records for Justin Gay (770-
          Matthew         363-7129) (VZW-ATR001-
   8027   Koppenhaver     00004200).
          Special Agent   Toll records for Kevin Grindle
          Matthew         (678-943-0783) (VZW-ATR001-
   8028   Koppenhaver     00004977).
          Special Agent   Toll records for Kevin Grindle
          Matthew         (678-943-0783) (VZW-ATR001-
   8029   Koppenhaver     00005553).
          Special Agent   Verizon toll records Tommy
          Matthew         Francis (770-654-2827) (VZW-
   8030   Koppenhaver     ATR001-00006260).
          Special Agent   Verizon toll records for Pete
          Matthew         Martin (770-540-4972) (VZW-
   8031   Koppenhaver     ATR001-00006978).
          Special Agent   Toll records for Greg Tench (770-
          Matthew         654-7200) (VZW-ATR001-
   8032   Koppenhaver     00008252).
          Special Agent   Toll records for Roger Austin
          Matthew         (770-842-9379) (VZW-ATR001-
   8033   Koppenhaver     00009436).
          Special Agent   Toll records for Jayson Penn (970-
          Matthew         568-2808) (VZW-ATR004-
   8034   Koppenhaver     00000630).
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 Trial
Exhibit         Witness           Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
          Special Agent   Toll records for Scott Brady (678-
          Matthew         640-1622) (VZW-ATR004-
   8035   Koppenhaver     00001257).
          Special Agent   Toll records for Mikell Fries (912-
          Matthew         614-6833) (VZW-ATR004-
   8036   Koppenhaver     00002007).
          Special Agent   Toll records for Justin Gay (770-
          Matthew         363-7129) (VZW-ATR004-
   8037   Koppenhaver     00004200).
          Special Agent   Toll records for Greg Tench (770-
          Matthew         654-7200) (VZW-ATR004-
   8038   Koppenhaver     00008252).
          Special Agent   Toll records for Roger Austin
          Matthew         (770-842-9379) (VZW-ATR004-
   8039   Koppenhaver     00009436).
          Special Agent   Toll records for Scott Brady (678-
          Matthew         640-1622) (VZW-ATR009-
   8040   Koppenhaver     00000744).
                          Adobe PDF titled Wireless
          Special Agent   Subscriber Information dated on or
          Matthew         about 08/08/2019 (ATT-ATR002-
   8041   Koppenhaver     00000001).
                          Adobe PDF titled Wireline
          Special Agent   Subscriber Information dated on or
          Matthew         about 4/1/2020 (ATT-ATR-004-
   8042   Koppenhaver     00021809).
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Exhibit         Witness           Brief Description          Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Toll records for (214) 755-6081
                          (Jimmie Little); (302) 299-0275
                          (Tim Mulrenin); (479) 236-2020
                          (Ric Blake); (479) 263-9573 (Tim
                          Price); (479) 283-8817 (Charles
                          George); (479) 799-5063 (Bill
                          Lovette); (479) 879-2092 (Carl
                          Pepper); (479) 926-0498 (Jason
                          McGuire); (678) 230-5196 (Jason
                          McGuire); (678) 640-1622 (Scott
                          Brady); (770) 329-7505 (Bill
                          Kantola); (770) 363-7129 (Justin
                          Gay); (770) 540-4972 (Pete
                          Martin); (770) 654-7200 (Greg
          Special Agent   Tench); (770) 713-6590 (Jason
          Matthew         McGuire) (ATT-ATR006-
   8043   Koppenhaver     00000001).
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Exhibit         Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Telephone subscriber information
                          and features information for (214)
                          755-6081 (Jimmie Little, User
                          Name Jimmie Little); (302) 299-
                          0275 (Perdue Smartphones, User
                          Name Tim Mulrenin); (479) 236-
                          2020 (George's Inc., User Name
                          Valleri Petty; (479) 263-9573
                          (Tyson Foods, User Name Time
                          Price); (479) 283-8817 (George's
                          Inc., User Name Charles George);
                          (479) 879-2092 (Tyson Foods,
                          User Name Carl Pepper); (678)
                          230-5196 (FISERV Corporation,
                          User Name Kathy Brown); (770)
                          329-7505 (Bill Kantola, User
                          Name Bill Kantola); (770) 713-
                          6590 (Ashley E. McGuire, User
                          Name Ashley E. McGuire); (214)
                          755-6081 (Pilgrim's Pride, User
                          Name Jimmie Little); (302) 299-
                          0275 (Tyson Foods, User Name
                          Perdue-Smarphones); (479) 799-
                          5063 (William Wade Lovette, User
                          Name William Lovette); (479)
                          879-2092 (Tyson Co, User Name
                          Carl Pepper); (479) 926-0498
                          (O.K. Foods, Inc., User Name OK
                          Spare); (678) 230-5196 (Pilgrim's
                          Pride, User Name Jason McGuire);
          Special Agent   (770) 363-7129 (Pilgrim's Pride,
          Matthew         User Name Justin Gay) (ATT-
   8044   Koppenhaver     ATR007-00000001).
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 Trial
Exhibit         Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          IMEI Report for (214) 755-6081;
                          (302) 299-0275; (479) 236-2020;
                          (479) 263-9573; (479) 283-8817;
                          (479) 799-5063; (479) 879-2092;
                          (678) 230-5196; (770) 329-7505;
          Special Agent   (770) 713-6590 (ATT-ATR007-
          Matthew         00000186) (ATT-ATR007-
   8045   Koppenhaver     00000186).
                          Verizon Historical SMS (Text
          Special Agent   Message) Detail Report
          Matthew         Explanation Form (VZW-
   8046   Koppenhaver     ATR014-00000165).
          Special Agent   Toll records for Timothy Stiller
          Matthew         (805-276-6918) (VZW-ATR014-
   8047   Koppenhaver     00000168).
          Special Agent   Verizon Historical Call Detail
          Matthew         Explanation Form (VZW-
   8048   Koppenhaver     ATR014-00001131).
          Special Agent   Subscriber information for (805)
          Matthew         276- 6918 (Timothy Stiller)
   8049   Koppenhaver     (VZW-ATR014-00001132).
          Special Agent   Verizon VOLTE Call Detail
          Matthew         Explanation Form (VZW-
   8050   Koppenhaver     ATR014-00001133).
                          Verizon Historical MMS
          Special Agent   (Picture/Video Message) Detail
          Matthew         Report Explanation Form (VZW-
   8051   Koppenhaver     ATR014-00001164).
          Special Agent
          Matthew         AT&T Records Key (ATT-
   8052   Koppenhaver     ATR004-00000001).
          Special Agent   Toll Records for Scott Brady (256-
          Matthew         536-6120) (ATT-ATR005-
   8053   Koppenhaver     00000016).
          Special Agent
          Matthew         Toll records (ATT-ATR006-
   8054   Koppenhaver     00000091).
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Exhibit         Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Subscriber information for
                          George's Inc., Michael Ledford,
                          Brian Roberts, and Jared Mitchell,
          Special Agent   among others dated on or about
          Matthew         8/9/2019 (ATT-ATR006-
   8055   Koppenhaver     00009195).
                          Subscriber information for (770)
                          597-5779 (Brian Roberts), (540)
                          578-1008 (Rhonda Warble), and
                          (770) 597-0526 (Michael Ledford),
          Special Agent   among others, dated on or about
          Matthew         8/9/2019 (ATT-ATR006-
   8056   Koppenhaver     00009212).
                          Toll records for (256) 536-7966
                          (Scott Brady). (502) 245-1681
          Special Agent   (Roger Austin), among others,
          Matthew         dated on or about 4/22/2020 (ATT-
   8057   Koppenhaver     ATR009-00000035).
                          Subscriber Information for (770)
          Special Agent   205-0281 (Brian Roberts) and
          Matthew         (770) 536-8818 (Koch Foods)
   8058   Koppenhaver     (ATT-ATR009-00005151).
          Special Agent   Subscriber information for (912)
          Matthew         739-9223 (Mikell Fries), among
   8059   Koppenhaver     others (ATT-ATR009-00005155).
                          AT&T toll records for assorted
          Special Agent   individuals dated on or about
          Matthew         4/22/2020 (ATT-ATR009-
   8060   Koppenhaver     00009849).
                          Subscriber information for (912)
          Special Agent   739-9223 (Mikell Fries) dated on
          Matthew         or about 4/22/2020 (ATT-
   8061   Koppenhaver     ATR009-00010440).
          Special Agent
          Matthew         AT&T Records Key (ATT-
   8062   Koppenhaver     ATR011-00000005).
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Exhibit         Witness           Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Telephone records of (205) 380-
                          3277 (Scott Tucker), (214) 755-
          Special Agent   6081 (Jimmie Little), among
          Matthew         others, dated 8/28/2020 (ATT-
   8063   Koppenhaver     ATR011-00000020).
                          Subscriber Information and
                          Features for (214) 755-6081
          Special Agent   (Jimmie Little) and others dated on
          Matthew         or about 8/28/2020 (ATT-
   8064   Koppenhaver     ATR011-00013510).
          Special Agent   IMEI Report for (214) 755-6081
          Matthew         (Jimmie Little) (ATT-ATR011-
   8065   Koppenhaver     00013573).
          Special Agent   Toll records for assorted phone
          Matthew         numbers (ATT-ATR011-
   8066   Koppenhaver     00013588).
          Special Agent   Toll records of (770) 597-5779
          Matthew         (Brian Roberts) (ATT-ATR013-
   8067   Koppenhaver     00000020).
                          Subscriber Information and
          Special Agent   Features for (770) 597-5779 (Brian
          Matthew         Roberts) (ATT-ATR013-
   8068   Koppenhaver     00007562).
          Special Agent   Toll records for (770) 597-5779
          Matthew         (Brian Roberts) (ATT-ATR013-
   8069   Koppenhaver     00007573).
          Special Agent   Toll records of Scott Brady (678-
          Matthew         640-1622) (VERIZON-ATR003-
   8070   Koppenhaver     00000001).
          Special Agent   Toll records for William Lovette
          Matthew         (479-799-5063) (VZW-ATR001-
   8071   Koppenhaver     00002913).
          Special Agent   Toll records for 828-443-1993
          Matthew         (Mitch Mitchell) (VZW-ATR001-
   8072   Koppenhaver     00002913).
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Exhibit         Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
          Special Agent
          Matthew         Toll records for Bill Kantola
   8073   Koppenhaver     (VZW-ATR001-00011457).
          Special Agent   Toll records for William Lovette
          Matthew         (479-799-5063) (VZW-ATR004-
   8074   Koppenhaver     00002913).
          Special Agent   Toll records for 678-943-0783
          Matthew         (Kevin Grindle) (VZW-ATR004-
   8075   Koppenhaver     00004977).
          Special Agent   Toll records for Kevin Grindle
          Matthew         (678-943-0783) (VZW-ATR004-
   8076   Koppenhaver     00005553).
          Special Agent   Toll records of Tommy Francis
          Matthew         (770-654-2827) (VZW-ATR004-
   8077   Koppenhaver     00006260).
          Special Agent   Toll records of Pete Martin (770-
          Matthew         540-4972) (VZW-ATR004-
   8078   Koppenhaver     00006978).
          Special Agent   Toll records for assorted phone
          Matthew         numbers (VZW-ATR005-
   8079   Koppenhaver     00000001).
          Special Agent   Telephone records for assorted
          Matthew         phone numbers (VZW-ATR005-
   8080   Koppenhaver     00000002).
          Special Agent   Toll records for Wesley Scott
          Matthew         Tucker (256-201-2928) (VZW-
   8081   Koppenhaver     ATR009-00000001).
          Special Agent   Toll records for Scott Brady (678-
          Matthew         640-1622) (VZW-ATR009-
   8082   Koppenhaver     00000695).
          Special Agent
          Matthew         Toll records for Searcy Wildes
   8083   Koppenhaver     (VZW-ATR010-00000004).
          Special Agent   Toll records for Timothy Stiller
          Matthew         (720-299-1019) (VZW-ATR011-
   8084   Koppenhaver     00002183).
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Exhibit         Witness             Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
          Special Agent
          Matthew           Toll records for Timothy Stiller
   8085   Koppenhaver       (VZW-ATR015-00001264).
                            Toll records for JImmie Little
          Special Agent     ((214) 755-6081) and others dated
          Matthew           8/28/2020 (ATT-ATR011-
   8086   Koppenhaver       00004761).
                            Calendar invitation regarding
                            lunch meeting including Barry
                            Barnett and Brian Roberts on or
          Special Agent     about 9/8/2014
   9000   LaNard Taylor     (CHURCHS0005156).
                            Excel spreadsheet untitled, undated
          Special Agent     containing Mikell Fries IPad
   9001   LaNard Taylor     Report (CLA_0074696).
                            Email from Donna Sapp to Scott
                            Brady on or about 9/5/2017
          Special Agent     attaching Adobe PDF
   9002   LaNard Taylor     (CLA_0076101).
                            Email chain between Kent
                            Kronauge, Mikell Fries, and Scott
          Special Agent     Brady on or about 5/3/2016
   9003   LaNard Taylor     (CLA_0133358).
                            Email chain between Mike
                            Ledford, Scott Brady, and Ken
                            Hutcheson on or about 10/01/2013
   9004   Michael Ledford   (CLA_0192875).
                            Email chain between Kent
                            Kronauge, Scott Brady, and Ken
          Special Agent     Hutcheson on or about 10/30/2013
   9005   LaNard Taylor     (CLA_0192979).
                            Email chain between Scott Brady,
                            Stephen Campisano, and Mike
          Special Agent     Ledford on or about 11/25/2013
   9006   LaNard Taylor     (CLA_0193082).
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Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Kent
                          Kronauge, Scott Brady, Ric Blake,
                          Bill Kantola, Carl Pepper, among
          Special Agent   others, on or about 11/27/2013
   9007   LaNard Taylor   (CLA_0193089).
                          Email chain between Scott Brady,
                          Kent Kronauge, and Mikell Fries
          Special Agent   on or about 12/06/2013
   9008   LaNard Taylor   (CLA_0193192).
                          Adobe PDF titled Board Meeting
          Special Agent   dated on or about 8/28/2014
   9009   LaNard Taylor   (CLAXTON_0087905).
                          Excel spreadsheet titled Contacts
          Special Agent   (2946) undated
   9010   LaNard Taylor   (CLAXTON_0181697).
                          Email chain between Bill Kantola
          Special Agent   and Darrel Keck on or about
   9011   LaNard Taylor   12/7/2010 (GEODOJ_0574731).
                          Email between Lance Buckert and
          Special Agent   Bill Kantola on or around
   9012   LaNard Taylor   01/31/2014 (KOCH_0002515419).
                          Email chain between Joe Grendys
                          and Bill Kantola on or about
          Special Agent   05/22/2013 (KOCHFOODS-
   9013   LaNard Taylor   0000006477).
                          Email between Bill Kantola and
                          Lance Buckert on or about
          Special Agent   07/03/2013 (KOCHFOODS-
   9014   LaNard Taylor   0000128927).
                          Email chain between Dean
                          Bradley, Bill Kantola, Barry
                          Barnett, and Chris Ward on or
          Special Agent   about 09/04/2014 (KOCHFOODS-
   9015   LaNard Taylor   0000229689).
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Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Pete Martin
          Special Agent   on or about 9/1/2017 attaching
   9016   LaNard Taylor   PDF (MJPoultry-0000356126).
                          Email chain between Brett Hurst,
                          Tommy Francis, and David
          Special Agent   Rothmeier on or about 8/29/2017
   9017   LaNard Taylor   (MJPoultry-0000356127).
                          Email chain between Bill Lovette,
                          Jayson Penn, Fabio Sandri, Beto
                          Esteves, Kyle Bolin, Jason
                          McGuire, and others on or about
          Special Agent   2/26/2013 (PILGRIMS-
   9018   LaNard Taylor   0000023134).
                          Email between Jayson Penn, Bill
                          Lovette, and Kyle Bolin on or
          Special Agent   about 03/20/2013 (PILGRIMS-
   9019   LaNard Taylor   0000023600).
                          Email chain between Demetria
                          Mabry, Bill Lovette, Jayson Penn,
                          Fabio Sandri, Jason McGuire,
                          among others, on or about
          Special Agent   3/19/2014 (PILGRIMS-
   9020   LaNard Taylor   0000030304).
                          Email between Roger Austin and
          Special Agent   Jayson Penn on or about 1/28/2013
   9021   LaNard Taylor   (PILGRIMS-0002675379).
                          Email between Justin Gay, Jason
                          McGuire, Jayson Penn and
                          Thomas Lane on or about
                          11/20/2013 attaching excel
          Special Agent   spreadsheet (PILGRIMS-
   9022   LaNard Taylor   0002702304).
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Exhibit         Witness             Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                            Excel spreadsheet titled Pilgrim's
                            Pride Corporation Popeye's Cost
                            Plus Monthly Pricing Model For
          Special Agent     2014, undated (PILGRIMS-
   9023   LaNard Taylor     0002702305).
                            Email chain between Bill Lovette,
                            Jayson Penn, Cameron Bruett, and
                            David Kesmodel on or about
          Special Agent     12/21/2013 (PILGRIMS-
   9024   LaNard Taylor     0002705180).
                            Email chain between Bill Lovette,
                            Jayson Penn, and Fabio Sandri on
                            or about 10/3/2014 attaching Excel
          Special Agent     spreadsheet (PILGRIMS-
   9025   LaNard Taylor     0002739728).
                            Email chain between Bill Lovette,
                            Fabio Sandri, Jayson Penn, and
                            Stacey Crump on or about
                            11/16/2011 attaching pricing
          Special Agent     spreadsheet (PILGRIMS-
   9026   LaNard Taylor     0002820577).
                            Email between Roger Austin, Mike
                            Ledford, and Carol Knight on or
                            about 06/06/2013 (PILGRIMS-
   9027   Michael Ledford   0002933175).
                            Email between Roger Austin, Mike
                            Ledford, and Carol Knight on or
                            about 07/03/2013 (PILGRIMS-
   9028   Michael Ledford   0002933201).
                            Email between Roger Austin,
                            Thomas Lane, Scott Tucker, Justin
                            Gay, and Beverly Jaggers on or
          Special Agent     about 7/5/2013 (PILGRIMS-
   9029   LaNard Taylor     0002933203).
          Special Agent     Email from Jason McGuire to
   9030   LaNard Taylor     Darren Lamb on or about
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          07/26/2013 (PILGRIMS-
                          0003456901).
                          Email from Thomas Lane to Roger
          Special Agent   Austin on or about 05/29/2013
   9031   LaNard Taylor   (PILGRIMS-0005253896).
                          Excel spreadsheet titled Projected
                          Corn/Meal Freight/Basis dated on
          Special Agent   or about 05/29/2013 (PILGRIMS-
   9032   LaNard Taylor   0005253897).
                          Email chain between Bill Lovette,
                          Rosemary Geelan, Fabio Sandri,
                          Jayson Penn, and Chad Baker on
          Special Agent   or about 03/19/2014 (PILGRIMS-
   9033   LaNard Taylor   0005751173).
                          Email chain between Bill Lovette
                          and Jayson Penn on or about
          Special Agent   11/11/2011 (PILGRIMS-
   9034   LaNard Taylor   5824897).
                          Email between Brenda Ray and
                          Jayson Penn on or about
          Special Agent   04/23/2012 (PILGRIMS-
   9035   LaNard Taylor   0005830276).
                          Email between Jayson Penn and
                          Roger Austin on or about
          Special Agent   08/30/2013 (PILGRIMS-
   9036   LaNard Taylor   000584704).
                          Email chain between Bill Lovette,
                          Jayson Penn, and Cameron Bruett
          Special Agent   on or about 02/27/2014
   9037   LaNard Taylor   (PILGRIMS-0005853427).
                          Email chain between Jimmie
                          Little, Charles VonDerHeyde,
                          Greg Tatum, Marco Sampaio, and
                          Roger Austin, among others on or
          Special Agent   about 11/19/2010 (PILGRIMS-
   9038   LaNard Taylor   0006831779).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Tim Stiller
                          and Jason McGuire on or about
          Special Agent   8/7/2014 attaching spreadsheet
   9039   LaNard Taylor   (PILGRIMS-0006847975).
                          Email chain between Justin Gay,
                          Jayson Penn, and Bill Lovette on
          Special Agent   or about 6/12/2014 (PILGRIMS-
   9040   LaNard Taylor   0006948412).
                          Email chain between Bill Lovette,
                          Chad Baker, and Demetria Mabry
          Special Agent   on or about 3/19/2014
   9041   LaNard Taylor   (PILGRIMS-0008937036).
                          Email chain between Jayson Penn,
                          Bill Lovette, Randy Meyers, Larry
                          Pate, and Brenda Ray, among
          Special Agent   others, on or about 1/20/2012
   9042   LaNard Taylor   (PILGRIMS-0009033301).
                          Email chain between Bill Lovette,
                          Jayson Penn, Fabio Sandri, and
                          Kevin Miller on or about
          Special Agent   3/27/2013 (PILGRIMS-
   9043   LaNard Taylor   0009045407).
                          Email chain between Bill Lovette
                          and Fabio Sandri on or about
          Special Agent   10/29/2012 (PILGRIMS-
   9044   LaNard Taylor   0009158087).
                          Calendar invitation regarding
                          Bonus Discussion including Bill
                          Lovette and Jayson Penn on or
          Special Agent   about 02/11/2014 (PILGRIMS-
   9045   LaNard Taylor   0009319673).
                          Handwritten notes written by Bill
          Special Agent   Lovette dated on or about 8/8/2011
   9046   LaNard Taylor   (PILGRIMS-0009770482).
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Exhibit         Witness          Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Handwritten notes written by Bill
          Special Agent   Lovette on or around 3/1/2017
   9047   LaNard Taylor   (PILGRIMS-0009770836).
                          Handwritten notes written by
          Special Agent   Jayson Penn (PILGRIMS-
   9048   LaNard Taylor   0009771745).
                          Handwritten notes written by
          Special Agent   Jayson Penn (PILGRIMS-
   9049   LaNard Taylor   0009771746).
                          Handwritten notes written by
          Special Agent   Jayson Penn (PILGRIMS-
   9050   LaNard Taylor   0009771759).
                          Handwritten notes written by
          Special Agent   Jayson Penn (PILGRIMS-
   9051   LaNard Taylor   0009771831).
                          Handwritten notes written by
          Special Agent   Jayson Penn (PILGRIMS-
   9052   LaNard Taylor   0009771832).
                          Email chain between Jayson Penn,
                          Bill Lovette, and Charles Von Der
          Special Agent   Heyde on or about 1/10/2012
   9053   LaNard Taylor   (PILGRIMS-0009972286).
                          Text message from Justin Gay to
                          Timothy Stiller on or about
          Special Agent   12/28/2018 (PILGRIMS-DOJ-
   9054   LaNard Taylor   0000102809).
                          Email chain between Justin Gay,
                          Jason McGuire, Robbie Bryant,
                          and Kent Kronauge on or about
                          01/14/2014 (PILGRIMS-DOJ-
   9055   Robert Bryant   0000390680).
                          Text message from Jayson Penn on
          Special Agent   or about 5/4/2019 (PILGRIMS-
   9056   LaNard Taylor   DOJ-0000508952).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Jayson Penn,
                          Chrles Von Der Heyde, and Bill
          Special Agent   Lovette on or about 12/7/2011
   9057   LaNard Taylor   (PILGRIMS-DOJ-0000509305).
                          Email between Jayson Penn and
                          Brenda Ray on or about 8/11/2014
          Special Agent   attaching email chain (PILGRIMS-
   9058   LaNard Taylor   DOJ-0000513489).
                          Email chain between Jayson Penn,
                          Brenda Ray, Liz Boenisch, Luis
                          Alvarez, and Shanise Weatherman,
                          among others, on or about
          Special Agent   8/11/2014 (PILGRIMS-DOJ-
   9059   LaNard Taylor   0000513490).
                          Email chain between Tim Stiller,
                          Jimmie Little, and Roger Austin on
          Special Agent   or about 10/26/2015 (PILGRIMS-
   9060   LaNard Taylor   DOJ-0000513596).
                          Text message from Tim Stiller to
          Special Agent   Bill Lovette on or about
   9061   LaNard Taylor   12/10/2015 (CLA_0085950).
                          Text message from Bill Lovette to
                          Tim Stiller dated on or about
          Special Agent   12/10/2015 (PILGRIMS-DOJ-
   9062   LaNard Taylor   0000514053).
                          Text message from Tim Stiller to
                          Bill Lovette on or about
          Special Agent   12/10/2015 (PILGRIMS-DOJ-
   9063   LaNard Taylor   0000514054).
                          Text message form Bill Lovette to
          Special Agent   Tim Stiller on or about 12/10/2015
   9064   LaNard Taylor   (PILGRIMS-DOJ-0000514055).
                          Text message from Eric Oare to
          Special Agent   Tim Stiller on or about 2/29/2016
   9065   LaNard Taylor   (PILGRIMS-DOJ-0000514947).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Text message from Eric Oare to
          Special Agent   Tim Still on or around 2/29/2016
   9066   LaNard Taylor   (PILGRIMS-DOJ-0000514948).
                          Text message from Eric Oare to
          Special Agent   Tim Stiller on or around 2/29/2016
   9067   LaNard Taylor   (PILGRIMS-DOJ-0000514949).
                          Text message from Eric Oare to
          Special Agent   Tim Stiller on or about 2/29/2016
   9068   LaNard Taylor   (PILGRIMS-DOJ-0000514950).
                          Text message from Roger Austin
                          to Tim Stiller on or about
          Special Agent   2/29/2016 (PILGRIMS-DOJ-
   9069   LaNard Taylor   0000514956).
                          Text message from Austin Roger
                          to Tim Stiller on or about
          Special Agent   2/29/2016 (PILGRIMS-DOJ-
   9070   LaNard Taylor   0000514957).
                          Text message from Tim Stiller to
                          Austin Roger on or about
          Special Agent   2/29/2016 (PILGRIMS-DOJ-
   9071   LaNard Taylor   0000514958).
                          Email between Jayson Penn, Bill
                          Lovette, and Fabio Sandri on or
          Special Agent   about 11/2/2012 (PILGRIMS-
   9072   LaNard Taylor   DOJ-0000845514).
                          Email chain between Jayson Penn,
                          Bill Lovette, Kyle Bolin, and
                          Randy Meyers on or about
          Special Agent   05/15/2013 (PILGRIMS-DOJ-
   9073   LaNard Taylor   0000858442).
                          Email chain between Bill Lovette,
                          Fabio Sandri, Jayson Penn, and
                          Doug Schult on or about 2/10/2014
          Special Agent   attaching Powerpoint presentation
   9074   LaNard Taylor   (PILGRIMS-DOJ-0000877318).
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Exhibit        Witness            Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          PowerPoint presentation titled
          Special Agent   2013 - Plan undated (Pilgrims-
   9075   LaNard Taylor   DOJ-0000877319).
                          Text message from Tim Stiller to
          Special Agent   Jayson Penn on or about 7/13/2017
   9076   LaNard Taylor   (PILGRIMS-DOJ-0000923015).
                          Text message from Timothy Stiller
                          to Jayson Penn dated on or about
          Special Agent   2/24/2018 (PILGRIMS-DOJ-
   9077   LaNard Taylor   0000925994).
                          Picture dated on or about
          Special Agent   2/24/2018 (PILGRIMS-DOJ-
   9078   LaNard Taylor   0000925995).
                          Text message from Scott Tucker to
          Special Agent   Tim Stiller on or about 2/24/2018
   9079   LaNard Taylor   (PILGRIMS-DOJ-0000926072).
                          Text message from Roger Austin
                          to Tim Stiller on or about
          Special Agent   2/25/2018 (PILGRIMS-DOJ-
   9080   LaNard Taylor   0000926097).
                          Picture dated on or about
          Special Agent   2/24/2018 (PILGRIMS-DOJ-
   9081   LaNard Taylor   0000926098).
                          Email between Jimmie Little,
                          Roger Austin, Scott Tucker, and
                          Justin Gay on or about 9/23/2013
          Special Agent   attaching cost model (PILGRIMS-
   9082   LaNard Taylor   DOJ-0001244383).
                          Excel spreadsheet titled Church's
                          Chicken-Pilgrims Pride Formula
          Special Agent   Based Cost Model undated
   9083   LaNard Taylor   (PILGRIMS-DOJ-0001244384).
                          Email chain between Jimmie
                          Little, Roger Austin, and Scott
          Special Agent   Brady on or about 5/20/2011
   9084   LaNard Taylor   (PILGRIMS-DOJ-0001762863).
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 Trial
Exhibit         Witness          Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Jimmie
                          Little, Jason McGuire, Robbie
                          Bryant on or about 11/26/2013
   9085   Robert Bryant   (PILGRIMS-DOJ-0001775296).
                          Email chain between Dean Bradley
                          and Jimmie Little on or about
          Special Agent   02/04/2014 (PILGRIMS-DOJ-
   9086   LaNard Taylor   0002260236).
                          Email chain between Bill Lovette,
                          Jayson Penn, Chad Baker, Fabio
                          Sandri, and Kyle Bolin, among
          Special Agent   others, on or about 03/19/2014
   9087   LaNard Taylor   (PILGRIMS-DOJ-0002513330).
                          Email chain between Jimmie
                          Little, Robbie Bryant, and Dean
                          Bradley on or about 02/04/2014
   9088   Robert Bryant   (PILGRIMS-DOJ-0002725662).
                          Email chain between Jimmie
                          Little, Jayson Penn, Thomas Lane,
                          Jason McGuire and Dean Bradley
          Special Agent   on or about 10/31/2013
   9089   LaNard Taylor   (PILGRIMS-DOJ-0002730925).
                          Email chain between Jayson Penn,
                          Brenda Ray, Liz Boenisch, Luis
                          Alvarez, and Shanise Weatherman,
                          among others, on or about
          Special Agent   8/11/2014 (PILGRIMS-DOJ-
   9090   LaNard Taylor   0002731046).
                          Email chain between Jayson Penn,
                          Brenda Ray, Liz Boenisch, Luis
                          Alvarez, and Shanise Weatherman,
                          among others, on or about
          Special Agent   8/11/2014 (PILGRIMS-DOJ-
   9091   LaNard Taylor   0002731050).
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Exhibit        Witness            Brief Description          Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Jayson Penn,
                          Brenda Ray, Liz Boenisch, Luis
                          Alvarez, and Shanise Weatherman,
                          among others, on or about
          Special Agent   8/11/2014 (PILGRIMS-DOJ-
   9092   LaNard Taylor   0002731058).
                          Email chain between Travis Koch,
                          Jayson Penn, and Nicholas White
                          on or about 02/27/2014 attaching
          Special Agent   images and Adobe PDF
   9093   LaNard Taylor   (PILGRIMS-DOJ-0004219369).
                          Email chain between Travis Koch,
                          Jayson Penn, and Nicholas White
                          on or about 02/27/2014 attaching
          Special Agent   Adobe PDF (PILGRIMS-DOJ-
   9094   LaNard Taylor   0004219400).
                          Presentation titled Board of
                          Directors Meeting dated on or
          Special Agent   about 3/18/2009 (TE-
   9095   LaNard Taylor   0000011308).
                          Email chain between Chris Ward,
                          Dean Bradley, Carl Pepper and
          Special Agent   Brian Roberts on or about
   9096   LaNard Taylor   08/23/2013 (TY-000073243).
                          Email between Chris Ward, Carl
                          Pepper, Brian Roberts, Barry
                          Barnett and Dean Bradley on or
          Special Agent   about 08/23/2013 (TY-
   9097   LaNard Taylor   000073248).
                          Email between Carl Pepper, Clark
          Special Agent   Penny, and Kenny Brasher on or
   9098   LaNard Taylor   about 5/1/2013 (TY-000243566).
                          Email between Scott Brady and
          Special Agent   Tim Mulrenin on or about
   9099   LaNard Taylor   12/30/2013 attaching Ric Blake's
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Exhibit        Witness            Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          contact information (TY-
                          001337740).

                          Calendar invitation regarding
                          "Bone In Chicken Conference
                          Call-Tyson" including Dean
                          Bradley, Brian Roberts, Tim
                          Mulrenin, Barry Barnett and Chris
          Special Agent   Ward on or about 07/07/2014 (TY-
   9100   LaNard Taylor   001457446).
                          Email chain between Jared
                          Mitchell, Chris Ward, James
                          Brailey and Tim Mulrenin on or
          Special Agent   about 10/04/2013 (TY-
   9101   LaNard Taylor   001481863).
                          Email chain between Tim
                          Mulrenin, Kent Kronauge, and
          Special Agent   Carl Pepper on or about
   9102   LaNard Taylor   03/07/2018 (TY-001574218).
                          Calendar invitation regarding
                          Church's 2015 Contract and
                          Volume Discussions including
                          Barry Barnett, Brian Roberts, Chris
                          Ward, and Dean Bradley on or
          Special Agent   about 10/08/2021 (TY-
   9103   LaNard Taylor   001607823).
                          Text message from Carl Pepper to
          Special Agent   Tim Mulrenin on or about
   9104   LaNard Taylor   05/18/2017 (TY-001642559).
                          Email from Barry Barnett to Tim
                          Mulrenin, Brian Roberts, and Chris
                          Ward on or about 11/2/2015
          Special Agent   attaching Adobe PDF (TY-
   9105   LaNard Taylor   001903634).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Adobe PDF Supply Agreement For
          Special Agent   Church's Chicken undated (TY-
   9106   LaNard Taylor   001903635).
                          Email chain between Nicholas
                          Corter, Shayla Decker, Darrell
                          Bowlin, Charles Boger, and
                          Ritchey Collyar, among others, on
          Special Agent   or about 12/10/2018 attaching PDF
   9107   LaNard Taylor   (TY-003250369).
                          Email chain between Tim
                          Mulrenin, Phillip Sprouse, Carl
                          Pepper, Steven Cullen, and Ritchey
                          Collyar, among others on or about
          Special Agent   10/25/2016 attaching Word
   9108   LaNard Taylor   document (TY-003274395).
                          Email between Jared Mitchell,
                          Daniel Tarter, and Tim Mulrenin
          Special Agent   on or about 6/10/2016 attaching
   9109   LaNard Taylor   Adobe PDF (TY-003274396).
                          Document titled Amendment
          Special Agent   signed by Andrew Lubert on or
   9110   LaNard Taylor   about 6/10/2016 (TY-003274397).
                          Document titled Amendment
                          signed by Andrew Lubert on or
          Special Agent   about 06/10/2016 (TY-
   9111   LaNard Taylor   003274402).
                          Email chain between Jared
                          Mitchell, Phillip Sprouse, Sammie
                          Apperson, Heather Swope, and
                          Tim Mulrenin on or about
          Special Agent   6/15/2016 attaching an Adobe PDF
   9112   LaNard Taylor   (TY-003274407).
                          Adobe PDF titled Amendment
          Special Agent   dated on or about 12/28/2015 (TY-
   9113   LaNard Taylor   003274421).
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 Trial
Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Carl Pepper,
                          Ritchey Collyar, Darrell Bowlin,
          Special Agent   and Steven Cullen on or about
   9114   LaNard Taylor   4/21/2016 (TY-003275651).
                          Email between Tim Mulrenin,
                          Andy Lubert, Steven Cullen, Carl
                          Pepper and Tim Scheiderer, among
                          others on or about 9/1/2016
          Special Agent   attaching an Adobe PDF (TY-
   9115   LaNard Taylor   003515620).
                          Email chain between Phillip
                          Sprouse, William Pannell, and
                          Ritchey Collyar on or about
          Special Agent   11/7/2016 attaching Adobe PDFs
   9116   LaNard Taylor   (TY-004260100).
                          Email chain between Tim
                          Mulrenin, Phillip Sprouse, Carl
                          Pepper, Steven Cullen, and Ritchey
                          Collyar, among others on or about
          Special Agent   10/25/2016 attaching a Word
   9117   LaNard Taylor   document (TY-004260101).
                          Email between Jared Mitchell,
                          Daniel Tarter, and Tim Mulrenin
          Special Agent   on or about 6/10/2016 attaching
   9118   LaNard Taylor   Adobe PDFs (TY-004260102).
                          Document titled Amendment
                          signed by Andrew Lubert on or
          Special Agent   about 06/10/2016 (TY-
   9119   LaNard Taylor   004260103).
                          Document titled Amendment
                          signed by Andrew Lubert on or
          Special Agent   about 06/10/2016 (TY-
   9120   LaNard Taylor   004260108).
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Exhibit        Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Jared
                          Mitchell, Phillip Sprouse, Sammie
                          Apperson, Heather Swope and Tim
                          Mulrenin on or about 6/15/2016
          Special Agent   attaching Adobe PDF (TY-
   9121   LaNard Taylor   004260113).
                          Adobe PDF titled Supply
                          Agreement for Church's Chicken
          Special Agent   dated on or about 12/28/2015 (TY-
   9122   LaNard Taylor   004260114).
                          Adobe PDF titled AMENDMENT
          Special Agent   dated on or about 12/28/2015 (TY-
   9123   LaNard Taylor   004260127).
                          Email chain between Ritchey
                          Collyar, Charles Boger, Carl
                          Pepper, Amanda Burcham, and
                          Phillip Sprouse, among others, on
          Special Agent   or about 12/3/2018 attaching PDF
   9124   LaNard Taylor   (TY-004289585).
                          Email chain between Ritchey
                          Collyar, Charles Boger, Carl
                          Pepper, Amanda Burcham, and
                          Phillip Sprouse, among others, on
          Special Agent   or about 12/3/2018 attaching PDF
   9125   LaNard Taylor   (TY-004351492).
          Special Agent   Plea Agreement filed 02/23/2021
   9126   LaNard Taylor   (DOJ-ATR026-00000002).
                          File of and handwritten notes
          Special Agent   written by Ric Blake undated
   9127   LaNard Taylor   (GEODOJ_0582734).
                          File of and handwritten notes
          Special Agent   written by Ric Blake
   9128   LaNard Taylor   (GEODOJ_0582840).
                          File of and handwritten notes
          Special Agent   written by Ric Blake
   9129   LaNard Taylor   (GEODOJ_0583062).
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Exhibit         Witness           Brief Description           Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          File of and handwritten notes
          Special Agent   written by Ric Blake
   9130   LaNard Taylor   (GEODOJ_0583952).
                          File of and handwritten notes
          Special Agent   written by Ric Blake
   9131   LaNard Taylor   (GEODOJ_0584944).
          Special Agent   File of and handwritten notes
   9132   LaNard Taylor   (GEODOJ_0588267).
                          File of and handwritten notes
          Special Agent   written by Ric Blake
   9133   LaNard Taylor   (GEODOJ_0588565).
          Special Agent   Undated document labeled Pete
   9134   LaNard Taylor   Martin (MAR-JAC_0000850684).
                          Expense Report by Pete Martin for
          Special Agent   the period ending 4/18/2014
   9135   LaNard Taylor   (MAR-JAC_0000850686).
                          Receipt signed by Pete Martin
          Special Agent   dated 3/27/2014 (MAR-
   9136   LaNard Taylor   JAC_0000850697).
                          Email chain between Tanveer Papa
                          and Lou Ayers on or about
                          11/07/2016 attaching Contract
          Special Agent   Addendum (MJPoultry-
   9137   LaNard Taylor   0000471975).
                          Contract Addendum: American
                          Proteins, Inc. - MarJac Poultry,
          Special Agent   Inc. signed by Pete Martin
   9138   LaNard Taylor   (MJPoultry-0000471976).
                          Email chain between Robbie
                          Bryant, Tim Stiller, Janine
                          Nollkamper, Kyle Richard, and
                          Lisa Kasmier, among others, on or
                          about 4/18/2017 (PILGRIMS-
   9139   Robert Bryant   DOJ-0004818296).
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Exhibit         Witness           Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Robbie
                          Bryant, Tim Stiller, and Janine
                          Nollkamper, among others, on or
                          about 4/18/2017 (PILGRIMS-
   9140   Robert Bryant   DOJ-0004818297).
                          Deposition transcript of Pete
          Special Agent   Martin on 5/7/2019 (TE-
   9141   LaNard Taylor   0000047323).
                          Word document titled PIFA
          Special Agent   Vendor Claxton dated on or about
   9142   LaNard Taylor   6/26/2017 (CLA_0075888).
                          Adobe PDF titled FOR
          Special Agent   IMMEDIATE RELEASE dated
   9143   LaNard Taylor   3/1/2016 (CLA_0133351).
                          Email chain between Greg Finch,
                          Scott Brady, Chris Sharp, Norman
                          Parker, Meghan Schultz, and
          Special Agent   others on or about 4/12/2019
   9144   LaNard Taylor   (CLA_0242816).
                          Email chain between Tommy
                          Francis, Scott Brady, and others on
          Special Agent   or about 01/05/2016
   9145   LaNard Taylor   (CLAXTON_0000081).
                          Email between Robert Lewis and
                          Mikell Fries on or about
          Special Agent   10/18/2007
   9146   LaNard Taylor   (CLAXTON_0011048).
                          Email chain between Brett Wright
                          and Mikell Fries on or about
          Special Agent   03/04/2016
   9147   LaNard Taylor   (CLAXTON_0024099).
                          Email chain between Robert
                          Lewis, Charles George, Ric Blake,
                          Greg Nelson, and Darrel Keck, on
          Special Agent   or around 5/27/2014
   9148   LaNard Taylor   (GEO_0000719600).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email between Ric Blake, Darrel
                          Keck, Charles George, and others
          Special Agent   on or about 6/26/2009
   9149   LaNard Taylor   (GEO_0000824073).
                          Email between Robert Lewis and
          Special Agent   Darrel Keck on or about 5/23/2014
   9150   LaNard Taylor   (GEO_0001412690).
                          Email between Ric Blake, Stephen
                          Campisano, Brian Coan, and Jason
          Special Agent   McGuire on or about 9/8/2017
   9151   LaNard Taylor   (GEODOJ_0005076).
                          Email between Bill Kantola and
          Special Agent   Joe Grendys on or about
   9152   LaNard Taylor   11/05/2012 (KOCH_0000055997).
                          Email chain between Donnie King,
                          Mark Kaminsky, and Joe Grendys
          Special Agent   on or about 11/01/2007
   9153   LaNard Taylor   (KOCH_0001229667).
                          Adobe PDF titled Brinker
                          International Purchase Agreement
          Special Agent   dated 3/15/2019 (KOCHFOODS-
   9154   LaNard Taylor   0000099529).
                          Excel spreadsheet titled Market
                          Vision Fall 2018 Conference
          Special Agent   Attendee List undated
   9155   LaNard Taylor   (KOCHFOODS-0000174545).
                          Email chain between Bill Kantola,
                          Chris Ward, Dean Bradley, and
          Special Agent   Peter Wong on or about 5/15/2013
   9156   LaNard Taylor   (KOCHFOODS-0000217454).
                          Interview of Tara Love
                          Memorandum of Interview with
          Special Agent   date of incident 07/14/2012 (Love-
   9157   LaNard Taylor   MOI-ATR-00000001).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Kevin
                          Grindle, Tommy Francis, and
          Special Agent   others on or about 08/27/2012
   9158   LaNard Taylor   (MJP-006133).
                          Email chain between Kevin Ilardi
          Special Agent   and Searcy Wildes on or about
   9159   LaNard Taylor   9/25/2014 (PER-000059563).
                          Excel spreadsheet titled DCRF
                          Perdue Cajun Fillet 8-15-14 dated
          Special Agent   on or about 6/21/2016 (PER-
   9160   LaNard Taylor   000067899).
                          Email chain between Tim
                          Mulrenin and Brittany Madden on
          Special Agent   or about 6/4/2018 (PER-
   9161   LaNard Taylor   000188033).
                          Email chain between Searcy
                          Wildes, Steve Evans, and others on
          Special Agent   or about 05/20/2009
   9162   LaNard Taylor   (PERDUE0000046428).
                          Email chain between Bruce
                          Stewart-Brown, Searcy Wildes,
          Special Agent   and others on or about 08/20/2010
   9163   LaNard Taylor   (PERDUE0001606800).
                          Email chain between Roger Austin
                          to Clay Matthews, Jason McGuire,
                          Jimmie Little, Justin Gay, Jayson
                          Penn, and others on or about
          Special Agent   12/15/2011 (PILGRIMS-
   9164   LaNard Taylor   0000017474).
                          Email chain between Roger Austin
                          and Rich Eddington dated on or
          Special Agent   about 10/20/2014 (PILGRIMS-
   9165   LaNard Taylor   0006001047).
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 Trial
Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Adobe PDF titled Minutes of a
                          Regular Meeting of the Board of
                          Directors of Pilgrim's Pride
                          Corporation dated on or about
          Special Agent   05/02/2013 (PILGRIMS-
   9166   LaNard Taylor   0006728619).
                          Email from Bill Lovette to Judy
                          Allbritton dated on or about
          Special Agent   10/21/2011 attaching Adobe PDF
   9167   LaNard Taylor   (PILGRIMS-0006736103).
                          Adobe PDF titled 8-K Current
          Special Agent   report filing dated 1/18/2011
   9168   LaNard Taylor   (PILGRIMS-0006736104).
                          Email chain between Matthew
                          Boarman, Jason McGuire, and
                          Jimmie Little on or about
          Special Agent   11/15/2013 (PILGRIMS-
   9169   LaNard Taylor   0006841378).
          Special Agent   Contacts Export of Jayson Penn
   9170   LaNard Taylor   (PILGRIMS-0006899280).
          Special Agent   Letter dated 7/23/2014
   9171   LaNard Taylor   (PILGRIMS-0006950534).
                          Email chain between Terri
                          Ferguson, Jayson Penn, and Larry
          Special Agent   Pate on or about 8/3/2011
   9172   LaNard Taylor   (PILGRIMS-0009024698).
                          Excel spreadsheet titled Contact
          Special Agent   List 2010 (PILGRIMS-
   9173   LaNard Taylor   0010305518).
                          Email between Roger Austin, Scott
                          Tucker, Justin Gay, Jimmie Little,
                          Tim Stiller and others on or about
          Special Agent   12/21/2016 attaching spreadsheet
   9174   LaNard Taylor   (PILGRIMS-DOJ-0000183015).
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 Trial
Exhibit         Witness           Brief Description              Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Janine
                          Nollkamper, Michael Huffner,
                          Tom DeTaeye, and others on or
          Special Agent   about 6/16/2017 (PILGRIMS-
   9175   LaNard Taylor   DOJ-0000261475).
                          Message from Jayson Penn to Bill
          Special Agent   Lovette on or about 2/13/2016
   9176   LaNard Taylor   (PILGRIMS-DOJ-0000492331).
                          Message between Jayson Penn and
                          Jason McGuire on or about
          Special Agent   8/10/2016 (PILGRIMS-DOJ-
   9177   LaNard Taylor   0000497150).
                          Email chain between Joe Brink,
                          Larry Pate, Jason McGuire, Shanna
                          Ramirez, and Craig Raysor, among
                          others, dated on or about
                          11/12/2012 attaching Adobe PDF
   9178   Joe Brink       (PILGRIMS-DOJ-0000502301).
                          Email chain between Andrew
                          Hays, Jason McGuire, Jason
                          Slider, Larry Pate, and others on or
          Special Agent   about 10/18/2011 (PILGRIMS-
   9179   LaNard Taylor   DOJ-0000574947).
                          Email chain between Roger
                          Austin, Joshua Funk, and Sandy
          Special Agent   Chastain-Brough (PILGRIMS-
   9180   LaNard Taylor   DOJ-0001225189).
                          Email chain between Tim Stiller
                          and Sarah Reifenberg on or about
          Special Agent   4/20/2010 (PILGRIMS-DOJ-
   9181   LaNard Taylor   0001274333).
                          Email chain between Tim Stiller,
                          Greg Nyhus, and others on or
          Special Agent   about 11/2/2012 (PILGRIMS-
   9182   LaNard Taylor   DOJ-0001338930).
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 Trial
Exhibit         Witness           Brief Description              Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email between Official Football
                          Pool and Jason McGuire on or
          Special Agent   about 9/28/2014 (PILGRIMS-
   9183   LaNard Taylor   DOJ-0001537448).
                          Email chain between Larry Pate,
                          Jason McGuire, Jimmie Little, and
          Special Agent   other on or about 4/1/2010
   9184   LaNard Taylor   (PILGRIMS-DOJ-0001560279).
                          Email from Mitch Mitchell to
                          Jayson Penn on or about
          Special Agent   10/27/2011 (PILGRIMS-DOJ-
   9185   LaNard Taylor   0002160217).
                          Email chain between Scott Brady,
                          Rick Grondin, Clay Matthews, and
          Special Agent   Tim Stiller on or about 1/3/2012
   9186   LaNard Taylor   (PILGRIMS-DOJ-0002453049).
                          Email chain between Robbie
                          Bryant, Tracy Armitage, and
                          Jeremy West on or about
                          4/20/2011 (PILGRIMS-DOJ-
   9187   Robert Bryant   0003919585).
                          Email from Robbie Bryant on or
                          about 5/31/2019 (PILGRIMS-
   9188   Robert Bryant   DOJ-0004025625).
                          Adobe PDF titled Sales
          Special Agent   Organizational Slides undated
   9189   LaNard Taylor   (PILGRIMS-DOJ-0004041230).
                          Email chain between Jimmie
                          Little, Rick Herbstreit, Chuck
                          Bold, Roger Austin, and other on
          Special Agent   or about 3/1/2007 (PILGRIMS-
   9190   LaNard Taylor   DOJ-0004410414).
                          Email chain between Jimmie
                          Little, Lisa Burdick, Judith Sitton,
                          Renee DeBar, and Travis Koch on
          Special Agent   or about 9/27/2016 (PILGRIMS-
   9191   LaNard Taylor   DOJ-0004630665).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email chain between Jason Carter,
                          Kent Kronauge, Dean Bradley,
          Special Agent   Jason McGuire, and others on or
   9192   LaNard Taylor   about 12/3/2019 (SMS-00008051).
                          Email chain between Walter
          Special Agent   Cooper and Kent Kronauge on or
   9193   LaNard Taylor   about 1/6/2012 (SMS-00016803).
                          Email from Scott Tucker to Kent
                          Kronauge, Jimmy Ramia, and
          Special Agent   Brian Roberts dated on or about
   9194   LaNard Taylor   1/13/2011 (SMS-00039642).
                          Email chain between Briant
                          Roberts, Kent Kronauge, and
          Special Agent   others on or about 7/28/2008
   9195   LaNard Taylor   (SMS-00042820).
                          Email chain between Tommy
                          Francis and Kent Kronauge on or
          Special Agent   about 11/21/2019 (SMS-
   9196   LaNard Taylor   00043808).
                          Email chain between Ric Blake
          Special Agent   and Carl Pepper on or about
   9197   LaNard Taylor   7/1/2011 (TY-000018047).
                          Email chain between Tim
                          Mulrenin, Sue Havens, Catherine
          Special Agent   Breck, and others on or about
   9198   LaNard Taylor   12/08/2017 (TY-000173900).
                          Email chain between Jamie
                          Schaben, Carl Pepper, and Roger
          Special Agent   Brooks on or about 5/15/2018
   9199   LaNard Taylor   (TY-000192879).
                          Email between Rich Eddington,
                          Bill Kantola, Natalie Weary, Jared
                          Mitchell and Kevin Grindle,
          Special Agent   among others on or about 5/1/2019
   9200   LaNard Taylor   (TY-000228350).
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Exhibit        Witness           Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Contact entry with subject RICK
          Special Agent   BLAKE - GEORGES on or about
   9201   LaNard Taylor   3/2/2019 (TY-000280047).
                          Email chain between Brian Roberts
          Special Agent   and Walter Cooper on or about
   9202   LaNard Taylor   6/19/2012 (TY-000910409).
                          Email chain between Rich
                          Eddington, Scott Tucker, Austin
                          Roger, Justin Gay, and Jimmie
          Special Agent   Little, among others on or about
   9202   LaNard Taylor   10/10/2012 (TY-000912979).
                          Email between Rich Eddington and
          Special Agent   Brian Roberts on or about
   9204   LaNard Taylor   9/30/2014 (TY-000941087).
                          Email from Verizon to Tim
          Special Agent   Mulrenin on or about 6/22/2012
   9205   LaNard Taylor   (TY-001134216).
                          Email chain between Darin Hahn
          Special Agent   and Tim Mulrenin on or about
   9206   LaNard Taylor   11/5/2007 (TY-001235196).
                          Contact entry from Tim Mulrenin
          Special Agent   dated on or about 1/4/2008 (TY-
   9207   LaNard Taylor   001326131).
                          Email chain between Tim
                          Mulrenin and Joe Brink on or
          Special Agent   about 11/14/2013 (TY-
   9208   LaNard Taylor   001511658).
                          Letter to Brian Roberts to Pete
          Special Agent   Suerken on or about 12/9/2015
   9209   LaNard Taylor   (TY-001905510).
                          Email chain between Tim
                          Mulrenin, Jared Mitchell, and
          Special Agent   Kelley Davidson on or about
   9210   LaNard Taylor   6/7/2016 (TY-002165276).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Email between Carl Pepper and
          Special Agent   Joe Kidd on or about 12/14/2007
   9211   LaNard Taylor   (TY-004150700).
                          Email chain between Carl Pepper
          Special Agent   and Ken Nelson on or about
   9212   LaNard Taylor   2/1/2008 (TY-004151085).
                          Contact entry with subject Tim
                          Mulrenin - Tyson Foods, Inc. dated
          Special Agent   on or about 6/29/2019 (TY-
   9213   LaNard Taylor   004438775).
                          Email chain between Mike
                          Cicatiello, Carl Pepper, Andy
                          Lubert, Casey Yates, and Nolan
          Special Agent   Phillip, among others on or about
   9214   LaNard Taylor   8/26/2019 (TY-006026307).
                          Adobe PDF titled Koch Foods Inc.
                          Application of the Principles of
                          Federal Prosecution of Business
                          Organizations dated on or about
          Special Agent   11/2/2020 (WP-ATR001-
   9215   LaNard Taylor   00000048).
                          Document titled Management
                          Standards of Behavior
                          Acknowledgement Statement dated
          Special Agent   on or about 10/15/2007 (TY-
   9216   LaNard Taylor   007001647).
                          Personnel Action Form dated on or
                          about 10/17/2007 attaching
          Special Agent   memoranda and emails (TY-
   9217   LaNard Taylor   007001648).
                          Document titled Personnel Action
                          # 227304: Document Archival
          Special Agent   dated on or about 10/18/2009 (TY-
   9218   LaNard Taylor   007001668).
                          Document titled Application for
          Special Agent   Employment dated on or about
   9219   LaNard Taylor   8/29/2007 (TY-007001675).
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Exhibit        Witness            Brief Description            Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
                          Document titled Separation Form
          Special Agent   dated on or about 5/10/2018 (TY-
   9220   LaNard Taylor   007001698).
                          Document titled Personal Action
          Special Agent   Form dated on or about 4/21/2013
   9221   LaNard Taylor   (TY-007001701).
                          Document titled Paperwork
                          Checklist for Management &
          Special Agent   Management Support dated on or
   9222   LaNard Taylor   about 6/4/2012 (TY-007001710).
                          Document titled Personnel Action
          Special Agent   Form dated on or about 6/2/2014
   9223   LaNard Taylor   (TY-007001728).
                          Email between Cathie Vasiliou and
                          Carol Cunningham attaching
                          checks, COBRA information, and
          Special Agent   employment agreement (TY-
   9224   LaNard Taylor   007001729).
          Special Agent   Personnel Action Form dated on or
   9225   LaNard Taylor   about 10/4/2015 (TY-007001738).
                          Separation Notification Form dated
          Special Agent   on or about 2/26/2016 (TY-
   9226   LaNard Taylor   007001743).
          Special Agent
   9227   LaNard Taylor   Bill Kantola LinkedIn Profile
          Special Agent
   9228   LaNard Taylor   Brian Roberts LinkedIn Profile
          Special Agent
   9229   LaNard Taylor   Jayson Penn LinkedIn Profile
          Special Agent
   9230   LaNard Taylor   Jimmie Little LinkedIn Profile
          Special Agent
   9231   LaNard Taylor   Ric Blake LinkedIn Profile
          Special Agent
   9232   LaNard Taylor   Roger Austin LinkedIn Profile
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Exhibit        Witness            Brief Description             Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
          Special Agent
   9233   LaNard Taylor   Scott Brady LinkedIn Profile
          Special Agent
   9234   LaNard Taylor   Tim Mulrenin LinkedIn Profile
          Special Agent   Roger Austin Driver's License
   9235   LaNard Taylor   Picture
          Special Agent
   9236   LaNard Taylor   Ric Blake Driver's License Picture
          Special Agent   Scott Brady Driver's License
   9237   LaNard Taylor   Picture
          Special Agent   Kelley Davidson Driver's License
   9238   LaNard Taylor   Picture
          Special Agent
   9239   LaNard Taylor   Errol Oare Driver's License Picture
          Special Agent   Mikell Fries Driver's License
   9240   LaNard Taylor   Picture
          Special Agent
   9241   LaNard Taylor   Justin Gay Driver's License Picture
          Special Agent   William Kantola Driver's License
   9242   LaNard Taylor   Picture
          Special Agent   Thomas Lane Driver's License
   9243   LaNard Taylor   Picture
          Special Agent   Jimmie Little Driver's License
   9244   LaNard Taylor   Picture
          Special Agent   William Lovette Driver's License
   9245   LaNard Taylor   Picture
          Special Agent   Jason McGuire Driver's License
   9246   LaNard Taylor   Picture
          Special Agent   Timothy Mulrenin Driver's License
   9247   LaNard Taylor   Picture
          Special Agent   Jayson Penn Driver's License
   9248   LaNard Taylor   Picture
          Special Agent   Carl Pepper Driver's License
   9249   LaNard Taylor   Picture
          Special Agent   Robert Bryant Driver's License
   9250   LaNard Taylor   Picture
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Exhibit        Witness            Brief Description          Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
          Special Agent   Gary Brian Roberts Driver's
   9251   LaNard Taylor   License Picture
          Special Agent   Timothy Stiller Driver's License
   9252   LaNard Taylor   Picture
          Special Agent   Scott Tucker Driver's License
   9253   LaNard Taylor   Picture
          Special Agent
    1-1   LaNard Taylor   Summary Exhibit
          Special Agent
    2-1   LaNard Taylor   Summary Exhibit
          Special Agent
    3-1   LaNard Taylor   Summary Exhibit
          Special Agent
    4-1   LaNard Taylor   Summary Exhibit
          Special Agent
    4-2   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
    4-3   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
    5-1   LaNard Taylor   Summary Exhibit
          Special Agent
    5-2   LaNard Taylor   Summary Chat Message Exhibit
          Special Agent
    6-1   LaNard Taylor   Summary Exhibit
          Special Agent
    7-1   LaNard Taylor   Summary Exhibit
          Special Agent
    7-2   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
    8-1   LaNard Taylor   Summary Exhibit
          Special Agent
    8-2   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
    9-1   LaNard Taylor   Summary Exhibit
          Special Agent
    9-2   LaNard Taylor   Summary Text Message Exhibit
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Number
          Special Agent
    9-3   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
    9-4   LaNard Taylor   Summary Instant Message Exhibit
          Special Agent
          Matthew
   10-1   Koppenhaver     Summary Exhibit
          Special Agent
          Matthew
   10-2   Koppenhaver     Summary Exhibit
          Special Agent
          Matthew
   10-3   Koppenhaver     Summary Exhibit
   10-4   Robert Lewis    Summary Exhibit
          Special Agent
          Matthew
   10-5   Koppenhaver     Summary Instant Message Exhibit
          Special Agent
   14-1   LaNard Taylor   Summary Exhibit
          Special Agent
   14-2   LaNard Taylor   Summary Exhibit
          Special Agent
   14-3   LaNard Taylor   Summary Exhibit
          Special Agent
   14-4   LaNard Taylor   Summary Instant Message Exhibit
          Special Agent
   16-1   LaNard Taylor   Summary Exhibit
          Special Agent
   16-2   LaNard Taylor   Summary Instant Message Exhibit
          Special Agent
   17-1   LaNard Taylor   Summary Exhibit
          Special Agent
   17-2   LaNard Taylor   Summary Instant Message Exhibit
          Special Agent
   18-1   LaNard Taylor   Summary Exhibit
   18-2   Sara Fisher     Summary Exhibit
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Exhibit        Witness            Brief Description       Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
          Special Agent
   18-3   LaNard Taylor    Summary Text Message Exhibit
          Special Agent
   18-4   LaNard Taylor    Summary Text Message Exhibit
          Special Agent
   18-5   LaNard Taylor    Summary Text Message Exhibit
          Special Agent
   18-6   LaNard Taylor    Summary Text Message Exhibit
          Special Agent
   18-7   LaNard Taylor    Summary Text Message Exhibit
          Special Agent
   18-8   LaNard Taylor    Summary Text Message Exhibit
          Special Agent
   18-9   LaNard Taylor    Summary Text Message Exhibit
          Special Agent
  18-10   LaNard Taylor    Summary Text Message Exhibit
          Special Agent
   20-1   LaNard Taylor    Summary Exhibit
          Special Agent
   30-1   LaNard Taylor    Summary Text Message Exhibit
          Special Agent
   30-2   LaNard Taylor    Summary Text Message Exhibit
          Special Agent
   30-3   LaNard Taylor    Summary Text Message Exhibit
          Special Agent
   40-1   LaNard Taylor    Summary Text Message Exhibit
          Special Agent
   40-2   LaNard Taylor    Summary Text Message Exhibit
          Special Agent
   40-3   LaNard Taylor    Summary Text Message Exhibit
   50-1   Rebecca Nelson   Summary Exhibit
   50-2   Rebecca Nelson   Summary Exhibit
   50-3   Rebecca Nelson   Summary Exhibit
   50-4   Rebecca Nelson   Summary Exhibit
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Exhibit        Witness           Brief Description       Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
          Special Agent
   60-1   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   60-2   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   60-3   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   60-4   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   60-5   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   60-6   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   60-7   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   60-8   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   60-9   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   70-1   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   70-2   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   90-1   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   90-2   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   90-3   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   90-4   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   90-5   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   90-6   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   90-7   LaNard Taylor   Summary Text Message Exhibit
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Exhibit        Witness           Brief Description       Stipulation   Offered   Admitted   Refused   For Court Use Only
Number
          Special Agent
   90-8   LaNard Taylor   Summary Text Message Exhibit
          Special Agent
   90-9   LaNard Taylor   Summary Text Message Exhibit
